Exhibit A
Reg. No. 5,332,131         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Nov. 14, 2017   I-20144 Milano
                           ITALY
Int. Cl.: 14, 18, 25       CLASS 14: Imitation jewelry; costume jewelry; jewelry and imitation jewelry, namely,
                           trinkets, charms, threads of precious metal, bracelets, necklaces, lockets, chains, rings,
Trademark                  brooches, medallions, medals, pins, amulets; earrings; diadems; ornamental pins; tie pins;
                           pendants; cuff links; fancy keyrings of precious metals; precious metal key chains; precious
Principal Register         metal key holders; precious metal key rings, being trinkets or fobs; badges of precious metal;
                           jewelry cases, being caskets or boxes, not of precious metal; jewelry cases, being caskets;
                           shoe ornaments of precious metal; hat ornaments of precious metal; decorative boxes made of
                           precious metal; trophies of precious metal; statues of precious metal; figurines, being
                           statuettes, of precious metal; statuettes of precious metal; works of art of precious metal;
                           children jewellery, namely, trinkets, charms, bracelets, necklaces, lockets, chains, rings,
                           brooches, medallions, medals, amulets, earrings; clocks; wall clocks; watches; alarm clocks;
                           chronometers; chronographs as watches; wristwatches; stopwatches; pocket watches; cases
                           for clocks and watches; watch bands; watch straps; watch chains; watch bracelets

                           CLASS 18: Boxes of leather or leatherboard; cases, of leather or leatherboard; leather straps;
                           card cases, being notecases; credit card cases, being wallets; calling card cases; leather for
                           furniture; business card cases; document cases; leather address hang-tags; clothing for pets;
                           collars for pets; bags for carrying animals; leather, unworked or semi-worked; moleskin,
                           being imitation of leather; fur-skins; raw skins; fur pelts; artificial fur; synthetic fur; animal
                           skins; animal hides; handbags; evening handbags; shopping bags, namely, canvas shopping
                           bags, leather shopping bags, mesh shopping bags, reusable shopping bags, shopping bags
                           made of skin shopping bags with wheels attached, string bags for shopping, textile shopping
                           bags and wheeled shopping bags; leather shopping bags; duffel bags; waist bags; barrel bags;
                           Boston bags; shoulder bags; traveling trunks; beach bags; clutch bags; attaché cases; school
                           bags; school satchels; schoolchildren's backpacks; bags for sports; garment bags for travel;
                           purses; coin purses; wallets; pocket wallets; carrying cases for documents; keycases; key
                           bags; key wallets; backpacks; briefcases; luggage; pouches for holding make-up, keys and
                           other personal items; shoe bags for travel; all purpose sports bags; tote bags; knapsacks;
                           rucksacks; haversacks; suitcases; trunks, being luggage; vanity cases, not fitted; hat boxes for
                           travel not of paper or cardboard; hat boxes of leather; handbag frames; leather key cases;
                           leather shoulder belts; leather pouches; leatherware, namely, traveling sets consisting of
                           suitcases, briefcases, empty toiletry cases; traveling bags of leather; sling bags for carrying
                           infants; pouch baby carriers; backpacks for carrying babies; traveling bags; tie cases; luggage
                           tags; all-purpose carrying bags; toiletry bags sold empty; carrying cases; traveling cases;
                           cosmetic cases sold empty; umbrellas; parasols; walking sticks; whips; mountaineering sticks;
                           canes; harness fittings; harness; saddlery

                           CLASS 25: Jackets, being clothing; sleeved or sleeveless jackets; heavy jackets; lightweight
                           jackets, being clothing; bomber jackets; reversible jackets; rain jackets; leather jackets;
                           padded jackets; wind-resistant jackets; waterproof jackets; stuff jackets, being clothing; down
                           jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
                           windcheaters; ski windcheaters; snowboard windcheaters; anoraks; down anoraks; parkas;
                           down parkas; fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur
                           coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; jerseys, being clothing; sports jerseys; trousers; ski trousers;
snowboard pants; ski pants; shorts; Bermuda shorts; jeans; skirts; overalls; track suits; ski
suits; snowboard suits; suits; dresses; gowns; blazers; headbands, being clothing; twinsets;
leggings, being trousers; leggings, being leg warmers; dungarees; ready-made clothing,
namely, shirts, tops and dresses; tops, being clothing; tank-tops; knitwear, being clothing,
namely, tops, scarves and hats; hosiery; clothing of leather or imitations of leather, namely,
pants, shirts, shorts and dresses; furs, being clothing, namely, fur coats and jackets;
waterproof clothing, namely, pants, shirts, shorts and dresses; pants; pelerines; rompers;
leotards; slacks; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants and shirts; cuffs; ski masks, being clothing; eyeshades, being clothing; bathing
caps; swimming caps; beach clothes, namely, bathing suits and swim shorts; swimming
costumes; swimsuits; bathing drawers; bathing trunks; bikinis; bath robes; pareus; bathing
costumes; children's clothing, namely, pants, shirts, shorts and dresses; children's footwear;
children's headwear, namely, hats, caps; articles of clothing, footwear and headgear for babies
and toddlers, namely, hats, shoes, sweaters, pants, shirts, shorts and dresses; babies' pants,
being clothing; bibs, not of paper; layettes, being clothing; Sleepsuits in the nature of infant
sleepers without individual legs; baby body suits; baby tops; baby bottoms; socks; stockings;
tights; pantyhose; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes;
mountaineering shoes; running shoes; ski footwear; after ski footwear; footwear for
snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip
flops, being footwear; boots; half-boots; lace boots; rain boots; ski boots; after ski boots;
snowboard boots; boots for sports; horse-riding boots; clogs; dance shoes; golf shoes;
climbing boots; scarves; cloaks; shawls; stoles; fur stoles; foulards, being clothing articles;
neckwear; pocket squares; clothing, namely, gloves, muffs, mittens; ski gloves; snowboard
gloves; clothing, namely, belts and money belts; braces for clothing, being suspenders;
suspenders; waistbands, being parts of clothing; sashes for wear; underwear, underpants;
pajamas; dressing gowns; nightgowns; vests; lingerie; headwear; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF INTERNATIONAL REGISTRATION 1197644 DATED 09-19-2013,
EXPIRES 09-19-2023

SER. NO. 79-203,149, FILED 11-15-2016




          Page: 2 of 3 / RN # 5332131
Reg. No. 5,677,402         MONCLER S.p.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Feb. 19, 2019   I-20144 Milano
                           ITALY
Int. Cl.: 9, 18, 25, 35    CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                           eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
Service Mark               eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses; containers for
                           contact lenses; ski goggles; spectacle cases; binoculars; binocular cases; monocles;
Trademark                  magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; electronic game
                           software for cellular phones; electronic game software for hand-held electronic devices;
Principal Register         computer game software; downloadable computer programs for database management; blank
                           floppy disks; computer software platforms, recorded or downloadable, for use in the
                           encryption of multimedia recordings; downloadable graphics for mobile phones; computer
                           screen saver software, recorded or downloadable; personal computers; cases adapted for
                           personal computers; notebook computers; hand-held computers; cases adapted for hand-held
                           computers; carrying cases adapted for computers; tablet computers; protective cases for tablet
                           computers; covers for tablet computers; laptop computers; cases for laptops; bags adapted for
                           laptops; sleeves for laptops; docking stations for laptops; wrist rests for use with computers;
                           computer mice; mouse pads; computer keyboards; document printers for use with computers;
                           computer peripheral devices; monitors, being computer hardware; carrying cases for radio
                           pagers; radio cases; radios; mobile phones; lanyards, being straps, specially adapted for
                           holding cellular phones; covers adapted for cellular phones; cases adapted for cellular phones;
                           cellular phones; smartphones; protective covers for smartphones; protective cases for
                           smartphones; electronic book readers; protective cases for electronic book readers; cordless
                           telephones; cordless telephone holders; telephone receivers; telephone apparatus; video
                           telephones; cell phone straps; batteries for cellular phones; microphones for cellular phones;
                           loudspeakers for cellular phones; earphones for cellular phones; battery chargers for cellular
                           phones; battery charger cases for cellular phones; in-ear headphones; headphones; headphone
                           cases; hands free kits for telephones; hands free kits for cellular phones; smartwatches;
                           protective films adapted for smartphones; selfie sticks, being hand- held monopods, for
                           cellphones; personal digital assistants, being PDAs; cases adapted for cameras; cameras;
                           digital cameras; cases especially made for photographic apparatus and instruments; lanyards,
                           being straps, specially adapted for holding cameras; digital photo frames; exposed slide film
                           cases; photographic slides; video screens; home theater movie projectors; protective helmets
                           for sports; gloves for divers; visors for helmets; blank audio-video compact discs; blank
                           recordable DVDs; holders and cases for compact discs and DVDs; protective carrying cases
                           for portable music players; music and video player cases; digital audio players; loudspeakers;
compact disc players; cases adapted for CD players; DVD recorders; DVD players; cases
adapted for DVD players; portable MP3 players; cases for portable MP3 players; covers for
portable MP3 players; portable compact disc music players; prerecorded magnetic tapes,
cartridges and disks featuring fashion, design and lifestyle; walkie-talkies; antennas;
audiovisual teaching apparatus, namely, computer whiteboards; electronic publications,
downloadable, in the nature of magazines in the field of fashion, design and lifestyle; blank
magnetic data carriers; sound recording discs, namely, blank recordable CD-Rs and DVD-Rs;
prerecorded audio discs featuring fashion, design and lifestyle; prerecorded DVDs featuring
fashion, design and lifestyle; blank audio and video tapes; sound recording carriers, namely,
blank recordable CD-Rs and DVD-Rs; video recorders; blank video cassettes; blank USB
flash drives; electronic key fobs being remote control apparatus; teaching robots; time clocks,
being time recording devices; lap- counting devices, namely, counters for use during sporting
activities; rulers, being measuring instruments; measuring devices, electric, namely, laser
distance meters; barometers; thermometers, not for medical purposes; calculating machines;
pocket calculators; chronographs, being time recording apparatus; scales; pedometers;
directional compasses; navigation apparatus for vehicles, being on-board computers; cases
specially adapted for magnetically encoded credit cards; magnetically encoded key cards;
electronic agendas; cases for electronic agenda; covers for electronic agendas; hologram
apparatus; electronic interactive whiteboards; interactive touch screen terminals; decorative
magnets; electronic pens, being visual display units; lanyards, being straps, especially adapted
for holding cellular phones, MP3 players, cameras, video cameras, eyeglasses, sunglasses,
magnetic encoded cards; blank integrated circuit cards, being smart cards; sports whistles;
electronic pocket translators; hand-held electronic dictionaries; optical fibers, being light
conducting filaments; snorkels; baby monitors; audio baby monitors; video baby monitors;
baby scales; protective helmets for children; educational software for children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; card cases, being notecases; credit card cases, being wallets; calling
card cases; business card cases; document cases; labels of leather; clothing for pets; collars
for pets; bags for carrying animals; bags, namely, crossbody bags, all purpose athletic bags
and all- purpose carrying bags; handbags; evening purses, being handbags; shopping bags,
namely, canvas shopping bags, leather shopping bags, mesh shopping bags, reusable
shopping bags, shopping bags made of skin shopping bags with wheels attached, string bags
for shopping, textile shopping bags and wheeled shopping bags; leather shopping bags;
wheeled shopping bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling
trunks; beach bags; clutch bags; attaché cases; school bags; school satchels; school children's
backpacks; randsels, being Japanese school satchels; bags for sports; garment bags for travel;
purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding make-up,
keys and other personal items; shoe bags for travel; all-purpose sports bags; saddle bags;
knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks, being luggage;
vanity cases, not fitted; hat boxes for travel, not of paper or cardboard; hat boxes of leather;
handbag frames; key cases of leather; shoulder belts, being straps, of leather; leather straps;
pouches of leather; suitcases; suitcases with wheels; travelling sets, being leatherware, in the
nature of travelling cases of leather; travelling bags of leather; bags for campers in the nature
of all-purpose carrying bags; bags for climbers in the nature of all-purpose carrying bags; tote
bags; motorized suitcases; briefcase-type leather business folders; briefcase-type portfolios;
sling bags for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for
carrying babies; infant carriers worn on the body; umbrellas for children; reins for guiding
children; umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf
umbrellas; umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear, namely, shirts, dresses, sweaters, aprons, ski masks,
gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
shirts; undershirts; shirts for suits; chemises; camisoles; blouses; blousons; sweatshirts;




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sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for gymnastics,
namely, leotards and tights; jogging suits; jogging suit trousers; training suits; track suits; ski
suits; snowboard suits; suits; dresses for women; evening dresses; gowns; blazers; formal
wear, namely, tuxedos, dinner jackets, trousers and footwear; petticoats; corselets; twin sets;
leggings, being trousers; leggings, being leg warmers; leg warmers; dungarees; ponchos;
wedding dresses; ready-made clothing, namely, shirts, tops and dresses; outer clothing,
namely, jackets, coats; masquerade costumes; tank-tops; hosiery; clothing of leather or
imitations of leather, namely, pants, shirts and jackets; waterproof clothing, namely, jackets
and pants; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards;
slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf clothing, other than
gloves, namely, pants, shirts and skirts; cuffs; dance clothing, namely, costumes, pants,
leotards and tights; smocks; bathing suits; bathing caps; swimming caps; beach cover-ups;
beach clothes, namely, swim shorts; swimsuits; bathing drawers; bathing trunks; bikinis; bath
robes; pareus; babies' pants, being clothing; bibs, not of paper; layettes, being clothing; bibs
for babies, sleeved, not of paper; snap crotch shirts for infants and toddlers; padded sleepsuits
for babies; down padded sleepsuits for babies; baby bodysuits; footmuffs, not electrically
heated; socks; stockings; tights; sports socks; panty hose; unitards; garters; sock suspenders;
stocking suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes;
mountaineering shoes; running shoes; ski footwear; after ski footwear; footwear for
snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-
flops, being footwear; soles for footwear; footwear uppers; boots; half-boots; lace boots; rain
boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-riding boots; clogs;
overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing
articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing,
namely, neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens;
ski gloves; snowboard gloves; braces for clothing, being suspenders; suspenders; waistbands,
being parts of clothing; sashes for wear; boas, being necklets; mufflers, being neck scarves;
underwear; singlets; sport singlets; slips, being undergarments; panties; underpants; drawers,
being clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres;
corsets, being underclothing; bodices, being lingerie; girdles; teddies, being underclothing;
sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

CLASS 35: Retail and wholesale store services and on-line retail and wholesale store services
featuring detergents for household use, cleaning, preparations, non-medicated soaps,
perfumery, essential oils, non-medicated cosmetics, non-medicated hair lotions, non-
medicated dentifrices; Retail and wholesale store services and on-line retail and wholesale
store services featuring candles, eyeglasses, sunglasses, anti-glare glasses, ski goggles,
goggles for use in sport, swimming goggles, eyeglass and sunglass cases, eyeglass and
sunglass lenses, eyeglass and sunglass frames; Retail and wholesale store services and on-line
retail and wholesale store services featuring eyeglass and sunglass chains, eyeglass and
sunglass cords, pince-nez, pince-nez cases, pince-nez chains, pince-nez cords, pince-nez
mountings, correcting lenses, being optics; Retail and wholesale store services and on-line
retail and wholesale store services featuring cell phone holders, cell phone cases, cell phone
covers, electronic apparatus holders, electronic apparatus cases, electronic apparatus covers;
Retail and wholesale store services and on-line retail and wholesale store services featuring
photographic and optical apparatus and instruments; Retail and wholesale store services and
on-line retail and wholesale store services featuring apparatus for recording, transmission or
reproduction of sound or images, magnetic data carriers, recording discs, compact discs,
DVDs and other digital recording media, mechanisms for coin-operated apparatus, calculating
machines, data processing equipment, computers, computer software; Retail and wholesale
store services and on-line retail and wholesale store services featuring apparatus for lighting,
lamps, precious metals and their alloys, jewellery, precious and semi-precious stones,
horological and chronometric instruments, key rings, key fobs, key cases, key holders, key
bags; Retail and wholesale store services and on-line retail and wholesale store services
featuring paper and cardboard, printed matter, photographs, stationery and office requisites,
adhesives for stationery or household purposes, artists' and drawing materials, paintbrushes;
Retail and wholesale store services and on-line retail and wholesale store services featuring
bags, cases and holders, being leatherware, leatherware, leather and imitations of leather,
animal skins, hides, trunks, travelling bags, umbrellas and parasols, walking sticks, whips,




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harness, saddlery, collars, leashes and clothing for animals; Retail and wholesale store
services and on-line retail and wholesale store services featuring furniture, mirrors, picture
frames, ropes and string, nets, tents and tarpaulins, awnings of textile or synthetic materials,
sails, sacks for the transport and storage of materials in bulk; Retail and wholesale store
services and on-line retail and wholesale store services featuring textiles and substitutes for
textiles, household linen, curtains of textile or plastic, bed covers, table covers, clothing,
footwear, headgear; Retail and wholesale store services and on-line retail and wholesale store
services featuring lace and embroidery, ribbons and braid, buttons, hooks and eyes, pins and
needles, artificial flowers, hair decorations, false hair, carpets, rugs, mats and matting; Retail
and wholesale store services and on-line retail and wholesale store services featuring games,
toys and playthings, video game apparatus, gymnastic and sporting articles, decorations for
Christmas trees, smokers' articles; presentation of goods on communication media, for retail
purposes, namely, providing television home shopping services in the field of general
consumer merchandise; commercial information and advice for consumers in the choice of
products and services; sales promotion for others; demonstration of goods; shop window
dressing; sponsorship search; business inquiries; business information; administrative
processing of purchase orders; organization and management of customer loyalty programs
for commercial purposes; auctioneering; commercial administration of the licensing of the
goods and services of others; organization of fashion shows for promotional purposes;
organization of events, exhibitions, trade fairs and fashion shows for commercial,
promotional and advertising purposes; organization of trade fairs for commercial or
advertising purposes; organization of advertising events; arranging and conducting of
promotional and marketing events for others; event marketing services; news clipping
services; public relations; on-line advertising on a computer network; advertising of goods
and services of others on the Internet and by means of mobile telephony services and by
electronic mail; bill-posting; rental of advertising space; publicity material rental;
dissemination of advertising matter

The mark consists of a stylized letter "M".

PRIORITY DATE OF 09-21-2017 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1423183 DATED 02-23-2018,
EXPIRES 02-23-2028

SER. NO. 79-240,866, FILED 02-23-2018




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Reg. No. 5,420,500       MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                         Via Stendhal, 47
Registered Mar. 13, 2018 I-20144 Milano
                         ITALY
Int. Cl.: 9, 18, 25         CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                            eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
Trademark                   eyeglass and sunglass chains; eyeglass and sunglass cords; holders for contact lenses; ski
                            goggles; spectacle cases; optical lenses; binoculars; binocular cases; magnifying glasses;
Principal Register          magnifying glass cases; smartglasses; electronic game software for cellular phones, electronic
                            game software for hand-held electronic devices; computer game programs, being recorded
                            computer software; computers; cases adapted for personal computers; notebook computers;
                            hand-held computers; cases adapted for hand-held computers; computer carrying cases; tablet
                            computers; protective cases for tablet computers; protective covers for tablet computers;
                            laptop computers; cases for laptops; bags adapted for laptops; sleeves for laptops; docking
                            stations for laptops; wrist rests for use with computers; computer mice; mouse pads; computer
                            keyboards; carrying cases for radio pagers; radio cases; radios; mobile phones; lanyards,
                            being straps, for cellular phones; mobile phone covers; mobile phone cases, portable
                            telephones; smartphones; protective covers for smartphones; protective cases for
                            smartphones; electronic book readers; protective cases for electronic book readers; cordless
                            telephones; cordless telephone holders; telephone apparatus; video telephones; cell phone
                            straps; earphones for mobile phones; mobile phone battery chargers; mobile phone battery
                            charger cases; in-ear headphones; headphones; headphone cases; hands free kits for
                            telephones; hands free kits for mobile phones; smartwatches; cameras; camera cases;
                            photographic cameras; digital cameras; television cameras; video cameras; cases especially
                            made for photographic apparatus and instruments; lanyards, being straps, for cameras; digital
                            photo frames; home theater projectors; protective helmets for sports; holders and cases for
                            compact discs and digital video discs; protective carrying cases for portable music players;
                            music and video player cases; digital audio players; loudspeakers; compact disc players; cases
                            adapted for CD players; DVD recorders; DVD players; cases adapted for DVD players;
                            portable MP3 players; cases for portable MP3 players; covers for portable MP3 players;
                            portable compact disc music players; walkie-talkies; antennas; televisions; downloadable
                            electronic publications in the nature of catalogues, brochures, books, handbooks, leaflets and
                            magazines in the field of fashion; blank magnetic data carriers; audio and video tapes, sold
                            blank; video recorders; video cassettes sold blank; time clocks being time recording devices;
                            calculating machines; pocket calculators; chronographs being time recording apparatus;
                            scales; navigation apparatus for vehicles being on-board computers; magnetically encoded
                            key cards; electronic agendas; cases for electronic agenda; covers for electronic agendas;
musical juke boxes; electronic interactive whiteboards; decorative magnets; visual display
units, namely, electronic pens; lanyards, being straps, especially adapted for holding cellular
phones, MP3 players, cameras, video cameras, eyeglasses, sunglasses, magnetic encoded;
baby monitors; audio baby monitors; video baby monitors; baby scales; protective helmets for
children; educational software for children

CLASS 18: Boxes of leather or leatherboard; cases, of leather or leatherboard; credit card
cases, being wallets; calling card cases; business card cases; document cases; leather address
hang-tags; clothing for pets; collars for pets; bags for carrying animals; handbags; evening
handbags; shopping bags, namely, mesh shopping bags, reusable shopping bags; leather
shopping bags; duffel bags; waist bags; bags, namely, shopping bags made of skin; Boston
bags; shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases; school bags;
school satchels, schoolchildren's backpacks; bags for sports; garment bags for travel; purses;
wallets; pocket wallets; carrying cases for documents; keycases; key bags; key wallets;
backpacks; briefcases; luggage; pouches for holding make-up, keys and other personal items;
shoe bags for travel; all purpose sports bags; tote bags; knapsacks; rucksacks; haversacks;
suitcases; trunks, being luggage; vanity cases, not fitted; hat boxes for travel not made of
paper or cardboard; hat boxes of leather; handbag frames; leather key cases; leather shoulder
belts, leather pouches; leatherware, namely, travelling sets in the nature of travelling cases of
leather; travelling bags of leather; sling bags for carrying infants; pouch baby carriers;
backpacks for carrying babies; travelling bags; umbrellas; walking sticks

CLASS 25: Jackets, being clothing; sleeved or sleeveless jackets; heavy jackets; lightweight
jackets, being clothing; bomber jackets; reversible jackets; rain jackets; leather jackets;
padded jackets; wind-resistant jackets; waterproof jackets; stuff jackets, being clothing; down
jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
windcheaters; ski windcheaters; snowboard windcheaters; anoraks; down anoraks; parkas;
down parkas; fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur
coats; raincoats; cardigans; pullovers, shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters,
jumpers, being pullovers; jerseys, being clothing; sports jerseys; trousers; ski trousers;
snowboard pants; ski pants; shorts; Bermuda shorts; jeans; skirts; overalls; track suits; ski
suits; snowboard suits; suits; dresses; headbands, being clothing; twinsets; leggings, being
trousers; leggings, being leg warmers; ready-made clothing, namely, shirts, tops and dresses;
tops, being clothing; tank-tops; knitwear, being clothing, namely, tops, scarves and hats;
hosiery; clothing of leather or imitations of leather, namely, pants, shirts, shorts and dresses;
waterproof clothing, namely, pants, shirts, shorts and dresses; pants; pelerines; rompers;
leotards; slacks; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants and shirts; cuffs; ski masks, being clothing; bathing caps; swimming caps,
shower caps; beach clothes, namely, bathing suits and swim shorts; swimming costumes;
swimsuits; bathing drawers, bathing trunks; bikinis; bath robes; pareus; children's clothing,
namely, pants, shirts, shorts and dresses; children's footwear; children's headgear, namely,
baby bonnets; articles of clothing, footwear and headgear for babies and toddlers, namely,
children's jackets, children's footwear, baby bonnets, articles of footwear and headwear for
babies and toddlers; babies' pants, being clothing; bibs, not of paper; layettes, being clothing;
baby sleeping bags, namely, infant sleepwear without individual legs; socks; stockings; tights;
shoes; leather shoes; sports shoes, gymnastic shoes, beach shoes, mountaineering shoes;
running shoes; ski footwear; after ski footwear; footwear for snowboarding; rain footwear;
sneakers; slippers; bath slippers; sandals; bath sandals; flip flops, being footwear; boots; half-
boots; lace boots; rain boots, ski boots; after ski boots; snowboard boots; boots for sports;
horse-riding boots; clogs; scarves, cloaks, shawls; stoles; fur stoles; foulards, being clothing
articles; neckwear; pocket squares; clothing, namely, gloves, muffs, mittens; ski gloves;
snowboard gloves; clothing, namely, belts and money belts; braces for clothing, being
suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; collars, being
clothing; underwear; underpants; pyjamas; dressing gowns; nightgowns; headwear; ear muffs,
being clothing

The mark consists of a concentric design of a stylized bell.

PRIORITY DATE OF 07-08-2016 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1342210 DATED 12-23-2016,



           Page: 2 of 4 / RN # 5420500
EXPIRES 12-23-2026

SER. NO. 79-206,420, FILED 12-23-2016




         Page: 3 of 4 / RN # 5420500
Reg. No. 5,445,480         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Apr. 17, 2018   I-20144 Milano
                           ITALY
Int. Cl.: 25               CLASS 25: Down jackets, being clothing; sleeved or sleeveless down jackets; heavy down
                           jackets; lightweight down jackets, being clothing; bomber jackets, reversible down jackets;
Trademark                  rain jackets; leather jackets; padded down jackets; wind-resistant down jackets; waterproof
                           jackets; stuff down jackets, being clothing; down jackets; sleeveless down jackets; sports
Principal Register         jackets; down ski jackets; down snowboard jackets; down long jackets; down windcheaters;
                           down ski windcheaters; down snowboard windcheaters; anoraks made of down; down
                           anoraks; parkas made of down; down parkas; fur jackets; waistcoats; waistcoats with
                           removable lining; down overcoats; coats made of down; fur coats; raincoats; shirts; polo
                           shirts; sport shirts; shirts for wear with suits; sweatshirts; sweaters; jumpers, being pullovers;
                           jerseys, being clothing; sports jerseys; trousers; ski trousers; snowboard pants; ski pants;
                           shorts; Bermuda shorts; jeans; skirts, overalls; track suits; down ski suits; down snowboard
                           suits; suits; dresses; headbands, being clothing; leg warmers; ready-made clothing, namely,
                           shirts, tops and dresses; tops, being clothing; knitwear, being clothing, namely, tops, scarves
                           and hats; hosiery; clothing of leather or imitations of leather, namely, pants, shirts, shorts and
                           dresses; waterproof clothing, namely, pants, shirts, shorts and dresses; pants; pelerines;
                           rompers; leotards; slacks; athletic uniforms; cuffs; ski masks, being clothing; children's
                           clothing, namely, pants, shirts, shorts and dresses; children's headgear, namely, baby bonnets;
                           articles of clothing, footwear and headgear for babies and toddlers, namely, baby bonnets and
                           baby pants; babies' pants, being clothing; bibs, not of paper; layettes, being clothing; baby
                           sleeping bags, namely, infant sleepwear without individual legs; socks; stockings; tights;
                           shoes; sports shoes; mountaineering shoes; ski footwear; after ski footwear; footwear for
                           snowboarding; slippers; boots; half-boots; lace boots; ski boots; after ski boots; snowboard
                           boots; boots for sports; scarves; cloaks; shawls; stoles; fur stoles; foulards, being clothing
                           articles; neckwear; clothing, namely, gloves, muffs, mittens; ski gloves; snowboard gloves;
                           sashes for wear; headwear; ear muffs, being clothing

                           PRIORITY DATE OF 07-07-2016 IS CLAIMED

                           OWNER OF INTERNATIONAL REGISTRATION 1342209 DATED 12-16-2016,
                           EXPIRES 12-16-2026

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "DOUDOUNE"
The English Translation of the wording "DOUDOUNE D'AIR" in the mark is "AIR DOWN
JACKET".

SER. NO. 79-206,419, FILED 12-16-2016




         Page: 2 of 3 / RN # 5445480
Reg. No. 5,754,061        MONCLER S.p.A. (ITALY Joint Stock Company )
                          Via Stendhal, 47
Registered May 21, 2019   I-20144 Milano
                          ITALY
Int. Cl.: 9, 18, 25, 35   CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                          eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
Service Mark              eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses; containers for
                          contact lenses; ski goggles; spectacle cases; binoculars; binocular carrying cases; monocles;
Trademark                 magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; electronic game
                          software for cellular phones; electronic game software for hand-held electronic devices;
Principal Register        computer game software; downloadable computer programs for network management; blank
                          floppy disks; computer software platforms, recorded or downloadable, for games;
                          downloadable graphics for mobile phones; computer screen saver software, recorded or
                          downloadable; personal computers; cases adapted for personal computers; notebook
                          computers; hand-held computers; cases adapted for hand-held computers; carrying cases
                          adapted for computers; tablet computers; protective cases for tablet computers; covers for
                          tablet computers; laptop computers; carrying cases for laptops; bags adapted for laptops;
                          sleeves for laptops; docking stations for laptops; wrist rests for use with computers; computer
                          mice; mouse pads; computer keyboards; document printers for use with computers; computer
                          peripheral devices; monitors being computer hardware; carrying cases for radio pagers; radio
                          carrying cases; radios; mobile phones; lanyards being straps, for cellular phones; covers
                          adapted for cellular phones; cases adapted for cellular phones; cellular phones; smartphones;
                          protective covers for smartphones; protective cases for smartphones; electronic book readers;
                          protective cases for electronic book readers; cordless telephones; cordless telephone holders;
                          telephone receivers; telephone apparatus; video telephones; cell phone straps; batteries for
                          cellular phones; microphones for cellular phones; loudspeakers for cellular phones; earphones
                          for cellular phones; battery chargers for cellular phones; battery charger carrying cases for
                          cellular phones; in-ear headphones; headphones; headphone carrying cases; hands free kits
                          for telephones; hands free kits for cellular phones; smartwatches; protective films adapted for
                          smartphones; selfie sticks being hand-held monopods for cameras or cell phones featuring
                          cameras; personal digital assistants being PDAs; cases adapted for cameras; cameras for
                          photography; digital cameras; cases especially made for photographic apparatus and
                          instruments; lanyards being straps for cameras; digital photo frames; exposed slide film cases;
                          photographic slides; video screens; home theater LCD projectors; protective helmets for
                          sports; gloves for divers in the nature of protective gloves for industrial use; visors for
                          helmets; audio-video compact discs featuring music; DVDs featuring movies; holders and
                          cases for compact discs and DVDs; protective carrying cases for portable music players;
music and video player carrying cases; digital audio players; loudspeakers; compact disc
players; cases adapted for CD players; DVD recorders; DVD players; cases adapted for DVD
players; portable MP3 players; carrying cases for portable MP3 players; covers for portable
MP3 players; portable compact disc music players; prerecorded magnetic tapes, cartridges
and disks featuring music; walkie-talkies; antennas; audiovisual teaching apparatus, namely,
audiovisual receivers; downloadable electronic publications in the nature of magazines in the
field of of fashion, sport and leisure time; blank magnetic data carriers; sound recording discs
in the nature of blank compact discs; prerecorded audio discs featuring music; prerecorded
DVDs featuring music; blank audio and video tapes; sound recording carriers in the nature of
blank CDs; video recorders; blank video cassettes; blank USB flash drives; electronic key
fobs being remote control apparatus; teaching robots; time clocks being time recording
devices; thread counters; rulers being measuring instruments; measuring devices, electric,
namely, fluorometers; barometers; thermometers, not for medical purposes; calculating
machines; pocket calculators; chronographs being specialized time recording apparatus;
scales; pedometers; directional compasses; navigation apparatus for vehicles being on-board
computers; cases specially adapted for magnetically encoded credit cards; magnetically
encoded key cards; electronic agendas; carrying cases for electronic agenda; covers for
electronic agendas; hologram apparatus; electronic interactive whiteboards; interactive touch
screen terminals; decorative magnets; electronic pens; lanyards in the nature of cell phone
straps especially adapted for holding cellular phones, MP3 players, cameras, video cameras,
eyeglasses, sunglasses, and magnetic encoded cards; blank integrated circuit cards being
smart cards; sports whistles; electronic pocket translators; hand-held electronic dictionaries;
optical fibers being light conducting filaments; snorkels; baby monitors; audio baby monitors;
video baby monitors; baby scales; protective helmets for children; educational software for
children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of leather
being saddlery; business card cases; credit card cases being wallets; calling card cases;
unfitted furniture coverings of leather; document cases; labels of leather; clothing for pets;
collars for pets; bags for carrying animals; gym bags; handbags; evening purses being
handbags; reusable shopping bags; leather shopping bags; wheeled shopping bags; duffle
bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags; clutch bags;
attaché cases; school bags; school satchels; school children's backpacks; randsels being
Japanese school satchels; bags for sports; garment bags for travel; purses; wallets; pocket
wallets; carrying cases for documents; key cases; key bags; key wallets; briefcases; pouches,
of leather, for packaging; luggage; pouches for holding make-up, keys and other personal
items; shoe bags for travel; all- purpose sports bags; saddle bags; knapsacks; backpacks;
rucksacks; haversacks; overnight suitcases; trunks being luggage; vanity cases, not fitted; hat
boxes for travel not of paper or cardboard; hat boxes of leather; handbag frames; key cases of
leather; shoulder belts being straps of leather; leather straps; pouches of leather; suitcases;
suitcases with wheels; travelling sets in the nature of travelling bags being leatherware;
travelling bags of leather; all-purpose bags for campers; bags for climbers in the nature of all-
purpose carrying bags; tote bags; motorized suitcases; conference folders in the nature of
leather binders for travel purposes; Briefcase-type conference portfolios; sling bags for
carrying infants; slings for carrying infants; pouch baby carriers; backpacks for carrying
babies; infant carriers worn on the body; umbrellas for children; reins for guiding children;
umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas;
umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear shirts, aprons, ski masks, gaberdines; sleeved or sleeveless
jackets; heavy jackets; bomber jackets; reversible jackets; rain jackets; leather jackets; padded
jackets; wind-resistant jackets; waterproof jackets; down jackets; sleeveless down jackets;
sports jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks being parkas; down anoraks; parkas; down parkas; fur
jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats; raincoats;
cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts; shirts to wear with
suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters; jumpers being pullovers;
sports jerseys; trousers; ski pants; snowboard pants; ski trousers; shorts; Bermuda shorts;
jeans; skirts; skorts; work overalls; clothing for gymnastics, namely, leotards; jogging suits;
jogging suit trousers; training suits; track suits; ski suits; snowboard suits; suits; dresses for




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women; evening dresses; gowns; blazers; formal wear in the nature of tuxedos; petticoats;
corselets; twin sets; leggings being trousers; leggings being leg warmers; leg warmers;
dungarees; ponchos; wedding dresses; ready-made linings being parts of clothing; outer
clothing in the nature of coats; masquerade costumes; tank-tops; hosiery; clothing of leather
or imitations of leather, namely, leather belts; waterproof clothing in the nature of jackets;
pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
school uniforms; athletic uniforms; breeches for wear; golf shirts; cuffs; dance pants; smocks;
bathing suits; bathing caps; swimming caps; beach cover-ups; beach shoes; swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; babies' pants being
clothing; bibs, not of paper; layettes being clothing; bibs, sleeved, not of paper; snap crotch
shirts for infants and toddlers; padded sleepsuits for babies; down padded sleepsuits for
babies; baby bodysuits; thermal socks; socks; stockings; tights; sports socks; panty hose;
unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports shoes;
gymnastic shoes; mountaineering shoes; running shoes; ski footwear; after ski footwear;
footwear for snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath
sandals; flip-flops being footwear; soles for footwear; footwear uppers; boots; half-boots; lace
boots; rain boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-riding
boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas being
neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs;
pocket squares; neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts;
mittens; ski gloves; snowboard gloves; braces for clothing being suspenders; suspenders;
waistbands being parts of clothing; sashes for wear; boas being necklets; mufflers being neck
scarves; underwear; singlets; sport singlets; slips being undergarments; panties; underpants;
drawers being clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests;
brassieres; corsets being underclothing; bodices being lingerie; girdles; teddies being
underclothing; sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors;
berets; hoods being clothing; ear muffs being clothing

CLASS 35: Retail and wholesale store services on behalf of third parties, also on-line,
featuring detergents, cleaning, preparations, non-medicated soaps, perfumery, essential oils,
non-medicated cosmetics, non-medicated hair lotions, non-medicated dentifrices; retail and
wholesale store services on behalf of third parties, also on-line, featuring candles, eyeglasses,
sunglasses, anti-glare glasses, ski goggles, goggles for use in sport, swimming goggles,
eyeglass and sunglass cases, eyeglass and sunglass lenses, eyeglass and sunglass frames;
retail and wholesale services store on behalf of third parties, also on-line, featuring eyeglass
and sunglass chains, eyeglass and sunglass cords, pince- nez, pince-nez cases, pince-nez
chains, pince-nez cords, pince-nez mountings, correcting lenses being optics; retail and
wholesale store services on behalf of third parties, also on-line, featuring holders, cases,
covers, electronic apparatus holders, electronic apparatus cases, electronic apparatus covers;
retail and wholesale store services on behalf of third parties, also on-line, featuring
photographic and optical apparatus and instruments; retail and wholesale store services on
behalf of third parties, also on-line, featuring apparatus for recording, transmission or
reproduction of sound or images, magnetic data carriers, recording discs, compact discs,
DVDs and other digital recording media, mechanisms for coin-operated apparatus, calculating
machines, data processing equipment, computers, computer software; retail and wholesale
store services on behalf of third parties, also on-line, featuring apparatus for lighting, lamps,
precious metals and their alloys, jewellery, precious and semi-precious stones, horological
and chronometric instruments, key rings, key fobs, key cases, key holders, key bags; retail
and wholesale store services on behalf of third parties, also on-line, featuring paper and
cardboard, printed matter, photographs, stationery and office requisites, adhesives for
stationery or household purposes, artists' and drawing materials, paintbrushes; retail and
wholesale store services on behalf of third parties, also on-line, featuring bags, cases and
holders being leatherware, leatherware, leather and imitations of leather, animal skins, hides,
trunks, travelling bags, umbrellas and parasols, walking sticks, whips, harness, saddlery,
collars, leashes and clothing for animals; retail and wholesale store services on behalf of third
parties, also on-line, featuring furniture, mirrors, picture frames, ropes and string, nets, tents
and tarpaulins, awnings of textile or synthetic materials, sails, sacks for the transport and
storage of materials in bulk; retail and wholesale store services on behalf of third parties, also
on-line, featuring textiles and substitutes for textiles, household linen, curtains of textile or
plastic, bed covers, table covers, clothing, footwear, headgear; retail and wholesale store
services on behalf of third parties, also on-line, featuring lace and embroidery, ribbons and




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braid, buttons, hooks and eyes, pins and needles, artificial flowers, hair decorations, false hair,
carpets, rugs, mats and matting; retail and wholesale store services on behalf of third parties,
also on-line, featuring games, toys and playthings, video game apparatus, gymnastic and
sporting articles, decorations for Christmas trees, smokers' articles; presentation of goods on
communication media, for retail purposes, namely, providing television home shopping
services in the field of general consumer merchandise; commercial information and advice for
consumers in the choice of products and services; sales promotion for others; outsourcing
services, namely, business assistance; procurement services for others, namely, purchasing
goods and services for other businesses, namely, purchasing clothing; demonstration of
goods; shop window dressing; sponsorship search; business inquiries; business information;
administrative processing of purchase orders; organization and management of customer
loyalty programs for commercial purposes; auctioneering; commercial administration of the
licensing of the goods and services of others; organization of fashion shows for promotional
purposes; organization of events, exhibitions, trade fairs and fashion shows for commercial,
promotional and advertising purposes; organization of trade fairs for commercial or
advertising purposes; organization of advertising events; arranging and conducting of
promotional and marketing events; event marketing services; news clipping services; public
relations; on-line advertising on a computer network; advertising of goods and services on the
Internet and by means of mobile telephony services and by electronic mail; bill-posting;
rental of advertising space; publicity material rental; dissemination of advertising matter;
advertising agency services; modelling for advertising or sales promotion; writing of publicity
texts; publication of publicity texts; promoting the sale of fashion goods through promotional
articles in magazines; distribution of samples; distribution and dissemination of advertising
materials, namely, leaflets, prospectuses, printed material, samples; advertising planning
services; promotional services, namely, advertising services; product merchandising for
others; search engine optimization for sales promotion; web site traffic optimization;
consultancy regarding advertising communication strategies; consultancy regarding public
relations communication strategies; social media strategy and marketing consultancy focusing
on helping clients create and extend their product and brand strategies by building virally
engaging marketing solutions; outdoor advertising; business management and organization
consultancy; consultancy and advisory services in the field of business strategy; business
management consultancy relating to strategy, marketing, production, personnel and retail sale
matters; business management assistance; marketing strategy planning; advice in the field of
business management and marketing; marketing research; market studies; business
investigations; market opinion polling; targeted marketing services; marketing in the
framework of software publishing; providing an on-line commercial information directory on
the Internet; compiling indexes of information for commercial or advertising purposes;
relocation services for businesses; business auditing; business management of hotels;
promotion of goods and services through sponsorship of sports events

The mark consists of a circle inside of which is the letter "M" over a cockerel design with the
wording "MONCLER" underneath.

PRIORITY DATE OF 09-21-2017 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1421690 DATED 02-23-2018,
EXPIRES 02-23-2028

SER. NO. 79-240,259, FILED 02-23-2018




           Page: 4 of 5 / RN # 5754061
Reg. No. 5,836,810         MONCLER S.p.A. (ITALY Joint Stock Company )
                           Via Stendhal, 47
Registered Aug. 20, 2019   I-20144 Milano
                           ITALY
Int. Cl.: 9, 18, 25, 35    CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                           eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
Service Mark               eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses; containers for
                           contact lenses; ski goggles; spectacle cases; binoculars; cases specially adapted for carrying
Trademark                  binoculars, namely, binocular cases; monocles; magnifying glasses; cases specially adapted
                           for carrying magnifying glasses, namely, magnifying glass cases; smartglasses; 3D
Principal Register         spectacles; electronic game software for cellular phones; electronic game software for hand-
                           held electronic devices; computer game software; computer software platforms, recorded and
                           downloadable, for games; downloadable graphics for mobile phones; computer screen saver
                           software, recorded or downloadable; personal computers; cases adapted for personal
                           computers; notebook computers; hand-held computers; cases adapted for hand-held
                           computers; carrying cases adapted for computers; tablet computers; protective cases for tablet
                           computers; covers for tablet computers; laptop computers; cases for laptops; bags adapted for
                           laptops; sleeves for laptops; docking stations for laptops; wrist rests for use with computers;
                           computer mice; mouse pads; computer keyboards; document printers for use with computers;
                           computer peripheral devices; monitors, being computer hardware; carrying cases for radio
                           pagers; cases specially adapted for radios, namely, radio cases; radios; mobile phones;
                           lanyards, being straps, for cellular phones; covers adapted for cellular phones; cases adapted
                           for cellular phones; cellular phones; smartphones; protective covers for smartphones;
                           protective cases for smartphones; electronic book readers; protective cases for electronic book
                           readers; cordless telephones; cordless telephone apparatuses, namely, cordless telephone
                           holders; telephone receivers; telephone apparatus; video telephones; cell phone straps;
                           batteries for cellular phones; microphones for cellular phones; loudspeakers for cellular
                           phones; earphones for cellular phones; battery chargers for cellular phones; cellular phone
                           cases featuring rechargeable batteries, namely, battery charger cases for cellular phones; in-
                           ear headphones; headphones; cases specially adapted for headphones, namely, headphone
                           cases; hands free kits for telephones; hands free kits for cellular phones; smartwatches;
                           protective films adapted for smartphones; selfie sticks, being hand-held monopods for digital
                           electronic devices in the nature of cell phones; personal digital assistants, being PDAs; cases
                           adapted for cameras; cameras, being photography cameras; digital cameras; cases especially
                           made for photographic apparatus and instruments; lanyards, being straps, for cameras; digital
                           photo frames; cases specially adapted for carrying exposed slide film, namely, exposed slide
                           film cases; slides, being photography; video screens; protective helmets for sports; gloves for
divers in the nature of protective gloves for industrial use; visors for helmets; audio-video
featured on compact discs; holders and cases for compact discs and DVDs; protective
carrying cases for portable music players; digital audio players; loudspeakers; compact disc
players; cases adapted for CD players; DVD recorders; DVD players; cases adapted for DVD
players; portable MP3 players; cases for portable MP3 players; covers for portable MP3
players; portable compact disc music players; walkie-talkies; antennas; electronic
publications, downloadable, in the nature of book, magazine, journal] in the field of fashion;
musical sound recordings, namely, sound recording discs; video recorders; USB flash drives,
namely, blank USB flash drives; electronic key fobs being remote control apparatus; teaching
robots; time clocks, being time recording devices; rulers, being measuring instruments;
barometers; thermometers, not for medical purposes; calculating machines; pocket
calculators; chronographs, being specialized time recording apparatus; scales; pedometers;
directional compasses; navigation apparatus for vehicles, being on-board computers;
magnetically encoded key cards; electronic agendas; cases specially adapted for carrying
electronic agenda; covers specially adapted for carrying electronic agendas; hologram
apparatus; electronic interactive whiteboards; interactive touch screen terminals; decorative
magnets; electronic pens, being visual display units; lanyards, being straps, cords, and
holders, especially adapted for holding cellular phones, MP3 players, cameras, video cameras,
eyeglasses, sunglasses, magnetically encoded gift cards; integrated circuit cards, being smart
cards in the nature of blank smart cards; sports whistles; electronic pocket translators; hand-
held electronic dictionaries; optical fibers, being light conducting filaments; snorkels; baby
monitors; audio baby monitors; video baby monitors; baby scales; protective helmets for
children; educational software for children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; card cases, being document notecases; credit card cases, being
wallets; calling card cases; leather for furniture, being furniture coverings of leather; business
card cases; document cases; labels of leather; clothing for pets; collars for pets; bags for
carrying animals; all-purpose carrying bags; handbags; evening purses, being handbags;
reusable shopping bags, mesh shopping bags, canvas shopping bags, textile shopping bags;
leather shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags;
shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases; school bags; school
satchels; school children's backpacks; randsels, being Japanese school satchels; bags for
sports; garment bags for travel; purses; wallets; pocket wallets; carrying cases for documents;
key cases; key bags; key wallets; briefcases; pouches, of leather, for packaging; luggage;
pouches for holding make-up, keys and other personal items; shoe bags for travel; all-purpose
sports bags; saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases;
trunks, being luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard;
hat boxes of leather; handbag frames; key cases of leather; shoulder belts, being straps, of
leather; leather straps; pouches of leather; suitcases; suitcases with wheels; travelling sets in
the nature of bags, being leatherware; travelling bags of leather; all-purpose carrying bags for
campers; all-purpose carrying bags for climbers; tote bags; motorized suitcases; briefcase-
type leather business and conference folders; briefcase-type conference portfolios; sling bags
for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for carrying
babies; infant carriers worn on the body; umbrellas for children; reins for guiding children;
umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas;
umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters, aprons, ski masks,
gaberdines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard
pants; ski trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging suit trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening




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dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets, footwear;
petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg warmers; leg
warmers; dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, pants,
dresses, jackets; outer clothing, namely, coats, gloves, hats, scarves; masquerade costumes;
tank-tops; hosiery; clothing of leather or imitations of leather, namely, shoes, pants,
headwear, jackets, belts; waterproof clothing, namely, footwear, jackets, pants; pants; sweat
pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics; school
uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves, namely,
shirts, shorts, caps, cleats; cuffs; dance clothing, namely, slippers, shoes, costumes, pants;
smocks; bathing suits; bathing caps; swimming caps; beach cover-ups; beach clothes, namely,
bathing suits, cover-ups, shoes; swimsuits; bathing drawers as clothing; bathing trunks;
bikinis; bath robes; pareus; babies' pants, being clothing; bibs, not of paper; layettes, being
clothing; bibs, sleeved, not of paper; snap crotch shirts for infants and toddlers; padded
sleepsuits for babies; down padded sleepsuits for babies; baby bodysuits; muffs as clothing,
namely, footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty hose;
unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports shoes;
gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear; after ski
footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath slippers;
sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear uppers; boots;
half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots; boots for
sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur stoles;
bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties; ascots;
neckerchiefs; pocket squares; clothing, namely, neck warmers; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves; braces for clothing,
being suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas,
being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

CLASS 35: Retail and wholesale store services on behalf of third parties, also on-line retail
and wholesale store services, featuring detergents, cleaning, preparations, non-medicated
soaps, perfumery, essential oils, non-medicated cosmetics, non-medicated hair lotions, non-
medicated dentifrices; retail and wholesale store services on behalf of third parties, also on-
line retail and wholesale store services, featuring candles, eyeglasses, sunglasses, anti-glare
glasses, ski goggles, goggles for use in sport, swimming goggles, eyeglass and sunglass cases,
eyeglass and sunglass lenses, eyeglass and sunglass frames; retail and wholesale store
services on behalf of third parties, also on-line retail and wholesale store services, featuring
eyeglass and sunglass chains, eyeglass and sunglass cords, pince-nez, pince-nez cases, pince-
nez chains, pince-nez cords, pince-nez mountings, correcting lenses, being optics; retail and
wholesale store services on behalf of third parties, also on-line retail and wholesale store
services, featuring holders, cases, covers, electronic apparatus holders, electronic apparatus
cases, electronic apparatus covers; retail and wholesale store services on behalf of third
parties, also on-line retail and wholesale store services, featuring photographic and optical
apparatus and instruments; retail and wholesale store services on behalf of third parties, also
on-line retail and wholesale store services, featuring apparatus for recording, transmission or
reproduction of sound or images, magnetic data carriers, recording discs, compact discs,
DVDs and other digital recording media, mechanisms for coin-operated apparatus, calculating
machines, data processing equipment, computers, computer software; retail and wholesale
store services on behalf of third parties, also on-line retail and wholesale store services,
featuring apparatus for lighting, lamps, precious metals and their alloys, jewellery, precious
and semi-precious stones, horological and chronometric instruments, key rings, key fobs, key
cases, key holders, key bags; retail and wholesale store services on behalf of third parties, also
on-line retail and wholesale store services, featuring paper and cardboard, printed matter,
photographs, stationery and office requisites, adhesives for stationery or household purposes,
artists' and drawing materials, paintbrushes; retail and wholesale store services on behalf of
third parties, also on-line retail and wholesale store services, featuring bags, cases and
holders, being leatherware, leatherware, leather and imitations of leather, animal skins, hides,
trunks, travelling bags, umbrellas and parasols, walking sticks, whips, harness, saddlery,
collars, leashes and clothing for animals; retail and wholesale store services on behalf of third




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parties, also on-line retail and wholesale store services, featuring furniture, mirrors, picture
frames, ropes and string, nets, tents and tarpaulins, awnings of textile or synthetic materials,
sails, sacks for the transport and storage of materials in bulk; retail and wholesale store
services on behalf of third parties, also on-line retail and wholesale store services, featuring
textiles and substitutes for textiles, household linen, curtains of textile or plastic, bed covers,
table covers, clothing, footwear, headgear; retail and wholesale store services on behalf of
third parties, also on-line retail and wholesale store services, featuring lace and embroidery,
ribbons and braid, buttons, hooks and eyes, pins and needles, artificial flowers, hair
decorations, false hair, carpets, rugs, mats and matting; retail and wholesale store services on
behalf of third parties, also on-line retail and wholesale store services, featuring games, toys
and playthings, video game apparatus, gymnastic and sporting articles, decorations for
Christmas trees, smokers' articles; presentation of goods on communication media, for retail
business purposes, namely, providing television home shopping services in the field of
general consumer merchandise; commercial information and advice for consumers in the
choice of products and services; sales promotion for others; outsourcing services, namely,
business assistance; procurement services for others, namely, procuring of contracts for other
businesses for the purchasing of goods and services; demonstration of goods; shop window
dressing; sponsorship search; business inquiries; business information; administrative
processing of purchase orders; business administration, in the nature of organization and
management, of customer loyalty programs; business administration of consumer loyalty
programs; auctioneering; commercial administration of the licensing of the goods and
services of others; organization of fashion shows for promotional purposes; organization of
events, exhibitions, trade fairs and fashion shows for commercial, promotional and
advertising purposes; organization of trade fairs for commercial or advertising purposes;
organization of advertising events; arranging and conducting of promotional and marketing
events; event marketing, namely, providing marketing of special events; news clipping
services; public relations; on-line advertising on a computer network; advertising of goods
and services of others on the Internet and by means of mobile telephony services and by
electronic mail; bill-posting; rental of advertising space; publicity material rental;
dissemination of advertising matter; advertising agency services; modelling for advertising or
sales promotion; writing of publicity texts; publication of publicity texts; advertising,
including promoting the sale of fashion goods for third parties through the transmission of
advertising material in the nature of promotional articles in magazines; distribution of
samples; distribution and dissemination of advertising materials, namely, leaflets,
prospectuses, printed material, samples; advertising planning services; promotional services,
namely, advertising services; product merchandising for others; search engine optimization
for sales promotion; web site traffic optimization; consultancy regarding advertising
communication strategies; consultancy regarding public relations communication strategies;
social media marketing strategy consultancy and marketing consultancy; outdoor advertising;
business management and organization consultancy; consultancy and advisory services in the
field of business strategy; business management consultancy relating to strategy, marketing,
production, personnel and retail sale matters; business management assistance; marketing
strategy planning, namely, development of marketing strategies and concepts; advice in the
field of business management and marketing; marketing research; business investigations;
public opinion polling; targeted marketing services; marketing in the framework of software
publishing; providing an on-line commercial information directory on the Internet; compiling
indexes of information for commercial or advertising purposes; relocation services for
businesses; business auditing; business management of hotels; promotion of goods and
services through sponsorship of sports events

The mark consists of a sign depicting a stylized letter "M", consisting of a closed vertical
irregular line that has in an upward region two pointed ends pointing upward and in a
downward region one pointed end pointing downward and arranged between two squared
ends, which is partially superimposed on the figure of a stylized cockerel, seen in profile and
facing to the left, the outline of the whole being profiled.

PRIORITY DATE OF 09-21-2017 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1421276 DATED 02-23-2018,
EXPIRES 02-23-2028

SER. NO. 79-240,090, FILED 02-23-2018



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Reg. No. 5,841,665         MONCLER S.p.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Aug. 27, 2019   Milano, ITALY I-20144

                           CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
Int. Cl.: 9, 18, 25        eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
                           eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses, containers for
Trademark                  contact lenses; ski goggles; spectacle cases; binoculars; binocular cases; monocles;
                           magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; electronic game
Principal Register         software for cellular phones; electronic game software for hand-held electronic devices;
                           computer game software; downloadable computer programs for database management; blank
                           floppy disks; computer software platforms, recorded or downloadable for use in the
                           encryption of multimedia recordings; downloadable graphics for mobile phones; computer
                           screen saver software, recorded or downloadable; personal computers; cases adapted for
                           personal computers; notebook computers; hand-held computers; cases adapted for hand-held
                           computers; carrying cases adapted for computers; tablet computers; protective cases for tablet
                           computers; covers for tablet computers; laptop computers; cases for laptop computers; bags
                           adapted for laptop computers; sleeves for laptop computers; docking stations for laptop
                           computers; wrist rests for use with computers; computer mice; mouse pads; computer
                           keyboards; laser document printers for use with computers; computer peripheral devices;
                           monitors, being computer hardware; carrying cases for radio pagers; radio cases; radios;
                           mobile phones; lanyards, being straps for cellular phones; covers adapted for cellular phones;
                           cases adapted for cellular phones; cellular phones; smartphones; protective covers for
                           smartphones; protective cases for smartphones; electronic book readers; protective cases for
                           electronic book readers; cordless telephones; cordless telephone holders; telephone receivers;
                           telephone apparatus; video telephones; cell phone straps; batteries for cellular phones;
                           microphones for cellular phones; loudspeakers for cellular phones; earphones for cellular
                           phones; battery chargers for cellular phones; battery charger cases for cellular phones; in-ear
                           headphones; headphones; headphone cases; hands free kits for telephones; hands free kits for
                           cellular phones; smartwatches; protective films adapted for smartphones; selfie sticks, being
                           hand-held monopods; personal digital assistants, being PDAs, cases adapted for cameras;
                           photographic cameras; digital cameras; cases especially made for photographic apparatus and
                           instruments; lanyards, being straps, for cameras; digital photo frames; exposed slide film
                           cases; slides, being photography; video screens; home theater projectors; protective helmets
                           for sports; gloves for divers; visors for helmets; blank audio-video compact discs; blank
                           recordable DVDs; holders and cases for compact discs and DVDs; protective carrying cases
                           for portable music players; music and video player cases; digital audio players; loudspeakers,
                           compact disc players; cases adapted for CD players; DVD recorders; DVD players; cases
adapted for DVD players; portable MP3 players; cases for portable MP3 players; covers for
portable MP3 players; portable compact disc music players; prerecorded magnetic tapes,
cartridges and disks featuring information in the fields of fashion, design and lifestyle;
walkie-talkies; antennas; audiovisual teaching apparatus, namely, electronic sports training
simulators; television apparatus for projection purposes; electronic publications,
downloadable, in the nature of magazines featuring information about fashion, design and
lifestyle; blank magnetic data carriers; blank sound recording discs; prerecorded audio discs
featuring fashion, design and lifestyle; prerecorded DVDs featuring information in the fields
of fashion, design and lifestyle; audio and video tapes featuring information in the fields of
fashion, design and lifestyle; sound recording carriers being magnetic data carriers featuring
information in the fields of fashion, design and lifestyle; video recorders; video cassettes
featuring information in the fields of fashion, design and lifestyle; blank USB flash drives;
electronic key fobs being remote control apparatus; teaching robots; time clocks, being time
recording devices; automatic pill counters; rulers, being measuring instruments; measuring
devices, electric, namely, laser distance meters; barometers; thermometers, not for medical
purposes; calculating machines; pocket calculators; chronographs, being specialized time
recording apparatus; scales; pedometers, directional compasses, navigation apparatus for
vehicles, being on- board computers; magnetically encoded key cards; electronic agendas;
cases for electronic agenda; covers for electronic agendas; hologram apparatus; electronic
interactive whiteboards; interactive touch screen terminals; decorative magnets; electronic
pens, being visual display units; lanyards, being straps, especially adapted for holding cellular
phones, MP3 players, cameras, video cameras, magnetic encoded identity cards; integrated
circuit cards, being blank smart cards; sports whistles; electronic pocket translators; hand-held
electronic dictionaries, optical fibers, being light conducting filaments; snorkels; baby
monitors; audio baby monitors; video baby monitors; baby scales; protective helmets for
children; educational software for children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; business card cases, being notecases; credit card cases, being wallets;
calling card cases; business card cases; document cases; labels of leather; clothing for pets;
collars for pets; bags for carrying animals; travelling bags; handbags; evening purses, being
handbags; reusable shopping bags; leather shopping bags, wheeled shopping bags, duffle
bags, waist bags; Boston bags; shoulder bags; travelling trunks; beach bags; clutch bags;
attaché cases; school bags; school satchels, schoolchildren's backpacks; randsels, being
Japanese school satchels; bags for sports; garment bags for travel; purses; wallets; pocket
wallets; carrying cases for documents; key cases; key bags; key wallets; briefcases; pouches,
of leather, for packaging; luggage; pouches for holding make-up, keys and other personal
items; shoe bags for travel; all-purpose sports bags; saddle horn bags; knapsacks; backpacks;
rucksacks; haversacks; overnight suitcases; trunks, being luggage; vanity cases, not fitted; hat
boxes for travel; hat boxes of leather; handbag frames; key cases of leather; shoulder belts,
being straps, of leather; leather straps; pouches of leather; suitcases; suitcases with wheels;
travelling sets, being leatherware traveling bags; travelling bags of leather; all-purpose
carrying bags for campers; all-purpose carrying bags for climbers; tote bags; motorized
suitcases; conference folders and conference portfolios being briefcase-type leather business
folders; sling bags for carrying infants; slings for carrying infants; pouch baby carriers,
backpacks for carrying babies; infant carriers worn on the body; umbrellas for children; reins
for guiding children; umbrellas; parasols; walking sticks; mountaineering sticks; harness
fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear, aprons, ski masks, gabardines; sleeved or sleeveless jackets;
heavy jackets; bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets;
wind-resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas; fur
jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats; raincoats;
cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts; shirts for wear with
suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters; jumpers, being
pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski trousers; shorts; Bermuda
shorts; jeans; skirts; skorts; work overalls; clothing for gymnastics, namely, leotards and
tights; jogging suits; jogging suit trousers; training suits; track suits; ski suits; snowboard




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suits; suits; dresses for women; evening dresses; gowns; blazers; formal wear; petticoats;
corselets; twin sets; leggings, being trousers; leggings, being leg warmers; leg warmers;
dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, tops and dresses;
outer clothing, namely, jackets, coats; masquerade costumes; tank-tops; hosiery; clothing of
leather or imitations of leather, namely, pants, shirts, shorts and dresses, waterproof clothing,
namely, pants, shirts, shorts and dresses; pants; sweat pants; pelerines; pinafore dresses;
tuxedos; romper suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches
for wear; golf clothing, other than gloves, namely, pants and shirts; cuffs; dance clothing;
smocks; bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits
and swim shorts; swimsuits; bathing drawers; bathing trunks; bikinis; bath robes; pareus;
clothing for children, namely, pants, shirts, shorts and dresses; footwear for children;
headgear for children, namely, caps, hats, toques; footwear for babies and toddlers; headgear
for babies and toddlers, namely, caps, hats,knitted caps; babies' pants, being clothing; cloth
bibs; layettes, being clothing; bibs, sleeved, not of paper; snap crotch shirts for infants and
toddlers; padded sleepsuits for babies; down padded sleepsuits for babies; baby bodysuits;
footmuffs, not electrically heated, as clothing; socks; stockings; tights; sports socks; panty
hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports
shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear;
after ski footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath
slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear
uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs, overshoes; scarves; cloaks; shawls; stoles, fur
stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties;
ascots; neckerchiefs; pocket squares; neck warmers; clothing, namely, gloves, muffs, belts,
collars, money belts; mittens; ski gloves; snowboard gloves; braces for clothing, being
suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas, being
necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

The color(s) peach, black, red, orange, pink, light blue, white, yellow, green, blue, grey and
light brown is/are claimed as a feature of the mark.

The mark consists of a sign depicting the wording "MONCLER" in black fancy characters
flanked to the left by an imaginative graphic image made up of two stylized side-by-side
isosceles triangles, the first outlined in black and the second outlined in red, both with the
apex pointing upward, partially mutually intersecting, the base interrupted in the center, the
aforementioned triangles being superimposed on the figure of a stylized cockerel, the head of
which is outlined in black and the tail outlined in red, the whole being above a series of eight
square cartoons, which are arranged on two rows of four cartoons each, to evoke the sequence
of a comic book. The first panel is black with a pink circle with white goose with an orange
beak wearing a blue jacket and its feature are outlined in black. A white speech bubble
outlined in black has the following stylized text: "SIMPLE A' LAVER!" in black and "EASY
TO WASH!" in blue. The second panel has a pink background with the same white, orange,
and black goose wearing the blue jacket in a white bath tube outlined in black. There are
white bubbles outlined in black and the goose is holding a white and black scrub brush and
green and black bar of soap. Above the head, the stylized wording "LA LA LAAA" appears
in black. There is also a speech bubble with the stylized wording as follows: "JE ME LAVE
AU SAVON DOUX" in black and "I WASH IN A MILD SOAP!" in blue. The third panel
has a pink background and the same goose in the same colors beneath a grey shower head
with water depicted by black and white lines and droplets. There is a white speech bubble
outlined in black with the following stylized wording: "JE ME RINCE ABONDAMMENT".
in black and "I RINSE WELL ...". in blue. The fourth panel has a blue sky background over
green grass with black outlining. There is a yellow sun with black rays. There is also a grey,
black, and white fan with white lines depicting air flowing from the fan and the fan is resting
on a light brown and black stand. The same goose with the same coloring but also having
orange feet outlined in black is resting on a yellow chair with a white frame, all outlined in
black. There is a white speech bubble outlined in black with the following stylized wording:
"... ET ME SECHE A' L'AIR!" in black and "... AND DRY IN AN AERATED SPOT!" in




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blue. The fifth panel is in black with a blue circle. Within the circle is the same goose with the
same coloring but for wearing a yellow jacket outlined in black. There is a white speech
bubble outlined in black with the following stylized wording: "FACILE A' DEGRAISSER" in
black and "EASY TO DRY CLEAN!" in blue. The sixth panel contains the same goose with
the same yellow jacket but the jacket has black dirt spots. The background is blue. There is a
white speech bubble outlined in black with the following stylized wording: "WOUAAAH! JE
SUIS TRES SALE! QUE FAIRE?" in black and "OH! I'M VERY DIRTY! WHAT CAN I
DO?" in blue. The seventh panel has a blue background with the same goose with the same
coloring wearing a yellow jacket. There is a peach girl with yellow hair wearing a white shirt,
all outlined in black. She is at a green table, outlined in black. There is a yellow jacket with
black dirty spots, also outlined in black. In the background are white washing machines, one
with a grey door, also outlined in black. There is a white speech bubble outlined in black with
the following stylized wording: "JE VOUDRAIS UN BAIN DE (P) ...". in black and "I'D
LIKE TO HAVE A BATH WITH (P)" in blue. The eight panel has a yellow background and
the same goose with same coloring wearing the same yellow jacket, now without the black
spots. There are black lines depicting motion. There is a white speech bubble outlined in
black with the following stylized wording: "ET ME VOILA REMIS A' NEUF!" in black and
"AND I'M FINE AGAIN!" in blue.

OWNER OF INTERNATIONAL REGISTRATION 1423059 DATED 05-17-2018,
EXPIRES 05-17-2028

The foreign wording in the mark translates into English as follows: the wording "SIMPLE A'
LAVER!" translates to "EASY TO WASH"; the wording "JE ME LAVE AU SAVON
DOUX" translates to "I WASH IN A MILD SOAP!"; the wording "JE ME RINCE
ABONDAMMENT" translates to "I RINSE WELL"; the wording "ET ME SECHE A'
L'AIR!" translates to "AND DRY IN AN AERATED SPOT!"; the wording "FACILE A'
DEGRAISSER" translates to "EASY TO DRY CLEAN!"; the wording "WOUAAAH! JE
SUIS TRES SALE! QUE FAIR?" translates to "OH! I'M VERY DIRTY! WHAT CAN I
DO?"; the wording "JE VOUDRAIS UN BAIN DE (P)" translates to "I'D LIKE TO HAVE A
BATH WITH (P)"; and the wording "ET ME VOILA REMIS A' NEUF!" translates to "AND
I'M FINE AGAIN!".

SER. NO. 79-240,823, FILED 05-17-2018




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Reg. No. 5,864,888         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Sep. 24, 2019   I-20144 Milano
                           ITALY
Int. Cl.: 9, 18, 25, 28    CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                           eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
Trademark                  eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses; containers for
                           contact lenses; ski goggles;spectacle cases; binoculars; binocular cases; monocles;
Principal Register         magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; downloadable
                           electronic game software for cellular phones; downloadable electronic game software for
                           hand-held electronic devices; downloadable computer game software; downloadable
                           computer programs for database management in the field of fashion, sport and leisure time;
                           blank floppy computer disks; computer software platforms, recorded or downloadable, for
                           database management in the field of fashion, sport and leisure time; downloadable graphics
                           for mobile phones; computer screen saver software, recorded or downloadable; personal
                           computers; cases adapted for personal computers; notebook computers; hand-held computers;
                           cases adapted for hand-held computers; carrying cases adapted for computers; tablet
                           computers; protective cases for tablet computers; covers for tablet computers; laptop
                           computers; cases for laptops; bags adapted for laptops; sleeves for laptops; docking stations
                           for laptops; wrist rests for use with computers; computer mice; mouse pads; computer
                           keyboards; printers for use with computers; computer peripheral devices; monitors, being
                           computer hardware; carrying cases for radio pagers; radio cases; radios; mobile phones;
                           lanyards, being straps for cellular phones; covers adapted for cellular phones; cases adapted
                           for cellular phones; cellular phones; smartphones; protective covers for smartphones;
                           protective cases for smartphones; electronic book readers; protective cases for electronic book
                           readers; cordless telephones; cordless telephone holders; telephone receivers; telephone
                           apparatus; video telephones; cell phone straps; batteries for cellular phones; microphones for
                           cellular phones; loudspeakers for cellular phones; earphones for cellular phones; battery
                           chargers for cellular phones; battery charger cases for cellular phones; in-ear headphones;
                           headphones; headphone cases; hands free kits for telephones; hands free kits for cellular
                           phones; smartwatches; protective films adapted for smartphones; selfie sticks, being hand-
                           held monopods; personal digital assistants, being PDAs; cases adapted for cameras;
                           photographic cameras; digital cameras; cases especially made for photographic apparatus and
                           instruments; lanyards, being straps, for cameras; digital photo frames; cases for exposed
                           photographic slides; photographic slides; video screens; home theater projectors; protective
                           helmets for sports; gloves for divers; visors for helmets; audio-video compact discs; DVDs in
                           the field of fashion, sport and leisure time; holders and cases for compact discs and DVDs;
protective carrying cases for portable music players; music and video player cases; digital
audio players; loudspeakers; compact disc players; cases adapted for CD players; DVD
recorders; DVD players; cases adapted for DVD players; portable MP3 players; cases for
portable MP3 players; covers for portable MP3 players; portable compact disc music players;
prerecorded magnetic tapes, cartridges and disks in the field of fashion, sport and leisure time;
walkie-talkies; antennas; audiovisual teaching apparatus, namely, electronic interactive
whiteboards; electronic publications, downloadable, in the field of fashion, sport and leisure
time; blank magnetic data carriers; prerecorded magnetic data carriers featuring music; blank
sound recording discs; prerecorded audio discs featuring music; prerecorded DVDs featuring
music videos; audio and video tapes featuring music; sound recording carriers, namely, audio
recorders; video recorders; video cassettes featuring music videos; blank USB flash drives;
pre-recorded USB flash drives featuring music videos; electronic key fobs being remote
control apparatus; teaching robots; time clocks, being time recording devices; thread counters,
automatic pill counters, lap-counting devices in the nature of counters for use during fashion
events; measuring rulers; electric measuring devices, namely, fluorometers; barometers;
thermometers, not for medical purposes; calculating machines; pocket calculators;
chronographs, being time recording apparatus; scales; pedometers; directional compasses;
navigation apparatus for vehicles, being on-board computers; credit card cases, being fitted
holders; magnetically encoded key cards; electronic agendas; cases for electronic agendas;
covers for electronic agendas; hologram apparatus; electronic interactive whiteboards;
interactive touch screen terminals; decorative magnets; electronic pens, being visual display
units; lanyards, being straps, especially adapted for holding cellular phones, MP3 players,
cameras, video cameras, eyeglasses, sunglasses, magnetic encoded cards; blank integrated
circuit cards, being smart cards; sports whistles; electronic pocket translators; hand-held
electronic dictionaries; optical fibers, being light conducting filaments; snorkels; baby
monitors; audio baby monitors; video baby monitors; baby scales; protective helmets for
children; downloadable educational software for children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; business card cases; credit card cases, being wallets; calling card
cases; furniture coverings of leather; business card cases; document cases; labels of leather;
clothing for pets; collars for pets; bags for carrying animals; gym bags; handbags; evening
purses, being handbags; shopping bags; leather shopping bags; wheeled shopping bags; duffle
bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags; clutch bags;
attaché cases; school bags; school satchels; schoolchildren's backpacks; randsels, being
Japanese school satchels; bags for sports; garment bags for travel; purses; wallets; pocket
wallets; carrying cases for documents; key cases; key bags; key wallets; briefcases; pouches,
of leather, for packaging; luggage; pouches for holding make-up, keys and other personal
items; shoe bags for travel; all-purpose sports bags; saddle bags; knapsacks; backpacks;
rucksacks; haversacks; overnight suitcases; trunks, being luggage; vanity cases, not fitted; hat
boxes for travel; hat boxes of leather; handbag frames; key cases of leather; shoulder belts,
being straps, of leather; leather straps; pouches of leather; suitcases; suitcases with wheels;
travelling sets, being leatherware; travelling bags of leather; bags for campers in the nature of
all-purpose carrying bags; bags for climbers in the nature of all-purpose carrying bags; tote
bags; motorized suitcases; briefcase-type conference folders; briefcase-type conference
portfolios; sling bags for carrying infants; slings for carrying infants; pouch baby carriers;
backpacks for carrying babies; infant carriers worn on the body; umbrellas for children; reins
for guiding children; umbrellas; parasols; walking sticks; mountaineering sticks; harness
fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters, scarves, hats, caps,
gloves, socks; aprons, ski masks, gabardines; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-resistant
jackets; waterproof jackets; down jackets; sleeveless down jackets; sports jackets; ski jackets;
snowboard jackets; long jackets; windcheaters; ski windcheaters; snowboard windcheaters;
anoraks, being parkas; down anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats
with removable lining; overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-
shirts; polo shirts; sport shirts; undershirts; shirts for wear with suits; chemises; camisoles;
blouses; blousons; sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers;
ski pants; snowboard pants; ski trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work




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overalls; clothing for gymnastics, namely, leotards, leggings, bodysuits; jogging suits;
jogging trousers; training suits; track suits; ski suits; snowboard suits; suits; dresses for
women; evening dresses; gowns; blazers; formal wear, namely, dresses, gowns, tuxedos,
dinner jackets, trousers and footwear; petticoats; corselets; twin sets; leggings, being trousers;
leggings, being leg warmers; leg warmers; dungarees; ponchos; wedding dresses; readymade
clothing, namely, shirts, tops and dresses; outer clothing, namely, coats, jackets, scarves, hats,
gloves, raincoats; masquerade costumes; tank-tops; hosiery; clothing of leather or imitations
of leather, namely, pants, shirts, shorts and dresses; waterproof clothing, namely, pants, shirts,
shorts and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper suits;
leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf clothing,
other than gloves, namely, pants and shirts; cuffs; dance clothing, namely, tap shoes, ballet
shoes, tutus, jazz pants; smocks; bathing caps; swimming caps; beach cover-ups; beach
clothes, namely, bathing suits and swim shorts; swimsuits; bathing drawers; bathing trunks;
bikinis; bath robes; pareos; clothing for children, namely, pants, shirts, shorts and dresses;
footwear for children; headgear for children, namely caps, hats, toques; footwear for babies
and toddlers; headgear for babies and toddlers, namely caps, hats, knitted caps; babies' pants,
being clothing; cloth bibs; layettes, being clothing; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; bibs, sleeved, not of paper; snap crotch shirts for infants
and toddlers; footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty
hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports
shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear;
after ski footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath
slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear
uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur
stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bowties;
ascots; neckerchiefs; pocket squares; neck warmers; clothing, namely, gloves, muffs, belts,
collars, money belts; mittens; ski gloves; snowboard gloves; braces for clothing, being
suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas, being
necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

CLASS 28: Apparatus for games other than those adapted for use with an external display
screen or monitor; video game machines; pocket-sized video game machines; pocket-sized
electronic game machines in the nature of LCD game machines; portable games with liquid
crystal displays; controllers for game consoles; joysticks for video games; balls for games;
counters, being discs, for games; bladders of balls for games; ring games; conjuring tricks,
roulette wheels; skittles, being games; shuttlecocks; marionettes; kites; kite reels; quoits; toy
vehicles; radio-controlled toy vehicles; remote-controlled toy vehicles; toy cars;
kaleidoscopes, masks, being playthings; theatrical masks; play balloons, toy pistols; dolls;
dolls' beds; dolls' feeding bottles; dolls' clothes; dolls' houses; dolls' rooms; teddy bears;
puzzles; jigsaw puzzles; parlor games; toys, namely, mobiles, toy building blocks, flying
discs, scooters, soap bubbles in the nature of bubble making wand and solution sets, spinning
tops; rocking horses; dominoes; building games; toy construction kits composed primarily of
resins; slides, being playthings; novelty toys for playing jokes; butterfly nets; scale model
vehicles; playing cards; cases for playing cards; dice; backgammon games; checkers, being
games; board games; chess games; chess sets; chess pieces; checkerboards; chessboards;
mah-jong; bingo cards; play balls; nets for sports; race tracks, being toys; darts; swimming
pools, being play articles; novelties for parties in the nature of noisemaker toys, party favor
hats, party favors in the nature of small toys; cases for play accessories; snow globes; paper
party hats; scratch cards for playing lottery games; toys for pets; toy imitation cosmetics;
swimming pool air floats; party poppers being party novelties; toy putty; toy dough; portable
handheld game consoles incorporating telecommunication functions; portable musical toys
incorporating telecommunication functions; plush character and animal toys; rubber character
toys; toy action figures; stuffed toys and unstuffed toys in the form of plastic character toys;
puppets; stuffed puppets; plush toys; stuffed toys; rattles, being playthings; rattles for babies;
baby rattles incorporating teething rings; cot musical toys for babies; baby gyms; plush toys
with attached comfort blanket; tricycles for infants, being toys; crib toys; crib mobiles being




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toys; tables for indoor football; tables for table tennis; golf bags, with or without wheels; golf
gloves; golf clubs; divot repair tools, being golf accessories; billiard cues; pool cue tips;
billiard markers; billiard tables; billiard balls; tennis nets; tennis ball throwing apparatus;
tennis rackets; badminton rackets; battledore bats; table tennis rackets; strings for rackets;
bowling apparatus and machinery; cricket bags; hockey sticks; coin-operated billiard tables;
grip tapes for rackets; skis; snow skis; edges of skis; ski brakes; ski poles; ski sticks; ski
bindings; shaped covers for ski bindings; shaped covers for skis; bags adapted for skis; sole
coverings for skis; seal skins, being coverings for skis; bindings for alpine skis; surf skis;
bob-sleighs; discuses for sports; surfboards; sleds, being sports articles; snow sleds for
recreational use; sailboards; snowboards; bar-bells; appliances for gymnastics; fencing
weapons; climbers' harness; mountaineering equipment, namely, hooks; mountaineering
equipment, namely, binding straps; mountaineering equipment, namely, hook and ring
combinations; paragliders; hang gliders; skateboards; spring boards, being sports articles;
twirling batons; bags especially designed for surfboards; harness for sailboards; masts for
sailboards; paintball guns, being sports apparatus; surfboard leashes; skipping ropes; batting
gloves, being accessories for games; fencing gauntlets; exercise pulleys; exercise benches;
jumping ropes; punching bags for boxing; roller skates; in-line roller skates; ice skates;
skating boots with skates attached; boxing gloves; baseball gloves; gloves for games, namely,
gloves for console gaming; snowshoes; swimming belts; swimming rings; swimming kick
boards; flippers for swimming; water wings; arm floats for swimming; swimming jackets;
tables for table football; golf irons; inflatable floats for swimming; swim floats for
recreational use

The mark consists of the wording "MONCLER" in stylized characters, the stylized letter "M"
being larger and superimposed on the figure of a stylized cockerel, the portion "ONCLER"
being smaller.

PRIORITY DATE OF 12-20-2017 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1445593 DATED 04-20-2018,
EXPIRES 04-20-2028

The wording "MONCLER" has no meaning in a foreign language.

SER. NO. 79-250,111, FILED 04-20-2018




           Page: 4 of 5 / RN # 5864888
Reg. No. 5,870,580         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Oct. 01, 2019   I-20144 Milano, ITALY

                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Int. Cl.: 18, 25           leather, being saddlery; business card cases; credit card cases; calling card cases; leather for
                           furniture; document cases; labels of leather; clothing for pets; collars for pets; bags for
Trademark                  carrying animals; bags, namely, handbags; evening purses, being handbags; mesh shopping
                           bags; leather shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags;
Principal Register         shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases; school bags, school
                           satchels; schoolchildren's backpacks; randsels, being Japanese school satchels; bags for
                           sports; garment bags for travel; purses; wallets; pocket wallets; carrying cases for documents;
                           key cases; key bags; key wallets; briefcases; pouches, of leather, for packaging; luggage;
                           pouches for holding make-up, keys and other personal items; shoe bags for travel; all-purpose
                           sports bags; saddle horn bags; knapsacks; backpacks; rucksacks; haversacks; overnight
                           suitcases; trunks, being luggage; vanity cases, not fitted; hat boxes for travel, not of paper or
                           cardboard; hat boxes of leather; handbag frames; key cases of leather; shoulder belts, being
                           straps, of leather; leather straps; pouches of leather; suitcases; suitcases with wheels;
                           travelling sets, being leatherware; travelling bags of leather; all purpose carrying bags for use
                           by campers; bags for climbers in the nature of all purpose carrying bags; briefcase type
                           leather business conference folders; briefcase type conference portfolios; tote bags; motorized
                           suitcases; sling bags for carrying infants; slings for carrying infants; pouch baby carriers;
                           backpacks for carrying babies; infant carriers worn on the body; umbrellas for children; reins
                           for guiding children; umbrellas, parasols; walking sticks; mountaineering sticks; harness
                           fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands
                           as clothing, headbands, veils, tops as clothing, knitwear in the nature of shirts, dresses,
                           sweaters; aprons, ski masks, gabardines; sleeved or sleeveless jackets; heavy jackets; bomber
                           jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-resistant jackets;
                           waterproof jackets; down jackets; sleeveless down jackets; sports jackets; ski jackets;
                           snowboard jackets; long jackets; windcheaters; ski windcheaters; snowboard windcheaters;
                           anoraks, being parkas; down anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats
                           with removable lining; overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-
                           shirts; polo shirts; sport shirts; undershirts; shirts for wear with suits; chemises; camisoles;
                           blouses; blousons; sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers;
                           ski pants, snowboard pants; ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; work
                           overalls; clothing for gymnastics in the nature of leotards; jogging suits; jogging suit trousers;
                           training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
                           dresses; gowns; blazers; formal wear in the nature of dresses, gowns, tuxedos, dinner jackets,
                           trousers and footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings being
                           leg warmers; leg warmers; dungarees; ponchos; wedding dresses; readymade clothing,
                           namely, shirts, tops being clothing and dresses; outer clothing, namely, coats, hats, gloves;
                           masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather, namely,
                           pants, shirts, shorts and dresses; waterproof clothing, namely, pants, shirts, shorts and dresses;
                           pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
                           school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
                           namely, pants and shirts; cuffs; dance clothing, namely, tutus; smocks; bathing caps;
swimming caps; beach cover-ups; beach clothes, namely, bathing suits and swim shorts;
swimsuits; bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing
for children, namely, pants, shirts, shorts and dresses; footwear for children; headwear for
children, namely, caps, hats, toques; footwear for babies and toddlers; headwear for babies
and toddlers, namely, caps, hats, knitted caps; babies' pants, being underwear; cloth bibs;
layettes, being clothing; padded sleepsuits for babies; down padded sleepsuits for babies;
baby bodysuits; snap crotch shirts for infants and toddlers; muffs, namely, footmuffs, not
electrically heated; socks; stockings; tights; sports socks; panty hose; unitards; garters; sock
suspenders; stocking suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach
shoes; mountaineering shoes; running shoes; ski footwear; after ski footwear; footwear for
snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-
flops, being footwear; soles for footwear; footwear uppers; boots; half- boots; lace boots; rain
boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-riding boots; clogs;
overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing
articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; neck
warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens; ski gloves;
snowboard gloves; braces for clothing, being suspenders; suspenders; waistbands, being parts
of clothing; sashes for wear; boas, being necklets; mufflers, being neck scarves; underwear;
singlets; sport singlets; slips, being undergarments; panties; underpants; drawers, being
clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres;
corsets, being underclothing; bodices, being lingerie; girdles; teddies, being underclothing;
sleep masks, headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 01-23-2018 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1443124 DATED 06-21-2018,
EXPIRES 06-21-2028

The wording "BARBEL" has no meaning in a foreign language.

SER. NO. 79-249,035, FILED 06-21-2018




          Page: 2 of 3 / RN # 5870580
Reg. No. 5,870,597         MONCLER S.p.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Oct. 01, 2019   I-20144 Milano
                           ITALY
Int. Cl.: 25               CLASS 25: Jackets made in whole or in part from down and/or feathers, either natural,
                           synthetic and/or recycled
Trademark
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register         PARTICULAR FONT STYLE, SIZE OR COLOR

                           PRIORITY DATE OF 01-23-2018 IS CLAIMED

                           OWNER OF INTERNATIONAL REGISTRATION 1447569 DATED 06-21-2018,
                           EXPIRES 06-21-2028

                           SER. NO. 79-250,974, FILED 06-21-2018
Reg. No. 5,887,708         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Oct. 22, 2019   Milano, ITALY I20144

                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Int. Cl.: 18, 25           leather, being saddlery; card cases, being notecases; credit card cases, being wallets; calling
                           card cases; leather for furniture, business card cases; document cases; labels of leather;
Trademark                  clothing for pets; collars for pets; bags for carrying animals; bags, namely, all-purpose
                           carrying bags, sports bags, shoulder bags; handbags; evening purses, being handbags;
Principal Register         reusable shopping bags; leather shopping bags; wheeled shopping bags; duffle bags; waist
                           bags; Boston bags; shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases;
                           school bags; school satchels; schoolchildren's backpacks; randsels, being Japanese school
                           satchels; bags for sports; garment bags for travel; purses; wallets; pocket wallets; carrying
                           cases for documents; key cases; key bags; key wallets; briefcases; pouches, of leather, for
                           packaging; luggage; pouches for holding make-up, keys and other personal items; shoe bags
                           for travel; all-purpose sports bags; saddle bags; knapsacks; backpacks; rucksacks; haversacks;
                           overnight suitcases; trunks, being luggage; vanity cases, not fitted; hat boxes for travel not of
                           paper or cardboard; hat boxes of leather; handbag frames; key cases of leather; shoulder belts,
                           being straps, of leather; leather straps; pouches of leather; suitcases; suitcases with wheels;
                           travelling bag sets, being leatherware; travelling bags of leather, all-purpose carrying bags for
                           use by campers; all-purpose carrying bags for use by climbers; briefcase-type leather business
                           conference folders; briefcase-type conference portfolios; tote bags; motorized suitcases; sling
                           bags for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for
                           carrying babies; infant carriers worn on the body; umbrellas for children; reins for guiding
                           children; umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf
                           umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear, namely, knit shirts, knit pants, knit jackets; aprons, ski
                           masks, gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible
                           jackets; rain jackets; leather jackets; padded jackets, wind-resistant jackets; waterproof
                           jackets; down jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets;
                           long jackets; windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being
                           parkas; down anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with
                           removable lining; overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts;
                           polo shirts; sport shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses;
                           blousons; sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants;
                           snowboard pants; ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; work overalls;
                           clothing for gymnastics, namely, leotards, athletic tights, gymnastic shoes; jogging suits;
                           jogging suit trousers; training suits; track suits, ski suits; snowboard suits, suits; dresses for
                           women; evening dresses; gowns; blazers; formal wear, namely, evening gowns, tuxedos,
                           dresses; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg warmers;
                           leg warmers; dungarees; ponchos; wedding dresses, ready-made clothing, namely, shirts, tops
                           and dresses; outer clothing, namely, outer jackets, outer coats, outer pants; masquerade
                           costumes; tank-tops; hosiery; clothing of leather or imitations of leather, namely, pants, shirts,
                           shorts and dresses; waterproof clothing, namely, pants, shirts, shorts and dresses; pants; sweat
pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics; school
uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves, namely, pants
and shirts; cuffs; dance clothing, namely, dance costumes, dance tights, ballet shoes; smocks;
bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits and
swim shorts; swimsuits; bathing drawers as clothing; bathing trunks; bikinis; bath robes;
pareus; clothing for children, namely, pants, shirts, shorts and dresses; footwear for children;
headwear for children, namely caps, hats, toques; footwear for babies and toddlers; headwear
for babies and toddlers, namely caps, hats, knitted caps; babies' pants, being underwear; cloth
bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and toddlers; footwear,
namely, footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty hose;
unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports shoes;
gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear; after ski
footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath slippers;
sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear uppers; boots;
half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots; boots for
sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur stoles;
bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties; ascots;
neckerchiefs; pocket squares; clothing, namely, neck warmers; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves; braces for clothing,
being suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas,
being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 01-23-2018 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1447618 DATED 06-21-2018,
EXPIRES 06-21-2028

The wording "BADY" has no meaning in a foreign language.

SER. NO. 79-250,994, FILED 06-21-2018




          Page: 2 of 3 / RN # 5887708
Reg. No. 5,887,712            MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                              Via Stendhal, 47
Registered Oct. 22, 2019      I-20144 Milano, ITALY

                              CLASS 3: Perfumes; toilet water; deodorants for personal use, being perfumery; incense; joss
Int. Cl.: 3, 9, 14, 16, 18,   sticks; air fragrancing preparations; sachets for perfuming linen; essential oils for personal
25, 28, 35, 41, 42            use; henna, being cosmetic dye; eye shadow; cosmetic pencils; foundation; make-up powder;
                              face powder for cosmetic use; talcum powder for cosmetic use; blusher; lipsticks; lipstick
Service Mark                  cases; lip glosses; mascara; sunscreen preparations; sun-tanning preparations, being
                              cosmetics; nail polish; nail polish removers; beauty masks; cosmetic facial scrubs; face
Trademark                     creams for cosmetic purposes; cosmetic body creams; cosmetic creams; cosmetic preparations
                              for slimming purposes; creams for cellulite reduction for cosmetic use; hair spray; cosmetic
                              hair lotions; hair bleaching preparations; hair dyes; hair coloring preparations; hair rinses,
Principal Register            being shampoo-conditioners; hair lighteners; hair conditioners; hair moisturizers; preparations
                              for the permanent waving of hair; gels, sprays, mousses and balms for hair styling and hair
                              care; depilatory preparations; hair straightening preparations; tissues impregnated with make-
                              up removing preparations; phytocosmetic preparations; non-medicated hand soap; cosmetic
                              soap; facial soaps; skin cleansing creams; skin cleansing lotions; shower gel; bubble bath
                              preparations for cosmetic use; non-medicated bath oils; non-medicated bath pearls; non-
                              medicated bath salts; cosmetic creams and lotions for face and body care; shaving balms;
                              shaving creams; shaving soap; after-shave lotions; hair shampoos; bath preparations, not for
                              medical purposes; non-medicated soap; mouthwashes, not for medical purposes; non-
                              medicated dentifrices; cosmetic preparations for the care of mouth and teeth; shoe polish;
                              shoe wax; shoe cream; creams for leather; toiletries, namely, baby lotions, baby oils and baby
                              powder; shampoos for babies; hair conditioners for babies; children's play cosmetics being
                              cosmetics; cosmetics for animals

                              CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                              eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
                              eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses; containers for
                              contact lenses; ski goggles; spectacle cases; binoculars; binocular cases; monocles;
                              magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; electronic game
                              software for cellular phones; electronic game software for hand-held electronic devices;
                              computer game software; downloadable computer programs for video and computer games;
                              blank floppy computer discs; personal computers; cases adapted for personal computers;
                              notebook computers; hand-held computers; cases adapted for hand-held computers; carrying
                              cases adapted for computers; tablet computers; protective cases for tablet computers; covers
                              for tablet computers; laptop computers; protective cases for laptops; bags adapted for laptops;
computer mice; mouse pads; carrying cases for radios; radios; mobile phones; lanyards, being
straps, for cellular phones; covers adapted for cellular phones; cases adapted for cellular
phones; cellular phones; smartphones; protective covers for smartphones; protective cases for
smartphones; electronic book readers; protective cases for electronic book readers; cordless
telephones; cordless telephone holders; telephone receivers; telephone apparatus; video
telephones; cell phone straps; batteries for cellular phones; microphones for cellular phones;
loudspeakers for cellular phones; earphones for cellular phones; battery chargers for cellular
phones; battery charger cases for cellular phones; in-ear headphones; headphones; headphone
cases; hands free kits for telephones; hands free kits for cellular phones; smartwatches;
protective films adapted for smartphones; selfie sticks, being hand-held monopods; cases
adapted for cameras; cameras for photography; digital cameras; cases especially made for
photographic apparatus and instruments; lanyards, being straps, for cameras; digital photo
frames; exposed slide film cases; photographic slides; video screens; home theater projectors;
protective helmets for sports; blank audio-video compact discs and DVDs; holders and cases
for compact discs and DVDs; protective carrying cases for portable music players; music and
video player cases; digital audio players; loudspeakers; compact disc players; cases adapted
for CD players; DVD recorders; DVD players; cases adapted for DVD players; portable MP3
players; cases for portable MP3 players; protective covers for portable MP3 players; portable
compact disc music players; prerecorded magnetic tapes, cartridges and disks featuring
fashion and art; walkie-talkies; antennas; audiovisual teaching apparatus, namely, audiovisual
recordings featuring music and animation; downloadable electronic publications, namely,
books, magazines, and newsletters in the field of fashion and luxury apparel and accessories;
blank magnetic data carriers, sound recording discs, audio and video tapes and sound
recording carriers; prerecorded audio discs featuring fashion and art; prerecorded DVDs
featuring fashion and art; video recorders; blank video cassettes and USB flash drives;
electronic key fobs being remote control apparatus; time clocks, being time recording
devices; thread counters; rulers, being measuring instruments; measuring devices, electric,
namely, electric lasers for measuring; barometers; calculating machines; pocket calculators;
chronographs, being time recording apparatus; scales; pedometers; navigation apparatus for
vehicles, being on-board computers; cases specially fitted for holding credit cards;
magnetically encoded key cards; electronic agendas; cases for electronic agenda; covers for
electronic agendas; hologram apparatus; electronic interactive whiteboards; interactive touch
screen terminals; decorative magnets; electronic pens, being visual display units; lanyards,
being straps, especially adapted for holding cellular phones, MP3 players, cameras, video
cameras, eyeglasses, sunglasses, magnetic encoded cards; baby monitors; audio baby
monitors; video baby monitors; baby scales; protective helmets for children; educational
software for children

CLASS 14: Precious stones; jade; imitation jewellery; costume jewellery; jewellery and
imitation jewellery, namely, trinkets, charms, threads of precious metal, bracelets, necklaces,
lockets, chains, rings, brooches, medallions, pins, amulets; jewellery, namely, silver thread,
threads of precious metal, gold thread, bracelets made of embroidered textile, pearls,
pendants; cloisonné jewellery; earrings; diadems; medals; ornamental lapel pins; tie pins; cuff
links; necklaces in the nature of lanyards, being keycords; key chains, being key chains with
trinket or decorative fob; key rings, being split rings with trinket or decorative fob; charms for
key rings; key fobs of precious metal; key rings of leather; key rings, not of metal; split rings
of precious metal for keys; decorative key fobs of leather; decorative key fobs of imitation
leather; charms for key rings; decorative key fobs of common metal; decorative key fobs, not
of metal; fancy key holders of precious metal; key holders of precious metal; key holders of
metal; key tags of plastic; badges of precious metal; rosaries; paste jewellery, being costume
jewellery; hat jewellery; shoe jewellery; shoe jewelry in the nature of shoe ornaments of
precious metal; hat jewelry in the nature of hat ornaments of precious metal; jewellery cases,
being caskets, not of precious metal; jewellery cases, being caskets; decorative boxes of
precious metal; statues of precious metal; figurines, being statuettes, of precious metal;
statuettes of precious metal; works of art of precious metal; jewellery; charms for jewellery;
charms for bracelets; charms for necklaces; clocks; wall clocks; watches; alarm clocks;
chronometers; chronographs, being watches; wristwatches; stopwatches; pocket watches;
cases being parts of clocks and watches; watch bands; watch straps; watch chains; watch
bracelets

CLASS 16: Magazines, being periodicals in the field of fashion and luxury apparel and




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accessories; magazines featuring stories, games and learning activities; newspapers;
newspaper comic strips, being printed matter; pamphlets in the field of fashion and luxury
apparel and accessories; pamphlets featuring stories, game and learning activities; booklets in
the field of fashion and luxury apparel and accessories; periodicals in the field of fashion and
luxury apparel and accessories; newsletters in the field of fashion and luxury apparel and
accessories; printed publications, namely, brochures, booklets, and teaching materials in the
field fashion and luxury apparel and accessories; posters; handbooks, being manuals in the
field of fashion and luxury apparel and accessories; calendars; catalogues in the field of
fashion and luxury apparel and accessories; brochures in the field of fashion and luxury
apparel and accessories; informational flyers in the field of fashion and luxury apparel and
accessories; books in the field of fashion and luxury apparel and accessories; books featuring
stories, games and learning activities; children's books; children's activity books; children's
books incorporating audio contents; coloring books; school writing books; school yearbooks;
manuals, being handbooks in the field of fashion and luxury apparel and accessories; gift
wrapping paper; banners of paper; bunting of paper; writing paper; handkerchiefs of paper;
bibs of paper; towels of paper; table linen of paper; place mats of paper; table runners of
paper; table napkins of paper; boxes of paper or cardboard; hat boxes of cardboard; containers
made of cardboard; printed patterns for making clothes; printed sewing patterns; embroidery
designs, being patterns printed on paper; printed patterns for dressmaking; printed paper
knitting patterns; decorative stickers for helmets; bumper stickers; transfers, being
decalcomanias; event albums; sketch books; scratch pads; sketches; architects' models;
blueprints; printed photographs; graphic art reproductions; printed art reproductions; works of
art of paper; print engravings; lithographs; occasion cards; cards bearing universal greetings;
gift tags of paper; announcement cards, being stationery; invitation cards; postcards; picture
cards; stamp albums; photograph stands; photograph albums; stickers, being stationery;
sticker albums; photo holders made of paper; bookmarkers; pens, being office requisites;
fountain pens; ball-point pens; roller-tip pens; writing pens; felt-tip markers; pencils; pastels;
crayons; chalks; painting sets for children; drawing brushes; stationery cases; cases of leather
for agendas and weekly planners; drawing sets comprised of pencils and sketch pads; pen
boxes; pencil boxes; pen toppers; pencil toppers; pen cases; pencil cases; penholders; pencil
holders; stands for pens and pencils; modelling clay for children; stationery, namely,
document covers, document files, document holders; desk mats; desk top organizers; personal
organizers; blank exercise books; note books; cube-shaped notebooks; scratch pads; notepads;
diaries; agendas; weekly planners, being stationery; agenda covers; weekly planner covers;
address booklet covers; photo album covers; book covers; folders, being stationery; labels of
paper or cardboard; printed paper labels, not of textile; adhesive labels, not of textile;
paperweights; page holders; pencil sharpeners, electric or non-electric; drawing pads;
adhesive bands for stationery or household purposes; adhesive tape dispensers, being office
requisites; adhesive tapes for stationery or household purposes; office requisites, namely,
paper knives, being cutters; rubber erasers; erasers; correspondence holders; passport holders;
stationery-type portfolios; illustration boards; paper ribbons other than haberdashery or hair
decorations; inkstands; clipboards; presentation folders; trading cards, other than for games;
shopping bags of plastic; shopping bags of paper; placards of paper or cardboard; printed
advertising boards of paper or cardboard; money clips

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; leather straps;
business card cases, being notecases; credit card cases, being wallets; calling card cases;
furniture coverings in the nature of furniture trimmings of leather; business card cases;
document cases; labels of leather; clothing for pets; collars for pets; bags for carrying pets;
bags, namely, all-purpose carrying bags, sports bags, shoulder bags; handbags; evening
purses, being handbags; mesh shopping bags; leather shopping bags; wheeled shopping bags;
duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags; clutch
bags; attaché cases; school bags; school satchels; schoolchildren's backpacks; randsels, being
Japanese school satchels; bags for sports; garment bags for travel; purses; wallets; pocket
wallets; carrying cases for documents; key cases; key bags; key wallets; briefcases; pouches,
of leather, for packaging; luggage; pouches for holding make-up, keys and other personal
items; shoe bags for travel; all-purpose sports bags; saddle bags; knapsacks; backpacks;
rucksacks; haversacks; overnight suitcases; trunks, being luggage; vanity cases, not fitted; hat
boxes for travel; hat boxes of leather; handbag frames; key cases of leather; shoulder belts,
being straps, of leather; leather straps; pouches of leather; suitcases; suitcases with wheels;
travelling luggage sets, being leatherware; travelling bags of leather; all-purpose carrying




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bags for campers; all-purpose carrying bags for climbers; tote bags; sling bags for carrying
infants; slings for carrying infants; pouch baby carriers; backpacks for carrying babies; infant
carriers worn on the body; umbrellas for children; reins for guiding children; umbrellas;
parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas; umbrella
covers

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear, namely, knit shirts, knit pants, and knit jackets, furs being
clothing, aprons, ski masks, gabardines being pants; sleeved or sleeveless jackets; heavy
jackets; bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports jackets;
ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters; snowboard
windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas; fur jackets;
waistcoats; waistcoats with removable lining; overcoats; coats; fur coats; raincoats; cardigans;
pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts; shirts for wear with suits;
chemises; camisoles; blouses; blousons; sweatshirts; sweaters; jumpers, being pullovers;
sports jerseys; trousers; ski pants; snowboard pants; ski trousers; shorts; bermuda shorts;
jeans; skirts; skorts; work overalls; clothing for gymnastics, namely, leotards, athletic tights,
and gymnastic shoes; jogging suits; jogging suit trousers; training suits; track suits; ski suits;
snowboard suits; suits; dresses for women; evening dresses; gowns; blazers; formal wear,
namely, evening gowns, tuxedos, and dresses; petticoats; corselets; twin sets; leggings, being
trousers; leggings, being leg warmers; leg warmers; dungarees; ponchos; wedding dresses;
ready-made clothing, namely, shirts, tops, and dresses; outer clothing, namely, outer jackets,
outer coats, and outer pants; masquerade costumes; tank-tops; hosiery; clothing of leather or
imitations of leather, namely, pants, shirts, shorts, and dresses; waterproof clothing, namely,
pants, shirts, shorts, and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos;
romper suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear;
golf clothing, other than gloves, namely, pants and shirts; cuffs; dance clothing, namely,
dance costumes, dance tights, and ballet shoes; smocks; bathing suits; bathing caps;
swimming caps; beach cover-ups; beach clothes, namely, bathing suits and swim shorts;
swimsuits; bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; babies'
pants, being clothing; bibs, not of paper; layettes, being clothing; babies' sleepwear; socks;
stockings; tights; sports socks; panty hose; unitards; garters; sock suspenders; stocking
suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering
shoes; running shoes; ski footwear; after ski footwear; footwear for snowboarding; rain
footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-flops, being footwear;
soles for footwear; footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after
ski boots; snowboard boots; boots for sports; horse-riding boots; clogs; overshoes; scarves;
cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing articles, namely,
foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; neck warmers; clothing,
namely, gloves, muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves;
braces for clothing, being suspenders; suspenders; waistbands, being parts of clothing; sashes
for wear; boas, being necklets; mufflers, being neck scarves; underwear; singlets; sport
singlets; slips, being undergarments; panties; underpants; drawers, being clothing; briefs;
boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; corsets, being
underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep masks;
headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods, being
clothing; ear muffs, being clothing

CLASS 28: Apparatus for games other than those adapted for use with an external display
screen or monitor; video game machines; pocket-sized video game machines; pocket-sized
electronic amusement game machines; portable games with liquid crystal displays; controllers
for game consoles; joysticks for video games; balls for games; counters, being discs, for
games; bladders of balls for games; ring games; conjuring apparatus being magic tricks;
roulette wheels; skittles, being games; shuttlecocks; marionettes; kites; kite reels; quoits; toy
vehicles; radio-controlled toy vehicles; remote-controlled toy vehicles; toy cars;
kaleidoscopes; masks, being playthings; theatrical masks; play balloons; toy pistols; dolls;
dolls' beds; dolls' feeding bottles; dolls' clothes; dolls' houses; dolls' rooms; teddy bears;
puzzles; jigsaw puzzles; parlor games; toys, namely, mobiles, building blocks, flying discs,
scooters, soap bubbles sold as a unit with bubble making wand and solution sets, spinning
tops; rocking horses; dominoes; building games; toy construction kits; playground slides,




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being playthings; practical jokes, being novelty magic tricks; butterfly nets; scale model
vehicles; playing cards; cases for playing cards; dice; draughts, being checkers games;
draughtboards being checkboards for checkers games; backgammon games; checkers, being
games; board games; chess games; chess sets; chess pieces; checkerboards; chessboards;
mah-jong; bingo cards; rackets for tennis, squash, and badminton; playing balls; nets for
sports; race tracks, being toys; darts; swimming pools, being play articles; novelty small toys
for parties, dances, being party favors; cases for play accessories; snow globes; paper party
hats; scratch cards for playing lottery games; toys for pets; plush stuffed character dolls and
animals; rubber character toys; animated and non-animated toy figures; stuffed toys and
unstuffed toys in the form of plastic character toys; puppets; stuffed puppets; plush toys;
stuffed toys; rattles, being playthings; rattles for babies; baby rattles incorporating teething
rings; toy mobiles used with baby cots being musical toys for babies; baby gyms; plush toys
with attached comfort blanket; tricycles for infants, being toys; tables for indoor football;
tables for table tennis; golf bags, with or without wheels; golf gloves; golf clubs; divot repair
tools, being golf accessories; billiard cues; pool cue tips; billiard markers; billiard tables;
billiard balls; tennis nets; tennis ball throwing apparatus; tennis rackets; battledore bats; table
tennis rackets; strings for rackets; bowling apparatus and machinery; bags specially designed
to hold cricket equipment; hockey sticks; coin-operated billiard tables; grip tapes for rackets;
skis; snow skis; edges of skis; ski brakes; ski poles; ski sticks; ski bindings; shaped covers for
ski bindings; shaped covers for skis; bags adapted for skis; sole coverings for skis; seal skins,
being coverings for skis; bindings for alpine skis; surf skis; bob-sleighs; discuses for sports;
surfboards; sleds, being sports articles; snow sleds for recreational use; sailboards;
snowboards; bar-bells; appliances for gymnastics; fencing weapons; climbers' harness;
mountaineering equipment, namely, ascenders, binding straps, hooks, hook and ring
combinations; paragliders; hang gliders; skateboards; spring boards, being sports articles;
twirling batons; bags especially designed for surfboards; harness for sailboards; masts for
sailboards; paintball guns, being sports apparatus; surfboard leashes; skipping ropes; batting
gloves, being accessories for games; fencing gauntlets; exercise pulleys; exercise benches;
jumping ropes; punching bags; roller skates; in-line roller skates; ice skates; skating boots
with skates attached; boxing gloves; baseball gloves; gloves for lacrosse games; snowshoes;
swimming belts; swimming life rings; swimming kick boards; flippers for swimming; water
wings; arm floats for swimming; swimming jackets; floats for swimming; swimming gloves;
inflatable armbands for swimming; swimming floats for recreational use; party poppers;
streamers, being party novelties; balloons, being party novelties

CLASS 35: Retail and wholesale store services and online retail and wholesale store services,
on behalf of third parties, featuring detergents, cleaning, preparations, non-medicated soaps;
perfumery, essential oils, non-medicated cosmetics, non-medicated hair lotions, non-
medicated dentifrices; Retail and wholesale store services and online retail and wholesale
store services, on behalf of third parties, featuring candles, eyeglasses, sunglasses, anti-glare
glasses, ski goggles, goggles for use in sport, swimming goggles, eyeglass and sunglass cases,
eyeglass and sunglass lenses, eyeglass and sunglass frames; Retail and wholesale store
services and online retail and wholesale store services, on behalf of third parties, featuring
eyeglass and sunglass chains, eyeglass and sunglass cords, pince-nez, pince-nez cases, pince-
nez chains, pince-nez cords, pince-nez mountings, correcting lenses, being optics; Retail and
wholesale store services and online retail and wholesale store services, on behalf of third
parties, featuring holders, cases, covers, electronic apparatus holders, electronic apparatus
cases, electronic apparatus covers; Retail and wholesale store services and online retail and
wholesale store services, on behalf of third parties, featuring photographic, optical; Retail and
wholesale store services and online retail and wholesale store services, on behalf of third
parties, featuring apparatus for recording, transmission or reproduction of sound or images,
magnetic data carriers, recording discs, compact discs, DVDs and other digital recording
media, mechanisms for coin-operated apparatus, calculating machines, data processing
equipment, computers, computer software; Retail and wholesale store services and online
retail and wholesale store services, on behalf of third parties, featuring apparatus for lighting,
lamps, precious metals and their alloys, jewellery, precious and semi-precious stones,
horological and chronometric instruments, key rings, key fobs, key cases, key holders, key
bags; Retail and wholesale store services and online retail and wholesale store services, on
behalf of third parties, featuring paper and cardboard, printed matter, photographs, stationery
and office requisites, adhesives for stationery or household purposes, artists' and drawing
materials, paintbrushes; Retail and wholesale store services and online retail and wholesale




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store services, on behalf of third parties, featuring bags, cases and holders, being leatherware,
leatherware, leather and imitations of leather, animal skins, hides, trunks, travelling bags,
umbrellas and parasols, walking sticks, whips, harness, saddlery, collars, leashes and clothing
for animals; Retail and wholesale store services and online retail and wholesale store services,
on behalf of third parties, featuring furniture, mirrors, picture frames, ropes and string, nets,
tents and tarpaulins, awnings of textile or synthetic materials, sails, sacks for the transport and
storage of materials in bulk; Retail and wholesale store services and online retail and
wholesale store services, on behalf of third parties, featuring textiles and substitutes for
textiles, household linen, curtains of textile or plastic, bed covers, table covers, clothing,
footwear, headgear; Retail and wholesale store services and online retail and wholesale store
services, on behalf of third parties, featuring lace and embroidery, ribbons and braid, buttons,
hooks and eyes, pins and needles, artificial flowers, hair decorations, false hair, carpets, rugs,
mats and matting; Retail and wholesale store services and online retail and wholesale store
services, on behalf of third parties, featuring games, toys and playthings, video game
apparatus, gymnastic and sporting articles, decorations for Christmas trees, smokers' articles;
presentation of goods on communication media, for retail purposes, namely, providing
television home shopping services in the field of general consumer merchandise; commercial
information and advice for consumers in the choice of products and services; sales promotion
for others; outsourcing services, namely, business assistance; procurement services for others,
namely, purchasing fashion and luxury apparel and accessories for other businesses;
demonstration of goods; shop window dressing; sponsorship search; business inquiries;
business information; administrative processing of purchase orders; business organization and
management of customer loyalty programs; business administration of consumer loyalty
programs; commercial administration of the licensing of the goods and services of others;
organization of fashion shows for promotional purposes; organization of events, exhibitions,
trade fairs and fashion shows for commercial, promotional and advertising purposes;
organization of trade fairs for commercial or advertising purposes; organization of advertising
events; arranging and conducting of promotional and marketing events; event marketing;
news clipping services; public relations; on-line advertising on a computer network;
advertising of goods and services on the Internet and by means of mobile telephony services
and by electronic mail; bill-posting; rental of advertising space; publicity material rental;
dissemination of advertising matter; advertising agency services; modelling for advertising or
sales promotion; writing of publicity texts; publication of publicity texts; promoting the sale
of fashion goods for third parties through promotional articles in magazines; distribution of
samples; distribution and dissemination of advertising materials, namely, leaflets,
prospectuses, printed material, samples; advertising planning services; promotional services,
namely, advertising services; product merchandising; search engine optimization for sales
promotion; web site traffic optimization; business consultancy regarding advertising
communications strategy; business consultancy regarding public relations communications
strategy; social media strategy and marketing consultancy; business management and
organization consultancy; business consultancy and advisory services in the field of business
strategy; business management consultancy relating to strategy, marketing, production,
personnel and retail sale matters; business management assistance; marketing strategy
planning; business advice in the field of business management and marketing; business
information; marketing research; market research studies; business investigations; public
opinion polling; providing an on-line commercial information directory on the Internet;
compiling indexes of information for commercial or advertising purposes; relocation services
for businesses; business auditing; business management of hotels

CLASS 41: Conducting entertainment events, cultural events, live sports events, educational
events, and entertainment and cultural activities, namely, live performances by a musical
band, live appearances by a sports celebrity, conducting classes in the fields of fashion and
art, fashion modeling for entertainment purposes, entertainment in the nature of fashion
shows, and art exhibitions; entertainment services in the nature of fashion shows and art
exhibitions; organization, production, presentation and conducting of music concerts, film
festivals, live musical tours and other musical and cultural performances, events and
activities, namely, ethnic dance performances; organizing events for cultural or educational
purposes, namely, film events, musical events, cultural and tennis sporting events and live
entertainment events, namely, live musical performances; organization of fashion shows for
entertainment purposes; entertainment in the nature of fashion shows; arranging live film
award ceremonies and evening galas in the nature of balls for entertainment purposes; party




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planning for entertainment purposes; organization and presentation of live shows,
competitions, games, concerts and entertainment events in the nature of live music concerts
and baseball games; organization of balls; organization of exhibitions for cultural purposes;
organization of exhibitions for cultural or educational purposes; providing recreation
facilities; providing recreation facilities; providing entertainment-related information about
education, training, entertainment, sporting and cultural activities; providing entertainment-
related information about entertainment and entertainment events via on-line networks and
the Internet; production and presentation of audio and video recordings, and still and moving
images; electronic desktop publishing services; on-line digital publishing services; on-line
publication of electronic books and journals; digital video, audio and multimedia
entertainment publishing services; publication of fashion magazines for entertainment
purposes; news reporting services in the field of fashion; publication of multimedia material
on-line; electronic desktop publishing; publication of yearbooks; publication of calendars;
publication of brochures; publication of newsletters; publication of catalogs; publication of
books, magazines and other texts, other than publicity texts; publication of printed matter,
also in electronic form, other than for advertising purposes; publication of texts, other than
publicity texts; electronic publication of information on a wide range of topics on-line;
publishing services of digital video, audio and multimedia works for others; providing on-line
electronic publications, not downloadable, namely, newsletters in the fields of fashion and art;
writing of texts, namely, songwriting; layout services, other than for advertising purposes;
arranging of symposiums and training workshops in the fields of fashion and art; arranging
and conducting of educational conferences, conventions, educational exhibitions, classes,
lectures, seminars and training workshops in the fields of fashion and art; provision of
training courses in the fields of fashion and art; providing of training via a global computer
network in the fields of fashion and art; conducting of instructional, educational and training
courses for young people and adults in the fields of fashion and art; conducting of training
workshops in the fields of fashion and art; conducting of educational courses in the fields of
fashion and art; training in the field of interior and fashion design; training to recognize fake
products for the prevention of counterfeiting; conducting of training courses in the field of
technology and innovation; educational training in the field of electronic data processing;
educational training in the field of nature conservation and the environment; business
training; vocational skills training in the fields of fashion and art; vocational guidance, being
education or training advice in the fields of fashion and art; educational services, namely,
conducting higher education, academic, linguistic and vocational training classes in the fields
of fashion and art; photography; photographic reporting; health club services featuring health
and fitness training; night club services featuring entertainment; organization of sports events
and competitions namely, swim meets, soccer competitions, tennis tournaments, golf
tournaments, football games, baseball games, sports car races, track and field events;
providing golf facilities; providing physical education, games and sporting facilities;
providing sports facilities; arranging of video game tournaments and athletic competitions via
the Internet; organization of video game tournaments and athletic competitions; organization
of live educational demonstrations, entertainment, cultural and sporting competitions;
arranging of beauty contests; providing recreational areas in the nature of play areas for
children; providing educational entertainment programs in the fields of fashion and art for
children in after-school centers; modelling for artists; ticket reservation and booking services
for entertainment, sporting and cultural events; ticket agency services for entertainment
events; providing non-downloadable digital music from the Internet; providing on-line,
nondownloadable videos featuring fashion and art

CLASS 42: Dress designing; design of fashion accessories; fashion design; footwear design;
clothing design; design of headgear; jewellery and imitation jewellery design; providing
technical design-related information about fashion design services; styling, being industrial
design; industrial and graphic art design; graphic illustration services; architectural
consultancy; interior decoration consultancy; interior design; design of interior decor;
commercial art design; packaging design; providing temporary use of on-line,
nondownloadable software applications and software tools that enable users to design
clothing and accessories in the fields of fashion and art; providing temporary use of online,
non-downloadable software applications accessible via a web site that enable users to design
clothing and accessories in the fields of fashion and art; providing temporary use of online,
non-downloadable business software that enables users to design clothing and accessories in
the fields of fashion and art; providing temporary use of online on-line non-downloadable




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software for importing and managing data; computer system design; design and development
of electronic databases; design and development of computer systems for data input, output,
processing, display and storage; data encryption and decoding services; design, maintenance,
rental and updating of computer software; design, updating and rental of computer software;
configuration, installation, fault diagnosis, repair, upgrading and maintenance of computer
software; design and development of computer software for reading, transmitting and
organizing data; design, development, maintenance and updating of computer software for
word processing, data processing and industrial process control; rental of computer software;
data security consultancy; internet security consultancy; consultancy in the design and
development of computer hardware; outsource service providers in the field of information
technology; quality control; quality control of goods and services; quality control of partly
manufactured goods; quality control testing of clothing and accessories; inspection of
clothing and accessories for quality control; conducting of quality control tests; product
quality testing; testing, analysis and evaluation of the clothing and accessories manufacturing
process of others for the purpose of certification; quality control services for certification
purposes; testing, analysis and evaluation services for determining conformity with the
certification of quality or standards; technical testing in the field of fashion apparel and
accessories and associated quality control services; quality control testing in the field of
fashion apparel and accessories and consultancy relating thereto; quality assurance
consultancy in the fields of fashion and art; technological process monitoring for quality
assurance in the fields of fashion and art; consumer product safety testing; testing of raw
materials; textile testing; testing, authentication and quality control; technical research
projects and studies in the fields of fashion and art; development of measuring and testing
methods in the fields of fashion and art; surveying; technological analysis and evaluation of
product development; research services for the development of new products; development of
new technology for others in the fields of fashion and art

The mark consists of stylized, vertical rectangular sign containing eight squares, four stacked
vertically on each side, all above the stylized wording "MONCLER" above "GENIUS".

PRIORITY DATE OF 05-11-2017 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1448305 DATED 10-18-2017,
EXPIRES 10-18-2027

SER. NO. 79-251,292, FILED 10-18-2017




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Reg. No. 5,859,563         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Sep. 17, 2019   I-20144 Milano
                           ITALY
Int. Cl.: 9, 18, 25, 28    CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                           eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
Trademark                  eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses; containers for
                           contact lenses; ski goggles; spectacle cases; binoculars; binocular cases; monocles;
Principal Register         magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; downloadable
                           electronic game software for cellular phones; downloadable electronic game software for
                           hand-held electronic devices; downloadable computer game software; downloadable
                           computer programs for database management, use as a spreadsheet in the field of fashion,
                           design and lifestyle; blank floppy computer disks; computer software platforms, recorded or
                           downloadable, for database management, use as a spreadsheet in the field of fashion, design
                           and lifestyle; downloadable graphics for mobile phones; computer screen saver software,
                           recorded or downloadable; personal computers; cases adapted for personal computers;
                           notebook computers; hand-held computers; cases adapted for hand-held computers; carrying
                           cases adapted for computers; tablet computers; protective cases for tablet computers; covers
                           for tablet computers; laptop computers; cases for laptops; bags adapted for laptops; sleeves
                           for laptops; docking stations for laptops; wrist rests for use with computers; computer mice;
                           mouse pads; computer keyboards; printers for use with computers; computer peripheral
                           devices; monitors, being computer hardware; carrying cases for radio pagers; radio cases;
                           radios; mobile phones; lanyards, being straps for cellular phones; covers adapted for cellular
                           phones; cases adapted for cellular phones; cellular phones; smartphones; protective covers for
                           smartphones; protective cases for smartphones; electronic book readers; protective cases for
                           electronic book readers; cordless telephones; cordless telephone holders; telephone receivers;
                           telephone apparatus; video telephones; cell phone straps; batteries for cellular phones;
                           microphones for cellular phones; loudspeakers for cellular phones; earphones for cellular
                           phones; battery chargers for cellular phones; battery charger cases for cellular phones; in-ear
                           headphones; headphones; headphone cases; hands free kits for telephones; hands free kits for
                           cellular phones; smartwatches; protective films adapted for smartphones; selfie sticks, being
                           hand-held monopods; personal digital assistants, being PDAs; cases adapted for cameras;
                           photographic cameras; digital cameras; cases especially made for photographic apparatus and
                           instruments; lanyards, being straps, for cameras; digital photo frames; cases for exposed
                           photographic slides; photographic slides, being photography; video screens; home theater
                           projectors; protective helmets for sports; gloves for divers; visors for helmets; audio-video
                           compact discs; DVDs featuring fashion, design and lifestyle; holders and cases for compact
                           discs and DVDs; protective carrying cases for portable music players; music and video player
cases; digital audio players; loudspeakers; compact disc players; cases adapted for CD
players; DVD recorders; DVD players; cases adapted for DVD players; portable MP3
players; cases for portable MP3 players; covers for portable MP3 players; portable compact
disc music players; prerecorded magnetic tapes, cartridges and disks featuring fashion, design
and lifestyle; walkietalkies; antennas; audiovisual teaching apparatus, namely, electronic
interactive whiteboards; electronic publications, downloadable, featuring fashion, design and
lifestyle; blank magnetic data carriers; prerecorded magnetic data carriers featuring fashion,
design and lifestyle; blank sound recording discs; prerecorded audio discs featuring fashion,
design and lifestyle; prerecorded DVDs featuring fashion, design and lifestyle; audio and
video tapes featuring fashion, design and lifestyle; sound recording carriers, namely, audio
recorders; video recorders; video cassettes featuring fashion, design and lifestyle; blank USB
flash drives; pre-recorded USB flash drives featuring fashion, design and lifestyle; electronic
key fobs being remote control apparatus; teaching robots; time clocks, being time recording
devices; counters, namely, thread counters, automatic pill counters; measuring rulers;
barometers; thermometers, not for medical purposes; calculating machines; pocket
calculators; chronographs, being time recording apparatus; scales; pedometers; directional
compasses; navigation apparatus for vehicles, being onboard computers; credit card cases,
being fitted holders; magnetically encoded key cards; electronic agendas; cases for electronic
agendas; covers for electronic agendas; holograms digital media, namely, downloadable
holographic recordings featuring fashion, design and lifestyle; electronic interactive
whiteboards; interactive touch screen terminals; decorative magnets; electronic pens, being
visual display units; lanyards, being straps, especially adapted for holding cellular phones,
MP3 players, cameras, video cameras, eyeglasses, sunglasses, magnetic encoded cards; blank
integrated circuit cards, being smart cards; sports whistles; electronic pocket translators;
hand-held electronic dictionaries; optical fibers, being light conducting filaments; snorkels;
baby monitors; audio baby monitors; video baby monitors; baby scales; protective helmets for
children; downloadable educational software for children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; credit card cases, being wallets; calling card cases; furniture
coverings of leather; business card cases; document cases; labels of leather; clothing for pets;
collars for pets; bags for carrying animals; bags, namely, all-purpose carrying bags; handbags;
evening purses, being handbags; shopping bags; leather shopping bags; wheeled shopping
bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags;
clutch bags; attaché cases; school bags; school satchels; schoolchildren's backpacks; randsels,
being Japanese school satchels; bags for sports; garment bags for travel; purses; wallets;
pocket wallets; carrying cases for documents; key cases; key bags; key wallets; briefcases;
pouches, of leather, for packaging; luggage; pouches for holding make-up, keys and other
personal items; shoe bags for travel; all-purpose sports bags; saddle bags; knapsacks;
backpacks; rucksacks; haversacks; overnight suitcases; trunks, being luggage; vanity cases,
not fitted; hat boxes for travel; hat boxes of leather; handbag frames; key cases of leather;
shoulder belts, being straps, of leather; leather straps; pouches of leather; suitcases; suitcases
with wheels; travelling sets, namely, travelling bags comprised of leather; travelling bags of
leather; All-purpose carrying bags for use by campers; All-purpose carrying bags for use by
climbers; tote bags; motorized suitcases; briefcase-type conference folders; briefcase-type
conference portfolios; sling bags for carrying infants; slings for carrying infants; pouch baby
carriers; backpacks for carrying babies; infant carriers worn on the body; umbrellas for
children; reins for guiding children; umbrellas; parasols; walking sticks; mountaineering
sticks; harness fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters, scarves, hats, caps,
gloves, socks; aprons, ski masks, gabardines; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-resistant
jackets; waterproof jackets; down jackets; sleeveless down jackets; sports jackets; ski jackets;
snowboard jackets; long jackets; windcheaters; ski windcheaters; snowboard windcheaters;
anoraks, being parkas; down anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats
with removable lining; overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-
shirts; polo shirts; sport shirts; undershirts; shirts for wear with suits; chemises; camisoles;
blouses; blousons; sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers;
ski pants; snowboard pants; ski trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work




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overalls; clothing for gymnastics, namely, leotards, leggings, bodysuits; jogging suits;
jogging trousers; training suits; track suits; ski suits; snowboard suits; suits; dresses for
women; evening dresses; gowns; blazers; formal wear, namely, dresses, gowns, tuxedos,
dinner jackets, trousers and footwear; petticoats; corselets; twin sets; leggings, being trousers;
leggings, being leg warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made
clothing, namely, shirts, tops and dresses; outer clothing, namely, coats, jackets, scarves, hats,
gloves, raincoats; masquerade costumes; tank-tops; hosiery; clothing of leather or imitations
of leather, namely, pants, shirts, shorts and dresses; waterproof clothing, namely, pants, shirts,
shorts and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper suits;
leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf clothing,
other than gloves, namely, pants and shirts; cuffs; dance clothing, namely, tap shoes, ballet
shoes, tutus, jazz pants; smocks; bathing caps; swimming caps; beach cover-ups; beach
clothes, namely, bathing suits and swim shorts; swimsuits; bathing drawers; bathing trunks;
bikinis; bath robes; pareos; clothing for children, namely, pants, shirts, shorts and dresses;
footwear for children; headgear for children, namely caps, hats, toques; footwear for babies
and toddlers; headgear for babies and toddlers, namely caps, hats, knitted caps; babies' pants,
being clothing; cloth bibs; layettes, being clothing; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; bibs, sleeved, not of paper; snap crotch shirts for infants
and toddlers; footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty
hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports
shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear;
after ski footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath
slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear
uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur
stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties;
ascots; neckerchiefs; pocket squares; neck warmers; clothing, namely, gloves, muffs, belts,
collars, money belts; mittens; ski gloves; snowboard gloves; braces for clothing, being
suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas, being
necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

CLASS 28: Apparatus for games other than those adapted for use with an external display
screen or monitor; video game machines; pocket-sized video game machines; pocket-sized
electronic game machines in the nature of LCD game machines, electronic educational game
machines for children; portable games with liquid crystal displays; controllers for game
consoles; joysticks for video games; balls for games; counters, being discs, for games;
bladders of balls for games; ring games; roulette wheels; skittles, being games; shuttlecocks;
marionettes; kites; kite reels; quoits; toy vehicles; radio-controlled toy vehicles; remote-
controlled toy vehicles; toy cars; kaleidoscopes, masks, being playthings; theatrical masks;
play balloons, toy pistols; dolls; dolls' beds; dolls' feeding bottles; dolls' clothes; dolls' houses;
dolls' rooms; teddy bears; puzzles; jigsaw puzzles; parlor games; toys, namely, mobiles, toy
building blocks, flying discs, scooters, soap bubbles in the nature of bubble making wand and
solution setes, spinning tops; rocking horses; dominoes; building games; toy construction
sets; slides, being playthings; novelty toys for playing jokes; butterfly nets; scale model
vehicles; playing cards; cases for playing cards; dice; backgammon games; checkers, being
games; board games; chess games; chess sets; chess pieces; checkerboards; chessboards;
mah-jong; bingo cards; play balls; nets for sports; race tracks, being toys; darts; swimming
pools, being play articles; novelties for parties in the nature of noisemaker toys, party favor
hats, party favors in the nature of small toys, cases for play accessories; snow globes; paper
party hats; scratch cards for playing lottery games; toys for pets; toy imitation cosmetics;
swimming pool air floats; party poppers being party novelties; toy putty; toy dough; portable
handheld game consoles incorporating telecommunication functions; portable musical toys
incorporating telecommunication functions; plush character and animal toys; rubber character
toys; toy action figures; stuffed toys and unstuffed toys in the form of plastic character toys;
puppets; stuffed puppets; plush toys; stuffed toys; rattles, being playthings; rattles for babies;
baby rattles incorporating teething rings; cot musical toys for babies; baby gyms; plush toys
with attached comfort blanket; tricycles for infants, being toys; crib toys; crib mobiles, being




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toys; tables for indoor football; tables for table tennis; golf bags, with or without wheels; golf
gloves; golf clubs; divot repair tools, being golf accessories; billiard cues; pool cue tips;
billiard markers; billiard tables; billiard balls; tennis nets; tennis ball throwing apparatus;
tennis rackets; badminton rackets; battledore bats; table tennis rackets; strings for rackets;
bowling apparatus and machinery; cricket bags; hockey sticks; coin-operated billiard tables;
grip tapes for rackets; skis; snow skis; edges of skis; ski brakes; ski poles; ski sticks; ski
bindings; shaped covers for ski bindings; shaped covers for skis; bags adapted for skis; sole
coverings for skis; seal skins, being coverings for skis; bindings for alpine skis; surf skis;
bob-sleighs; discuses for sports; surfboards; sleds, being sports articles; snow sleds for
recreational use; sailboards; snowboards; bar-bells; appliances for gymnastics; fencing
weapons; climbers' harness; paragliders; hang gliders; skateboards; spring boards, being
sports articles; twirling batons; bags especially designed for surfboards; harness for
sailboards; masts for sailboards; paintball guns, being sports apparatus; surfboard leashes;
skipping ropes; batting gloves, being accessories for games; fencing gauntlets; exercise
pulleys; exercise benches; jumping ropes; punching bags for boxing; roller skates; in-line
roller skates; ice skates; skating boots with skates attached; boxing gloves; baseball gloves;
snowshoes; swimming belts; swimming rings; swimming kick boards; flippers for swimming;
water wings; arm floats for swimming; swimming jackets; tables for table football; golf irons;
inflatable floats for swimming; swim floats for recreational use

The mark consists of a sign depicting three stylized bells, arranged in a semicircle, the central
bell partially overlapping the side bells.

PRIORITY DATE OF 12-28-2017 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1451345 DATED 04-20-2018,
EXPIRES 04-20-2028

SER. NO. 79-252,523, FILED 04-20-2018




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Reg. No. 5,929,368            MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                              Via Stendhal, 47
Registered Dec. 10, 2019      I-20144 Milano
                              ITALY
Int. Cl.: 3, 9, 14, 16, 18,   CLASS 3: Perfumes; toilet water; deodorants for personal use, being perfumery; incense; joss
25, 28, 35, 41, 42            sticks; air fragrancing preparations; sachets for perfuming linen; essential oils for personal
                              use; henna, being cosmetic dye; eye shadow; cosmetic pencils; foundation; make-up powder;
Service Mark                  face powder for cosmetic use; talcum powder for cosmetic use; blusher; lipsticks; lipstick
                              cases; lip glosses; mascara; sunscreen preparations; sun-tanning preparations, being
Trademark                     cosmetics; nail polish; nail polish removers; beauty masks; cosmetic facial scrubs; face
                              creams for cosmetic purposes; cosmetic body creams; cosmetic creams; cosmetic preparations
Principal Register            for slimming purposes; creams for cellulite reduction for cosmetic use; hair spray; cosmetic
                              hair lotions; hair bleaching preparations; hair dyes; hair coloring preparations; hair rinses,
                              being shampoo-conditioners; hair lighteners; hair conditioners; hair moisturizers; preparations
                              for the permanent waving of hair; gels, sprays, mousses and balms for hair styling and hair
                              care; depilatory preparations; hair straightening preparations; tissues impregnated with make-
                              up removing preparations; phytocosmetic preparations; non-medicated hand soap; cosmetic
                              soap; non-medicated facial soaps; skin cleansing creams; skin cleansing lotions; shower gel;
                              non-medicated bubble bath preparations for cosmetic use; non-medicated bath oils; non-
                              medicated bath pearls; non-medicated bath salts; cosmetic creams and lotions for face and
                              body care; shaving balms; shaving creams; shaving soap; after-shave lotions; hair shampoos;
                              bath preparations, not for medical purposes; non-medicated bath soap; mouthwashes, not for
                              medical purposes; non-medicated dentifrices; cosmetic preparations for the care of mouth and
                              teeth; shoe polish; shoe wax; shoe cream; creams for leather; toiletries, namely, baby lotions,
                              baby oils and baby powder; shampoos for babies; hair conditioners for babies; cosmetics for
                              children; cosmetics for animals

                              CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming goggles;
                              eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and sunglass frames;
                              eyeglass and sunglass chains; eyeglass and sunglass cords; contact lenses; containers for
                              contact lenses; ski goggles; spectacle cases; binoculars; binocular cases; monocles;
                              magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; downloadable
                              electronic game software for cellular phones; downloadable electronic game software for
                              hand-held electronic devices; downloadable computer game software; downloadable
                              computer programs for video and computer games; blank floppy disks; personal computers;
                              cases adapted for personal computers; notebook computers; hand-held computers; cases
                              adapted for hand-held computers; carrying cases adapted for computers; tablet computers;
                              protective cases for tablet computers; covers for tablet computers; laptop computers;
                              protective cases for laptops; bags adapted for laptops; computer mice; mouse pads; cases
                              specially adapted for carrying radios; radios; mobile phones; lanyards, being straps, specially
                              adapted for carrying cellular phones; covers adapted for cellular phones; cases adapted for
                              cellular phones; cellular phones; smartphones; protective covers for smartphones; protective
                              cases for smartphones; electronic book readers; protective cases for electronic book readers;
                              cordless telephones; cordless telephone holders in the nature of a case; telephone receivers;
                              telephone apparatus; video telephones; cell phone straps; batteries for cellular phones;
                              microphones for cellular phones; loudspeakers for cellular phones; earphones for cellular
                              phones; battery chargers for cellular phones; battery charger cases for cellular phones; in-ear
                              headphones; headphones; headphone cases; hands free kits for telephones; hands free kits for
                              cellular phones; smartwatches; protective films adapted for smartphones; selfie sticks, being
hand-held monopods; cases adapted for cameras; cameras for photography; digital cameras;
cases especially made for photographic apparatus and instruments; lanyards, being straps, for
cameras; digital photo frames; carrying cases for exposed slide film; photographic slides;
video screens; home theater projectors; protective helmets for sports; blank recordable audio-
video compact discs; blank recordable DVDs; holders and carrying cases specially adapted
for compact discs and DVDs; protective carrying cases for portable music players; protective
carrying cases for portable music and video players; digital audio players; loudspeakers;
compact disc players; carrying cases adapted for CD players; DVD recorders; DVD players;
carrying cases adapted for DVD players; portable MP3 players; carrying cases for portable
MP3 players; protective covers for portable MP3 players; portable compact disc music
players; prerecorded magnetic tapes, cartridges and disks featuring fashion and art; walkie
talkies; antennas; audiovisual teaching apparatus, namely, audiovisual recordings featuring
music and animation; downloadable electronic publications in the nature of books,
magazines, and newsletters in the field of fashion and luxury apparel and accessories; blank
magnetic data carriers; blank sound recording discs; prerecorded audio discs featuring fashion
and art; prerecorded DVDs featuring fashion and art; blank audio and video tapes; blank
sound recording carriers in the nature of Compact discs; video recorders; blank video
cassettes; blank USB flash drives; electronic key fobs being remote control apparatus; time
clocks, being time recording devices; thread counters; rulers, being measuring instruments;
electric measuring devices, namely, electric lasers for measuring; barometers; calculating
machines; pocket calculators; chronographs, being time recording apparatus; scales;
pedometers; navigation apparatus for vehicles, being on-board computers; magnetically
encoded key cards; electronic agendas; carrying cases for electronic agenda; protective covers
for electronic agendas; hologram apparatus; electronic interactive whiteboards; interactive
touch screen terminals; decorative magnets; electronic pens, being visual display units;
lanyards, being straps, especially adapted for holding cellular phones, MP3 players, cameras,
video cameras, eyeglasses, sunglasses, magnetic encoded cards; baby monitors; audio baby
monitors; video baby monitors; baby scales; protective helmets for children; downloadable
educational software for children

CLASS 14: Precious stones; jade; imitation jewellery; costume jewellery; jewellery and
imitation jewellery, namely, trinkets, charms, threads of precious metal, bracelets, necklaces,
lockets, chains, rings, brooches, medallions, pins, amulets; jewellery, namely, silver thread,
threads of precious metal, gold thread, bracelets made of embroidered textile, pearls,
pendants; cloisonné jewellery; earrings; diadems; medals; ornamental pins; tie pins; cufflinks;
necklaces in the nature of lanyards, being keycords; key chains, being key chains with trinket
or decorative fob; key rings, being split rings with trinket or decorative fob; charms for key
rings; decorative key fobs of metal; key rings of leather; key rings, not of metal; split rings of
precious metal for keys; decorative key fobs of leather; decorative key fobs of imitation
leather; charms for key rings; key fobs of common metal; key fobs, not of metal; decorative
key holders of precious metal; key holders of precious metal; key holders of metal; key tags
of plastic; badges of precious metal; rosaries; paste jewellery, being costume jewellery; hat
jewellery; shoe jewellery; shoe ornaments of precious metal being shoe jewelry; hat
ornaments of precious metal being hat jewelry; jewellery cases, being caskets, not of precious
metal; jewellery cases, being caskets; decorative boxes of precious metal; statues of precious
metal; figurines, being statuettes, of precious metal; statuettes of precious metal; works of art
of precious metal; jewellery; charms for jewellery; charms for bracelets; charms for
necklaces; clocks; wall clocks; watches; alarm clocks; chronometers; chronographs, being
watches; wristwatches; stopwatches; pocket watches; cases being parts of clocks and watches;
watch bands; watch straps; watch chains; watch bracelets

CLASS 16: Magazines, being periodicals in the field of fashion and luxury apparel and
accessories; magazines for children featuring fictional stories, games and learning activities;
newspapers; newspaper comic strips, being printed matter; pamphlets in the field of fashion
and luxury apparel and accessories; pamphlets for children featuring fictional stories, game
and learning activities; booklets in the field of fashion and luxury apparel and accessories;
periodicals in the field of fashion and luxury apparel and accessories; newsletters in the field
of fashion and luxury apparel and accessories; printed publications, namely, brochures,
booklets, and teaching materials in the field of fashion and luxury apparel and accessories;
posters; handbooks, being manuals in the field of fashion and luxury apparel and accessories;
calendars; catalogues in the field of fashion and luxury apparel and accessories; brochures in




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the field of fashion and luxury apparel and accessories; Informational flyers featuring fashion
and luxury apparel and accessories; non-fiction books in the field of fashion and luxury
apparel and accessories; children's books featuring stories, games and learning activities;
children's books; children's activity books; printed children's books incorporating audio
contents, in the nature of a CD sold as a unit; coloring books; school writing books;
yearbooks in the field of fashion and luxury apparel and accessories; manuals, being
handbooks in the field of fashion and luxury apparel and accessories; gift wrapping paper;
banners of paper; bunting of paper; writing paper; handkerchiefs of paper; bibs of paper;
towels of paper; table linen of paper; place mats of paper; table runners of paper; table
napkins of paper; boxes of paper or cardboard; hat boxes of cardboard; containers made of
cardboard; printed patterns for making clothes; printed sewing patterns; printed embroidery
designs, being patterns; printed patterns for dressmaking; printed knitting patterns; decorative
stickers for helmets; bumper stickers; transfers, being decalcomanias; event albums; sketch
books; scratch pads; sketches; architects' models; blueprints; printed prospectuses in the field
of fashion and luxury apparel and accessories; printed photographs; graphic art reproductions;
printed art reproductions; works of art of paper; print engravings; lithographs; occasion cards;
cards bearing universal greetings; gift tags of paper; announcement cards, being stationery;
invitation cards; postcards; greeting cards; photo albums; photograph stands; photograph
albums; stickers, being stationery; sticker albums; photo holders made of paper; bookmarkers;
pens, being office requisites; fountain pens; ball-point pens; roller-tip pens; writing pens; felt-
tip markers; pencils; pastels; crayons; chalks; painting sets for children; drawing brushes;
stationery cases; carrying cases of leather specially adapted for agendas and weekly planners;
drawing sets comprised of pencils and paper; pen boxes; pencil boxes; pen toppers; pencil
toppers; pen cases; pencil cases; penholders; pencil holders; stands for pens and pencils;
modelling clay for children; stationery, namely, document covers, document files, document
holders; desk mats; desk top organizers; personal organizers; blank exercise books; note
books; cube-shaped notebooks; scratch pads; notepads; diaries; agendas; weekly planners,
being stationery; agenda covers; weekly planner covers; address booklet covers; album
covers; book covers; folders, being stationery; labels of paper or cardboard; paper adhesive
labels; paperweights; page holders; pencil sharpeners, electric or non-electric; drawing pads;
adhesive bands for stationery or household purposes; adhesive tape dispensers, being office
requisites; adhesive tapes for stationery or household purposes; office requisites, namely,
paper knives, being cutters; rubber erasers; erasers; correspondence holders; passport holders;
stationery-type portfolios; illustration boards; paper gift wrapping ribbons; inkstands;
clipboards; presentation folders; trading cards, other than for games; shopping bags of plastic;
shopping bags of paper; placards of paper or cardboard; printed advertising boards of paper or
cardboard; money clips

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; leather straps;
card cases, being notecases; credit card cases, being wallets; calling card cases; furniture
coverings of leather; business card cases; document cases; labels of leather; clothing for pets;
collars for pets; bags for carrying animals; bags, namely, all-purpose carrying bags, sports
bags, shoulder bags; handbags; evening purses, being handbags; textile shopping bags; leather
shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags; shoulder bags;
travelling trunks; beach bags; clutch bags; attaché cases; school bags; school satchels;
schoolchildren's backpacks; randsels, being Japanese school satchels; bags for sports; garment
bags for travel; purses; wallets; pocket wallets; carrying cases for documents; key cases; key
bags; key wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for
holding make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
saddlebags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks, being
luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard; hat boxes of
leather; handbag frames; key cases of leather; shoulder belts, being straps, of leather; leather
straps; pouches of leather; suitcases; suitcases with wheels; travelling bag sets, being
leatherware; travelling bags of leather; all-purpose carrying bags for campers; all-purpose
carrying bags for climbers; tote bags; sling bags for carrying infants; slings for carrying
infants; pouch baby carriers; backpacks for carrying babies; infant carriers worn on the body;
umbrellas for children; reins for guiding children; umbrellas; parasols; walking sticks;
mountaineering sticks; harness fittings; golf umbrellas; umbrella covers

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
headbands, veils, tops, knitwear being sweaters, furs, aprons, ski masks, gabardines; sleeved




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or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets; rain jackets; leather
jackets; padded jackets; wind-resistant jackets; waterproof jackets; down jackets; sleeveless
down jackets; sports jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski
windcheaters; snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down
parkas; fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts; shirts for
wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters; jumpers,
being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski trousers; shorts;
Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for gymnastics, namely,
leotards, athletic tights, and gymnastic shoes; jogging suits; jogging suit trousers; training
suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening dresses;
gowns; blazers; formal wear, namely, dresses, gowns, tuxedos, and footwear; petticoats;
corselets; twin sets; leggings, being trousers; leggings, being leg warmers; leg warmers;
dungarees; ponchos; wedding dresses; ready made clothing, namely, shirts, tops and dresses;
outer clothing, namely, jackets, coats, hats; masquerade costumes; tank-tops; hosiery;
clothing of leather or imitations of leather, namely, pants; waterproof clothing, namely,
jackets, pants, shirts, shorts, and dresses; pants; sweat pants; pelerines; pinafore dresses;
tuxedos; rompers; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for
wear; golf clothing, other than gloves, namely, pants and shirts; cuffs; dance clothing,
namely, leotards, tights, dance costumes; smocks; bathing caps; swimming caps; beach cover-
ups; beach clothes, namely, bathing suits and swim shorts; swimsuits; bathing drawers being
bathing suits; bathing trunks; bikinis; bath robes; pareus; babies' pants, being clothing; bibs,
not of paper; layettes, being clothing; babies' sleepwear; socks; stockings; tights; sports socks;
pantyhose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes;
sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski
footwear; after ski footwear; footwear for snowboarding; rain footwear; sneakers; slippers;
bath slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear
uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur
stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties;
ascots; neckerchiefs; pocket squares; neck warmers being clothing; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves; braces for clothing,
being suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas,
being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

CLASS 28: Apparatus for electronic games other than those adapted for use with an external
display screen or monitor; video game machines; pocket-sized video game machines; pocket-
sized electronic video, arcade, LCD game machines; portable games with liquid crystal
displays; controllers for game consoles; joysticks for video games; balls for games; counters,
being discs, for games; bladders of balls for games; ring games; conjuring apparatus, namely,
magic tricks; roulette wheels; skittles, being games; shuttlecocks; marionettes; kites; kite
reels; quoits; toy vehicles; radio-controlled toy vehicles; remote-controlled toy vehicles; toy
cars; kaleidoscopes; toy masks, being playthings; theatrical masks; play balloons; toy pistols;
dolls; dolls' beds; dolls' feeding bottles; dolls' clothes; dolls' houses; dolls' rooms; teddy bears;
puzzles; jigsaw puzzles; parlor games; toys, namely, mobiles, building blocks, flying discs,
scooters, soap bubbles being bubble making wand and solution sets, spinning tops; rocking
horses; dominoes; building games; toy construction sets; playground slides, being playthings;
novelty toys for playing practical jokes; butterfly nets; scale model vehicles; playing cards;
cases for playing cards; dice; draughts, being games; draughtboards; backgammon games;
checkers, being games; board games; chess games; chess sets; chess pieces; checkerboards;
chessboards; mah-jong; bingo cards; rackets; playing balls; nets for sports; race tracks, being
toys; darts; swimming pools, being play articles; novelties for parties, dances, being party
favors in the nature of small toys; cases for play accessories; snow globes; paper party hats;
scratch cards for playing lottery games; toys for pets; plush dolls in the form of characters and
animals; rubber character toys; animated and non-animated toy figures; stuffed toys and
unstuffed toys in the form of plastic character toys; puppets; stuffed puppets; plush toys;
stuffed toys; rattles, being playthings; rattles for babies; baby rattles incorporating teething




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rings; crib musical toys for babies; baby gyms; plush toys with attached comfort blanket;
tricycles for infants, being toys; tables for indoor football; tables for table tennis; golf bags,
with or without wheels; golf gloves; golf clubs; divot repair tools, being golf accessories;
billiard cues; pool cue tips; billiard markers; billiard tables; billiard balls; tennis nets; tennis
ball throwing apparatus; tennis rackets; battledore bats; table tennis rackets; strings for
rackets; bowling apparatus and machinery; bags specially designed to hold cricket equipment;
hockey sticks; coin-operated billiard tables; grip tapes for rackets; skis; snow skis; edges of
skis; ski brakes; ski poles; ski sticks; ski bindings; fitted shaped covers specially adapted for
ski bindings; fitted shaped covers specially adapted for skis; bags adapted for skis; sole
coverings for skis; seal skins, being coverings for skis; bindings for alpine skis; surf skis;
bob-sleighs; discuses for sports; surfboards; sleds, being sports articles; snow sleds for
recreational use; sailboards; snowboards; bar-bells; appliances for gymnastics; fencing
weapons; climbers' harness; mountaineering equipment, namely, ascenders, binding straps,
hooks, hook and ring combinations; paragliders; hang gliders; skateboards; spring boards,
being sports articles; twirling batons; bags especially designed for surfboards; harness for
sailboards; masts for sailboards; paintball guns, being sports apparatus; surfboard leashes;
skipping ropes; batting gloves, being accessories for games; fencing gauntlets; exercise
pulleys; exercise benches; jumping ropes; punching bags; roller skates; in-line roller skates;
ice skates; skating boots with skates attached; boxing gloves; baseball gloves; gloves for
games, namely, football gloves, bowling gloves, lacrosse gloves; snowshoes; swimming
belts; swimming rings; swimming kick boards; flippers for swimming; water wings; arm
floats for swimming; swimming jackets; recreational floats for swimming; swimming gloves;
inflatable armbands for swimming; swimming floats for recreational use; hand-held party
poppers; streamers, being party novelties; balloons, being party novelties

CLASS 35: Retail and wholesale store services on behalf of third parties, also on-line, of
detergents, cleaning, preparations, non-medicated soaps, perfumery, essential oils, non-
medicated cosmetics, non-medicated hair lotions, non-medicated dentifrices; retail and
wholesale store services on behalf of third parties, also on-line, of candles, eyeglasses,
sunglasses, anti-glare glasses, ski goggles, goggles for use in sport, swimming goggles,
eyeglass and sunglass cases, eyeglass and sunglass lenses, eyeglass and sunglass frames;
retail and wholesale store services on behalf of third parties, also on-line, of eyeglass and
sunglass chains, eyeglass and sunglass cords, pince-nez, pince-nez cases, pince-nez chains,
pince-nez cords, pince-nez mountings, correcting lenses, being optics; retail and wholesale
store services on behalf of third parties, also on-line, of holders, cases, and covers for
personal electronics, electronic apparatus holders, electronic apparatus cases, electronic
apparatus covers; retail and wholesale store services on behalf of third parties, also on-line, of
photographic, and optical goods in the nature of cameras, telescopes; retail and wholesale
store services on behalf of third parties, also on-line, of apparatus for recording, transmission
or reproduction of sound or images, magnetic data carriers, recording discs, compact discs,
DVDs and other digital recording media, mechanisms for coin-operated apparatus, calculating
machines, data processing equipment, computers, computer software; retail and wholesale
store services on behalf of third parties, also on-line, of apparatus for lighting, lamps, precious
metals and their alloys, jewellery, precious and semi-precious stones, horological and
chronometric instruments, key rings, key fobs, key cases, key holders, key bags; retail and
wholesale store services on behalf of third parties, also on-line, of paper and cardboard,
printed matter, photographs, stationery and office requisites, adhesives for stationery or
household purposes, artists' and drawing materials, paintbrushes; retail and wholesale store
services on behalf of third parties, also on-line, of bags, cases and holders, being leatherware,
leatherware, leather and imitations of leather, animal skins, hides, trunks, travelling bags,
umbrellas and parasols, walking sticks, whips, harness, saddlery, collars, leashes and clothing
for animals; retail and wholesale store services on behalf of third parties, also on-line, of
furniture, mirrors, picture frames, ropes and string, nets, tents and tarpaulins, awnings of
textile or synthetic materials, sails, sacks for the transport and storage of materials in bulk;
retail and wholesale store services on behalf of third parties, also on-line, of textiles and
substitutes for textiles, household linen, curtains of textile or plastic, bed covers, table covers,
clothing, footwear, headgear; retail and wholesale store services on behalf of third parties,
also on-line, of lace and embroidery, ribbons and braid, buttons, hooks and eyes, pins and
needles, artificial flowers, hair decorations, false hair, carpets, rugs, mats and matting; retail
and wholesale store services on behalf of third parties, also on-line, of games, toys and
playthings, video game apparatus, gymnastic and sporting articles, decorations for Christmas




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trees, smokers' articles; providing television home shopping services in the field of general
consumer merchandise; commercial information and advice for consumers in the choice of
products and services; sales promotion for others; outsourcing services, namely, business
assistance; procurement services for others, namely, purchasing fashion and luxury apparel
and accessories for other businesses; demonstration of goods; shop window dressing;
sponsorship search; business inquiries; business information; administrative processing of
purchase orders; business organization and management of customer loyalty programs;
business administration of consumer loyalty programs; commercial administration of the
licensing of the goods and services of others; organization of fashion shows for promotional
purposes; organization of events, exhibitions, trade fairs and fashion shows for commercial,
promotional and advertising purposes; organization of trade fairs for commercial or
advertising purposes; organization of marketing promotional events for others; arranging and
conducting of promotional and marketing events; event marketing, namely, arranging and
conducting marketing promotional events for others; news clipping services; public relations;
on-line advertising on a computer network; advertising of goods and services on the Internet
and by means of mobile telephony services and by electronic mail; bill-posting; rental of
advertising space; publicity material rental; dissemination of advertising matter; advertising
agency services; modelling for advertising or sales promotion; writing of publicity texts;
publication of publicity texts; promoting the sale of fashion goods through promotional
articles in magazines; distribution of samples for publicity purposes; distribution and
dissemination of advertising materials, namely, leaflets, prospectuses, printed material,
samples; advertising planning services; promotional services, namely, advertising services;
product merchandising for others; search engine optimization for sales promotion; web site
traffic optimization; consultancy regarding advertising communications strategy; consultancy
regarding public relations communications strategy; social media strategy and marketing
consultancy; business management and organization consultancy; consultancy and advisory
services in the field of business strategy; business management consultancy relating to
strategy, marketing, production, personnel and retail sale matters; business management
assistance; marketing strategy planning; advice in the field of business management and
marketing; business information; marketing research; market research, opinion polling
studies; business investigations; public opinion polling; providing an on-line commercial
information directory on the Internet; compiling indexes of information for commercial or
advertising purposes; relocation services for businesses; business auditing; business
management of hotels

CLASS 41: Conducting entertainment events, cultural events, live sports events, educational
events, and entertainment and cultural activities, in the nature of live performances by a
musical band, live appearances by a sports celebrity, conducting classes in the fields of
fashion and art, fashion modeling for entertainment purposes, entertainment in the nature of
fashion shows, and art exhibitions; entertainment services, namely, fashion shows and art
exhibitions; organization, production, presentation and conducting of music concerts,
festivals, tours and other live musical and cultural performances, events and activities, in the
nature of dance events; arranging of film events, musical events, cultural and sporting events
and live entertainment events, namely, fashion shows; organization of fashion shows for
entertainment purposes; entertainment in the nature of fashion shows; arranging special
events for others in the nature of award ceremonies and gala evenings for social and
entertainment purposes; party planning for entertainment purposes; organization and
presentation of shows, competitions, games, concerts and entertainment events in the nature
of live music concerts; organization of balls; organization of exhibitions for cultural purposes;
organization of exhibitions for cultural or educational purposes; providing recreation
facilities; providing information about education, fashion design training, entertainment,
sporting and cultural activities; providing information about entertainment and entertainment
events via on-line networks and the Internet; production and presentation of audio and video
recordings, and still and moving images; electronic publishing services, namely, publication
of text and graphic works of others on CD, DVD, on-line featuring fashion; on-line digital
publishing services; on-line publication of electronic books and journals; digital video, audio
and multimedia entertainment publishing services; publication of fashion magazines for
entertainment purposes; news reporting services in the field of fashion; publication of
multimedia material being magazines, journals, on-line; electronic desktop publishing;
publication of yearbooks; publication of calendars; publication of brochures; publication of
newsletters; publication of catalogs; publication of books, magazines and other texts, other




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than publicity texts; publication of printed matter being texts, journals, also in electronic
form, other than for advertising purposes; publication of texts, other than publicity texts;
electronic publication of information in the form of articles on a wide range of topics on-line;
publishing services in the nature of open-access publishing services, namely, publication of
electronic digital video, audio and multimedia works for others; providing on-line electronic
publications, not downloadable in the nature of books in the field of fashion; writing of texts
in the nature of screenplays; layout services, other than for advertising purposes; arranging of
symposiums and training workshops in the fields of fashion and art; arranging and conducting
of conferences, conventions, educational exhibitions, classes, lectures, seminars and training
workshops in the fields of fashion and art; provision of training courses in the fields of
fashion and art; providing of training via a global computer network in the fields of fashion
and art; conducting of instructional, educational and training courses for young people and
adults in the fields of fashion and art; conducting of training workshops in the fields of
fashion and art; conducting of educational courses in the fields of fashion and art; training in
the field of design of interiors and design of clothing; training to recognize fake products for
the prevention of counterfeiting; conducting of training courses in the field of technology and
innovation; education in the form of workshops and training in the field of electronic data
processing; education in the form of workshops and training relating to nature conservation
and the environment; business training; vocational skills training in the fields of fashion and
art; vocational guidance, being education or training advice; higher education, academic,
linguistic and vocational education workshops, courses, seminars and training services;
photography; photographic reporting; health club services, being health and fitness training;
club services in the nature of entertainment, in particular, night club services, comedy club
service; organization of sports events and competitions, namely, swimming meet, soccer
competition; providing golf facilities; providing recreation facilities for physical education,
games and sporting; providing sports facilities; arranging of games and competitions being
video game tournaments and athletic competitions via the Internet; organization of games and
competitions being video game tournaments and athletic competitions; organization of
educational, entertainment, cultural and sporting competitions being video game tournaments
and athletic competitions; arranging of beauty contests; providing recreational areas in the
nature of play areas for children; providing after school educational programs in the fields of
fashion and art and play facilities for children; modelling for artists; ticket reservation and
booking services for entertainment, sporting and cultural events; ticket agency services for
entertainment events; providing non-downloadable playback of digital music from the
Internet; providing on-line videos, featuring fashion and art, not downloadable

CLASS 42: Dress designing; design of fashion accessories; fashion design; footwear design;
clothing design; design of headwear; jewellery and imitation jewellery design; providing
information about fashion design services; styling, being industrial design; industrial and
graphic art design; graphic illustrators' services; architectural consultancy; interior decoration
consultancy; interior design; design of interior decor; commercial art design; packaging
design; providing temporary use of on-line non-downloadable applications that enable users
to design clothing and accessories in the fields of fashion and art and software development
tools; providing temporary use of online non-downloadable software applications that enable
users to design clothing and accessories in the fields of fashion and art accessible via a web
site; providing temporary use of online non-downloadable business software that enables
users to design clothing and accessories in the fields of fashion and art; providing temporary
use of on-line non-downloadable software for importing and managing data; computer system
design; computer software design, namely, design and development of electronic databases;
computer software design, namely, design and development of systems for data input, output,
processing, display and storage; data encryption and decoding services; design, maintenance,
rental and updating of computer software; design, updating and rental of computer software;
configuration, installation, fault diagnosis, repair, upgrading and maintenance of computer
software; design and development of computer software for reading, transmitting and
organizing data; design, development, maintenance and updating of computer software for
word processing, data processing and process control; rental of computer software; data
security consultancy; internet security consultancy; consultancy in the design and
development of computer hardware; outsource service providers in the field of information
technology; quality control services for others; quality control of goods and services; quality
control of partly manufactured goods; quality control product testing; inspection of goods for
quality control; conducting of product quality control tests; product quality testing; testing,




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analysis and evaluation of the goods and services of others for conformity with certification
standards; quality control services for conformity with certification standards; testing services
for conformity with certification quality or standards; technical testing in the field of fashion
apparel and accessories and quality control services related thereto; quality control testing and
consultancy relating to the field of fashion apparel and accessories; providing quality
assurance consultancy in the fields of fashion and art; process monitoring for quality
assurance in the fields of fashion and art; consumer product safety testing; testing of raw
materials; textile testing; testing, authentication and quality control in the fields of fashion
and art; technical research projects and studies in the fields of fashion and art; development of
measuring and testing methods in the fields of fashion and art; surveying; analysis and
evaluation of product development in the fields of fashion and art; research services for the
development of new products in the fields of fashion and art; development of new technology
for others in the fields of fashion and art

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 05-11-2017 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1450763 DATED 10-18-2017,
EXPIRES 10-18-2027

SER. NO. 79-252,309, FILED 10-18-2017




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Reg. No. 6,026,073         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Apr. 07, 2020   I-20144 Milano
                           ITALY
Int. Cl.: 18, 25           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                           leather, being saddlery; card cases, being notecases; credit card cases, being wallets; calling
Trademark                  card cases; business card cases; document cases; labels of leather; clothing for pets; collars
                           for pets; bags for carrying animals; handbags; evening purses, being handbags; reusable
Principal Register         shopping bags; leather shopping bags; wheeled shopping bags; duffle bags; waist bags;
                           Boston bags; shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases; school
                           bags; school satchels; schoolchildren's backpacks; randsels, being Japanese school satchels;
                           bags for sports; garment bags for travel; purses; wallets; pocket wallets; carrying cases for
                           documents; key cases; key bags; key wallets; briefcases; pouches, of leather, for packaging;
                           luggage; pouches for holding make-up, keys and other personal items; shoe bags for travel;
                           all-purpose sports bags; saddle horn bags; knapsacks; backpacks; rucksacks; haversacks;
                           overnight suitcases; trunks, being luggage; vanity cases, not fitted; hat boxes for travel not of
                           paper or cardboard; hat boxes of leather; handbag frames; key cases of leather; shoulder belts,
                           being straps, of leather; leather straps; pouches of leather; suitcases; suitcases with wheels;
                           travelling bag sets, being leatherware; travelling bags of leather, all-purpose carrying bags for
                           use by campers; all-purpose carrying bags for use by climbers; briefcase-type leather business
                           conference folders; briefcase-type conference portfolios; tote bags; motorized suitcases; sling
                           bags for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for
                           carrying babies; infant carriers worn on the body; umbrellas for children; reins for guiding
                           children; umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf
                           umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear, namely, knit shirts, knit pants, knit jackets; aprons, ski
                           masks, gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible
                           jackets; rain jackets; leather jackets; padded jackets, wind-resistant jackets; waterproof
                           jackets; down jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets;
                           long jackets; windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being
                           parkas; down anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with
                           removable lining; overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts;
                           polo shirts; sport shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses;
                           blousons; sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants;
                           snowboard pants; ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; work overalls;
                           clothing for gymnastics, namely, leotards, athletic tights, gymnastic shoes; jogging suits;
                           jogging suit trousers; training suits; track suits, ski suits; snowboard suits, suits; dresses for
                           women; evening dresses; gowns; blazers; formal wear, namely, evening gowns, tuxedos,
                           dresses; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg warmers;
                           leg warmers; dungarees; ponchos; wedding dresses, ready-made clothing, namely, shirts, tops
                           and dresses; outer clothing, namely, outer jackets, outer coats, outer pants; masquerade
                           costumes; tank-tops; hosiery; clothing of leather or imitations of leather, namely, pants, shirts,
shorts and dresses; waterproof clothing, namely, pants, shirts, shorts and dresses; pants; sweat
pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics; school
uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves, namely, pants
and shirts; cuffs; dance clothing, namely, dance costumes, dance tights, ballet shoes; smocks;
bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits and
swim shorts; swimsuits; bathing drawers as clothing; bathing trunks; bikinis; bath robes;
pareus; clothing for children, namely, pants, shirts, shorts and dresses; footwear for children;
headwear for children, namely, caps, hats, toques; footwear for babies and toddlers; headwear
for babies and toddlers, namely, caps, hats, knitted caps; babies' pants, being underwear; cloth
bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and toddlers; footwear,
namely, footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty hose;
unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports shoes;
gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear; after ski
footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath slippers;
sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear uppers; boots;
half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots; boots for
sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur stoles;
bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties; ascots;
neckerchiefs; pocket squares; clothing, namely, neck warmers; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves; braces for clothing,
being suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas,
being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs; pajamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 01-23-2018 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1450652 DATED 06-21-2018,
EXPIRES 06-21-2028

SEC.2(F)

SER. NO. 79-252,255, FILED 06-21-2018




           Page: 2 of 3 / RN # 6026073
Reg. No. 5,809,674         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jul. 23, 2019   I-20144 Milano
                           ITALY
Int. Cl.: 18, 25           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                           leather, being saddlery; card cases, being notecases; credit card cases, being wallets; calling
Trademark                  card cases; furniture coverings of leather; business card cases; document cases; labels of
                           leather; clothing for pets; collars for pets; bags for carrying animals; bags, namely, all-
Principal Register         purpose carrying bags; handbags; evening purses, being handbags; textile shopping bags;
                           leather shopping bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks;
                           beach bags; clutch bags; attaché cases; school bags; school satchels; schoolchildren's
                           backpacks; randsels, being Japanese school satchels; bags for sports; garment bags for travel;
                           purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
                           wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding make-up,
                           keys and other personal items; shoe bags for travel; all-purpose sports bags; saddlebags;
                           knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks, being luggage;
                           vanity cases, not fitted; hat boxes for travel not of paper or cardboard; hat boxes of leather;
                           handbag frames; key cases of leather; shoulder belts, being straps, of leather; leather straps;
                           pouches of leather; suitcases; travelling bag sets, being leatherware; travelling bags of leather;
                           all-purpose carrying bags for campers; all-purpose carrying bags for climbers; conference
                           folders being briefcase-type leather business folders; conference portfolios being briefcase-
                           type portfolios; tote bags; motorized suitcases; sling bags for carrying infants; slings for
                           carrying infants; pouch baby carriers; backpacks for carrying babies; infant carriers worn on
                           the body; umbrellas for children; reins for guiding children; umbrellas; parasols; walking
                           sticks; mountaineering sticks; harness fittings; golf umbrellas; umbrella covers; hiking sticks;
                           trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear being sweaters, aprons, ski masks, gabardines; sleeved or
                           sleeveless jackets; heavy jackets; bomber jackets; reversible jackets; rain jackets; leather
                           jackets; padded jackets; wind resistant jackets; waterproof jackets; down jackets; sleeveless
                           down jackets; sports jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski
                           windcheaters; snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down
                           parkas; fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
                           raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts; shirts for
                           wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters; jumpers,
                           being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski trousers; shorts;
                           Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for gymnastics, namely,
                           leotards; jogging suits; jogging suit trousers; training suits; track suits; ski suits; snowboard
                           suits; suits; dresses for women; evening dresses; gowns; blazers; formal wear, namely,
                           dresses, gowns, tuxedos, and footwear; petticoats; corselets; twin sets; leggings, being
                           trousers; leggings, being leg warmers; leg warmers; dungarees; ponchos; wedding dresses;
                           readymade clothing, namely, shirts, tops and dresses; outer clothing, namely, jackets, coats,
                           hats; masquerade costumes; tanktops; hosiery; clothing of leather or imitations of leather,
                           namely, pants, shirts, shorts and dresses; waterproof clothing, namely, pants, shirts, shorts and
                           dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; rompers; leotards; slacks;
                           tunics; school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants and shirts; cuffs; dance clothing, namely, leotards, tights, dance costumes;
smocks; bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits
and swim shorts; swimsuits; bathing drawers being bathing suits; bathing trunks; bikinis; bath
robes; pareus; clothing for children, namely, pants, shirts, shorts and dresses; footwear for
children; headwear for children, namely, caps, hats, toques; footwear for babies and toddlers;
headwear for babies and toddlers, namely, caps, hats, knitted caps; babies' pants, being
underwear; cloth bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for
babies; down padded sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and
toddlers; footmuffs, not electrically heated, and being clothing; socks; stockings; tights; sports
socks; pantyhose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather
shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski
footwear; after ski footwear; footwear for snowboarding; rain footwear; sneakers; slippers;
bath slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear
uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur
stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties;
ascots; neckerchiefs; pocket squares; neck warmers being clothing; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves, braces for clothing,
being suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas,
being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing, briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 01-23-2018 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1450790 DATED 06-21-2018,
EXPIRES 06-21-2028

SER. NO. 79-252,322, FILED 06-21-2018




           Page: 2 of 3 / RN # 5809674
Reg. No. 5,816,250         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jul. 30, 2019   I-20144 Milano, ITALY

                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Int. Cl.: 18, 25           leather, being saddlery; card cases, being notecases; credit card cases, being wallets; calling
                           card cases; furniture coverings of leather; business card cases; document cases; labels of
Trademark                  leather; clothing for pets; collars for pets; bags for carrying animals; bags, namely, all-
                           purpose carrying bags; handbags; evening purses, being handbags; textile shopping bags;
Principal Register         leather shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags;
                           shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases; school bags; school
                           satchels; schoolchildren's backpacks; randsels, being Japanese school satchels; bags for
                           sports; garment bags for travel; purses; wallets; pocket wallets; carrying cases for documents;
                           key cases; key bags; key wallets; briefcases; pouches, of leather, for packaging; luggage;
                           pouches for holding make-up, keys and other personal items; shoe bags for travel; all-purpose
                           sports bags; saddlebags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases;
                           trunks, being luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard;
                           hat boxes of leather; handbag frames; key cases of leather; shoulder belts, being straps, of
                           leather; leather straps; pouches of leather; suitcases; suitcases with wheels; travelling bag sets,
                           being leatherware; travelling bags of leather; all-purpose carrying bags for campers; all-
                           purpose carrying bags for climbers; conference folders being briefcase-type leather business
                           folders; conference portfolios being briefcase-type portfolios; tote bags; motorized suitcases;
                           sling bags for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for
                           carrying babies; infant carriers worn on the body; umbrellas for children; reins for guiding
                           children; umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf
                           umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear being sweaters, aprons, ski masks, gabardines; sleeved or
                           sleeveless jackets; heavy jackets; bomber jackets; reversible jackets; rain jackets; leather
                           jackets; padded jackets; wind-resistant jackets; waterproof jackets; down jackets; sleeveless
                           down jackets; sports jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski
                           windcheaters; snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down
                           parkas; fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
                           raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts; shirts for
                           wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters; jumpers,
                           being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski trousers; shorts;
                           Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for gymnastics, namely,
                           leotards; jogging suits; jogging suit trousers; training suits; track suits; ski suits; snowboard
                           suits; suits; dresses for women; evening dresses; gowns; blazers; formal wear, namely,
                           dresses, gowns, tuxedos, and footwear; petticoats; corselets; twin sets; leggings, being
                           trousers; leggings, being leg warmers; leg warmers; dungarees; ponchos; wedding dresses;
                           ready-made clothing, namely, shirts, tops and dresses; outer clothing, namely, jackets, coats,
                           hats; masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
                           namely, pants, shirts, shorts and dresses; waterproof clothing, namely, pants, shirts, shorts and
                           dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; rompers; leotards; slacks;
                           tunics; school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
                           namely, pants and shirts; cuffs; dance clothing, namely, leotards, tights, dance costumes;
                           smocks; bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits
and swim shorts; swimsuits; bathing drawers being bathing suits; bathing trunks; bikinis; bath
robes; pareus; clothing for children, namely, pants, shirts, shorts and dresses; footwear for
children; headwear for children, namely, caps, hats, toques; footwear for babies and toddlers;
headwear for babies and toddlers, namely, caps, hats, knitted caps; babies' pants, being
underwear; cloth bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for
babies; down padded sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and
toddlers; footmuffs, not electrically heated, and being clothing; socks; stockings; tights; sports
socks; pantyhose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather
shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski
footwear; after ski footwear; footwear for snowboarding; rain footwear; sneakers; slippers;
bath slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear
uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur
stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties;
ascots; neckerchiefs; pocket squares; neck warmers being clothing; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves, braces for clothing,
being suspenders; suspenders; waistbands, being parts of clothing; sashes for wear; boas,
being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing, briefs; boxer briefs; pyjamas;
dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps, visors;
hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 01-23-2018 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1450767 DATED 06-21-2018,
EXPIRES 06-21-2028

The wording "HERMIFUR" has no meaning in a foreign language.

SER. NO. 79-252,312, FILED 06-21-2018




           Page: 2 of 3 / RN # 5816250
Reg. No. 5,905,902         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Nov. 12, 2019   I-20144 Milano
                           ITALY
Int. Cl.: 18, 25           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                           leather, being saddlery; card cases, being notecases; credit card cases, being wallets; calling
Trademark                  card cases; unfitted furniture coverings of leather; business card cases; document cases; labels
                           of leather; clothing for pets; collars for pets; bags for carrying animals; bags, namely, all-
Principal Register         purpose carrying bags; handbags; evening purses, being handbags; reusable shopping bags;
                           leather shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags;
                           shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases; school bags; school
                           satchels; schoolchildren's backpacks; randsels, being Japanese school satchels; bags for
                           sports; garment bags for travel; purses; wallets; pocket wallets; carrying cases for documents;
                           key cases; key bags; key wallets; briefcases; pouches, of leather, for packaging; luggage;
                           pouches for holding make-up, keys and other personal items; shoe bags for travel; all-
                           purpose sports bags; saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight
                           suitcases; trunks, being luggage; vanity cases, not fitted; hat boxes for travel not of paper or
                           cardboard; hat boxes of leather; handbag frames; key cases of leather; shoulder belts, being
                           straps, of leather; leather straps; pouches of leather; suitcases; suitcases with wheels;
                           travelling sets, being leatherware luggage; travel bags of leather; bags for campers, namely,
                           all-purpose carrying bags for use by campers; bags for climbers, namely, all-purpose carrying
                           bags for use by climbers; motorized suitcases; conference folders being briefcase-type leather
                           business folders; conference portfolios being briefcase-type portfolios; tote bags; sling bags
                           for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for carrying
                           babies; infant carriers worn on the body; umbrellas for children; reins for guiding children;
                           umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas;
                           umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear, namely, shirts, dresses, sweaters, aprons, ski masks,
                           gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
                           rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
                           jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
                           windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
                           anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                           overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
                           shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
                           sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard
                           pants; ski trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
                           gymnastics, namely, shirts, leggings; jogging suits; jogging suit trousers; training suits; track
                           suits; ski suits; snowboard suits; suits; dresses for women; evening dresses; gowns; blazers;
                           formal wear, namely, dresses, gowns, tuxedos, dinner jackets, trousers and footwear;
                           petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg warmers; leg
                           warmers; dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, tops
                           and dresses; outer clothing, namely, coats, hats, gloves; masquerade costumes; tank-tops;
                           hosiery; clothing of leather or imitations of leather, namely, pants, shirts, shorts and dresses;
                           waterproof clothing, namely, pants, shirts, shorts and dresses; pants; sweat pants; pelerines;
pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics; school uniforms; athletic
uniforms; breeches for wear; golf clothing, other than gloves, namely, pants and shirts; cuffs;
dance clothing, namely, shirts, leggings; smocks; bathing caps; swimming caps; beach cover-
ups; beach clothes, namely, bathing suits and swim shorts; swimsuits; bathing drawers as
clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children, namely, pants,
shirts, shorts and dresses; footwear for children; headgear for children, namely, caps, hats,
toques ; footwear for babies and toddlers; headgear for babies and toddlers, namely, caps,
hats, knitted caps ; babies' pants, being underwear; cloth bibs; clothing layettes; cloth bibs,
sleeved; snap crotch shirts for infants and toddlers; padded sleepsuits for babies; down
padded sleepsuits for babies; baby bodysuits; footmuffs being socks, not electrically heated;
socks; stockings; tights; sports socks; pantyhose; unitards; garters; sock suspenders; stocking
suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering
shoes; running shoes; footwear for skiing; after ski footwear; footwear for snowboarding; rain
footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-flops, being footwear;
soles for footwear; footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after
ski boots; snowboard boots; boots for sport; horse-riding boots; clogs; overshoes; scarves;
cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing articles, namely,
foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; neck warmers; clothing,
namely, gloves, muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves;
braces for clothing, being suspenders; suspenders; waistbands, being parts of clothing; sashes
for wear; boas, being necklets; mufflers, being neck scarves; underwear; singlets; sport
singlets; slips, being undergarments; panties; underpants; drawers, being clothing; briefs;
boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; corsets, being
underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep masks;
headwear, namely, caps, visors being headwear; hats; cap peaks; caps with visors; berets;
hoods, being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 06-11-2018 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1458809 DATED 10-18-2018,
EXPIRES 10-18-2028

SER. NO. 79-255,556, FILED 10-18-2018




          Page: 2 of 3 / RN # 5905902
Reg. No. 5,980,372         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Feb. 11, 2020   I-20144 Milano
                           ITALY
Int. Cl.: 18, 25           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                           leather, being saddlery; business card cases; credit card cases in the nature of wallets; calling
Trademark                  card cases; document cases; labels of leather; clothing for pets; collars for pets; bags for
                           carrying animals; all-purpose carrying bags; handbags; evening purses being handbags;
Principal Register         leather shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags;
                           shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases; school bags; school
                           satchels; schoolchildren's backpacks; randsels being Japanese school satchels; bags for sports;
                           garment bags for travel; purses; wallets; pocket wallets; carrying cases for documents; key
                           cases; key bags; key wallets; briefcases; pouches, of leather, for packaging; luggage; pouches
                           for holding make-up, keys and other personal items; shoe bags for travel; all-purpose sports
                           bags; saddle horn bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases;
                           trunks being luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard;
                           hat boxes of leather; handbag frames; key cases of leather; shoulder belts, being straps, of
                           leather; leather straps; pouches of leather; suitcases; suitcases with wheels; leather travelling
                           bag sets; travelling bags of leather; all-purpose carrying bags for use by campers; all-purpose
                           carrying bags for use by climbers; tote bags; motorized suitcases; baggage tags; sling bags for
                           carrying infants; slings for carrying infants; pouch baby carriers; backpacks for carrying
                           babies; infant carriers worn on the body; umbrellas for children; reins for guiding children;
                           umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas;
                           umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters; aprons, ski masks,
                           gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
                           rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
                           jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
                           windcheaters; ski windcheaters; snowboard windcheaters; anoraks being parkas; down
                           anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                           overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
                           shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
                           sweatshirts; sweaters; jumpers being pullovers; sports jerseys; trousers; ski pants; snowboard
                           pants; ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; working overalls; clothing for
                           gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers; training
                           suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening dresses;
                           gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets, footwear; petticoats;
                           corselets; twin sets; leggings being trousers; leggings being leg warmers; leg warmers;
                           dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, tops and dresses;
                           outer clothing, namely, coats, gloves, hats and scarves; masquerade costumes; tanktops;
                           hosiery; clothing of leather and imitations of leather, namely, pants, shirts, shorts, jackets,
                           shoes, headwear, jackets, belts and dresses; waterproof clothing, namely, pants, shirts, shorts,
                           footwear, jackets and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper
                           suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf
                           clothing, other than gloves, namely, pants, shorts, caps, cleats and shirts; cuffs; dance
clothing, namely, slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps;
beach cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children,
namely, pants, shirts, shorts and dresses; footwear for children; headwear for children,
namely, caps, hats, toques; footwear for babies and toddlers; headwear for babies and
toddlers, namely, caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth
bibs, sleeved; layettes, being clothing; padded sleepsuits for babies; down padded sleepsuits
for babies; baby bodysuits; snap crotch shirts for infants and toddlers; socks; stockings; tights;
sports socks; panty hose; unitards; garters; sock suspenders; stocking suspenders; shoes;
leather shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running
shoes; ski footwear; after ski footwear; footwear for snowboarding; rain footwear; sneakers;
slippers; bath slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear;
footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots;
snowboard boots; boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks;
shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards;
neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing, namely, neck warmers;
clothing, namely, gloves, muffs, belts, collars, money belts; mittens; ski gloves; snowboard
gloves; braces for clothing, namely, suspenders; suspenders; waistbands, being parts of
clothing; sashes for wear; boas, being necklets; mufflers, being neck scarves; underwear;
singlets; sport singlets; slips, being undergarments; panties; underpants; drawers, being
clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres;
corsets, being underclothing; bodices, being lingerie; girdles; teddies, being underclothing;
sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF INTERNATIONAL REGISTRATION 1479683 DATED 03-22-2019,
EXPIRES 03-22-2029

SER. NO. 79-264,085, FILED 03-22-2019




           Page: 2 of 3 / RN # 5980372
Reg. No. 6,004,779       MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                         Via Stendhal, 47
Registered Mar. 10, 2020 I-20144 Milano
                         ITALY
Int. Cl.: 25                CLASS 25: Jackets made in whole or in part from down and/or feathers, either natural,
                            synthetic and/or recycled
Trademark
                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register          PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF INTERNATIONAL REGISTRATION 1497277 DATED 07-26-2019,
                            EXPIRES 07-26-2029

                            The English translation of "RAIE" is "stripe" or "ray".

                            SER. NO. 79-271,580, FILED 07-26-2019
Reg. No. 6,010,449       MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                         Via Stendhal, 47
Registered Mar. 17, 2020 I-20144 Milano
                         ITALY
Int. Cl.: 18, 25            CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                            leather, being saddlery; credit card cases, being wallets; calling card cases; furniture
Trademark                   coverings of leather, namely, leather for furniture; business card cases; document cases; labels
                            of leather; clothing for pets; collars for pets; bags for carrying animals, namely, animal
Principal Register          carriers; bags, namely, overnight bags; handbags; evening purses, being handbags; leather
                            shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags; shoulder bags,
                            travelling trunks; beach bags, clutch bags; attaché cases; school bags; school satchels;
                            schoolchildren's backpacks; randsels, being Japanese school satchels; bags for sports; garment
                            bags for travel; purses; wallets; pocket wallets; carrying cases for documents; key cases; key
                            bags; key wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for
                            holding make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
                            saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks, being
                            luggage; vanity cases, not fitted; hat boxes for travel; hat boxes of leather; handbag frames;
                            key cases of leather; shoulder belts, being straps, of leather; leather straps; pouches of leather;
                            suitcases; suitcases with wheels; travelling bags, being leatherware; travelling bags of leather;
                            all-purpose carrying bags for campers; all-purpose carrying bags for climbers; conference
                            folders, namely, briefcase-type leather business folders; conference portfolios, namely,
                            briefcase-type portfolios; tote bags; motorized suitcases; baggage tags; sling bags for carrying
                            infants; slings for carrying infants; pouch baby carriers; backpacks for carrying babies; infant
                            carriers worn on the body; umbrellas for children; reins for guiding children; umbrellas;
                            parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas; umbrella
                            covers; hiking sticks; trekking sticks

                            CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                            headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters; aprons, ski masks,
                            gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
                            rain jackets, leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
                            jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
                            windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
                            anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                            overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
                            shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
                            sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard
                            pants; ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
                            gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers; training
                            suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening dresses;
                            gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets, footwear; petticoats;
                            corselets; twin sets; leggings, being trousers; leggings, being leg warmers; leg warmers;
                            dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, tops and dresses;
                            outer clothing, namely, coats, gloves, hats and scarves; masquerade costumes; tank-tops;
                            hosiery; clothing of leather or imitations of leather, namely, pants, shirts, shorts, jackets,
                            shoes, headwear, jackets, belts and dresses; waterproof clothing, namely, pants, shirts, shorts,
                            footwear, jackets and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper
                            suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf
clothing, other than gloves, namely, pants, shorts, shirts, caps, cleats and shirts; cuffs; dance
clothing, namely, slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps;
beach cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children,
namely, pants, shirts, shorts and dresses; footwear for children; headgear for children,
namely, caps, hats, toques; footwear for babies and toddlers; headgear for babies and toddlers,
namely, caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth bibs,
sleeved; layettes, being clothing; padded sleepsuits for babies; down padded sleepsuits for
babies; baby bodysuits; snap crotch shirts for infants and toddlers; footmuffs, not electrically
heated; socks; stockings; tights; sports socks; panty hose; unitards; garters; sock suspenders;
stocking suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes;
mountaineering shoes; running shoes; ski footwear; after ski footwear; footwear for
snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-
flops, being footwear; soles for footwear; footwear uppers; boots; half-boots; lace boots; rain
boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-riding boots; clogs;
overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing
articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing,
namely, neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens;
ski gloves; snowboard gloves; braces for clothing, being suspenders; suspenders; waistbands,
being parts of clothing; sashes for wear; boas, being necklets; mufflers, being neck scarves;
underwear; singlets; sport singlets; slips, being undergarments; panties; underpants; drawers,
being clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres;
corsets, being underclothing; bodices, being lingerie; girdles; teddies, being underclothing;
sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF INTERNATIONAL REGISTRATION 1480667 DATED 03-22-2019,
EXPIRES 03-22-2029

The English translation of the word "FLAMMETTE" in the mark is "LITTLE FLAME".

SER. NO. 79-264,420, FILED 03-22-2019




           Page: 2 of 3 / RN # 6010449
Reg. No. 6,061,094        MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                          Via Stendhal, 47
Registered May 26, 2020   I-20144 Milano
                          ITALY
Int. Cl.: 18, 25          CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                          leather, being saddlery; card cases, being notecases, namely, business card cases and name
Trademark                 card cases; credit card cases, being wallets; calling card cases, furniture coverings of leather,
                          namely, leather for furniture; business card cases; document cases; labels of leather; clothing
Principal Register        for pets; collars for pets; bags for carrying animals; bags, namely, overnight bags, gym bags,
                          all-purpose carrying bags, shoulder bags; handbags; evening purses, being handbags; leather
                          shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags, shoulder bags;
                          travelling trunks; beach bags; clutch bags; attache cases; school bags; school satchels;
                          schoolchildren's backpacks; randsels, being Japanese school satchels; bags for sports; garment
                          bags for travel; purses; wallets; pocket wallets; carrying cases for documents; key cases; key
                          bags; key wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for
                          holding make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
                          saddle horn bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks,
                          being luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard; hat
                          boxes of leather; handbag frames; key cases of leather; shoulder belts, being straps, of leather;
                          leather straps; pouches of leather; suitcases; suitcases with wheels; leather travelling bag sets;
                          travelling bags of leather; all-purpose carrying bags for use by campers; bags for climbers in
                          the nature of all-purpose carrying bags; conference folders in the nature of briefcase-type
                          leather business folders; conference portfolios in the nature of briefcase-type portfolios; tote
                          bags; motorized suitcases; baggage tags; sling bags for carrying infants; slings for carrying
                          infants; pouch baby carriers; backpacks for carrying babies; infant carriers worn on the body;
                          umbrellas for children; reins for guiding children, umbrellas; parasols; walking sticks;
                          mountaineering sticks; harness fittings; golf umbrellas; umbrella covers; hiking sticks;
                          trekking sticks

                          CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                          headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters; aprons, ski masks,
                          gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
                          rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
                          jackets; sleeveless down jackets, sports jackets; ski jackets; snowboard jackets; long jackets;
                          windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
                          anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                          overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
                          shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
                          sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers, ski pants; snowboard
                          pants; ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
                          gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers; training
                          suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening dresses;
                          gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets, footwear; petticoats;
                          corselets; twin sets; leggings, being trousers; leggings, being leg warmers; leg warmers;
                          dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, tops and dresses;
                          outer clothing, namely, coats, gloves, hats and scarves, masquerade costumes; tank-tops;
                          hosiery; clothing of leather or imitations of leather, namely, pants, shirts, shorts, jackets,
shoes, headwear, jackets, belts and dresses; waterproof clothing, namely, pants, shirts, shorts,
footwear, jackets and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper
suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf
clothing, other than gloves, namely, pants, shorts, shirts, caps, cleats and shirts; cuffs; dance
clothing, namely, slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps;
beach cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children,
namely, pants, shirts, shorts and dresses; footwear for children; headgear for children,
namely, caps, hats, toques; footwear for babies and toddlers; headgear for babies and toddlers,
namely, caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth bibs,
sleeved; layettes, being clothing; padded sleepsuits for babies; down padded sleepsuits for
babies; baby bodysuits; snap crotch shirts for infants and toddlers; footmuffs, not electrically
heated; socks; stockings; tights; sports socks; panty hose; unitards; garters; sock suspenders;
stocking suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes;
mountaineering shoes; running shoes; ski footwear; after ski footwear, footwear for
snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-
flops, being footwear; soles for footwear; footwear uppers; boots; half-boots; lace boots; rain
boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-riding boots; clogs;
overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing
articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing,
namely, neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens;
ski gloves; snowboard gloves; braces for clothing, being suspenders; suspenders; waistbands,
being parts of clothing; sashes for wear; boas, being necklets; mufflers, being neck scarves;
underwear; singlets, sport singlets; slips, being undergarments; panties; underpants; drawers,
being clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres;
corsets, being underclothing; bodices, being lingerie; girdles; teddies, being underclothing;
sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF INTERNATIONAL REGISTRATION 1477607 DATED 03-22-2019,
EXPIRES 03-22-2029

SER. NO. 79-263,214, FILED 03-22-2019




           Page: 2 of 3 / RN # 6061094
Reg. No. 6,066,819         Moncler S.p.a. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jun. 02, 2020   Milano, ITALY 20144

                           CLASS 9: Optical apparatus and instruments, namely, optical lenses, magnifying glasses,
Int. Cl.: 9, 18, 25        monocles, binoculars, opera glasses, goggles for sports, goggles for skiing, contact lenses,
                           cases for contact lenses, eyeglasses, sunglasses, pince-nez; pince-nez mountings; cases for
Trademark                  eyeglasses and sunglasses; cases for pince-nez; chains for eyeglasses and for sunglasses;
                           frames for eyeglasses and sunglasses; eyeglass cords; telephone receivers; telephone
Principal Register         apparatus; video telephones; mobile phones; antennas for mobile phones; batteries for mobile
                           phones; chargers for mobile phones; cases for mobile phones; mobile phone straps;
                           microphones for mobile phones; loudspeakers for mobile phones; earphones for mobile
                           phones; hands-free kits for mobile phones; apparatus and instruments for recording,
                           transmission or reproducing of sounds or images; blank magnetic data carriers; blank
                           recording discs; sound recording discs featuring music; blank sound recording carriers;
                           radios; television apparatus; recorded video discs featuring music; recorded video tapes
                           featuring music; video recorders; games adapted for use with television receivers; compact
                           discs featuring music; compact disc players; portable compact disc music players; cases for
                           portable music players; video cassettes featuring music; DVD players; DVD recorders;
                           photographic and cinematographic apparatus and instruments, namely, photographic cameras,
                           photographic projectors, photographic flash units for cameras, cases for photographic
                           apparatus, exposed camera and slide films, exposed cinematographic films and
                           cinematographic films featuring athletics and sports, cinematographic cameras,
                           cinematographic machines and apparatus; television cameras; digital cameras; video cameras;
                           apparatus for recording, namely, microphones, amplifiers, headsets, headphones, audio
                           connectors and video connectors; data processing and computer equipment, namely, data
                           processors and computers; recorded computer software for administration of computer
                           networks; downloadable computer programs for use in database management; computers;
                           blank floppy computer disks; computer keyboards; computer peripheral devices; magnetic
                           coded cards, namely, credit cards, bank cards, cheque cards and telephone cards; computer
                           monitors, video monitors; optical discs featuring music; notebook computers; mouse pads;
                           computer game programs; chronographs for use as specialized time recording apparatuses;
                           electronic agendas; protective helmets

                           CLASS 18: Leather and imitation of leather, and goods made of these materials, namely,
                           purses, school bags, school satchels, bags, calling card cases, credit card cases, name card
                           cases, travelling trunks, duffle bags, backpacks, rucksacks, wallets, leather shopping bags,
                           attaché cases, beach bags, handbags, travelling bags, handbag frames, leather pouches,
                           briefcases, attaché cases of leather, unfitted vanity cases, leather key cases, suitcases, bags for
                           sports, leather cheque holders, hat boxes of leather, garment bags for travel, leather shoulder
                           belts, leather straps, fur sold in bulk, raw skins, dog collars, clothing for pets, umbrellas,
                           canes, walking sticks; whips and saddlery; harness fittings
CLASS 25: Clothing, namely, overalls, underwear, sweaters, shirts, jumpers, suits; ready-
made clothing, namely, shirts, blouses, pullovers, jackets, trousers, skirts, dresses, suits, shirts
and chemises, tshirts, sweaters; trousers; outer clothing, namely, coats and jackets; knitwear,
namely, jumpers, twin-sets, tops, skirts, waistcoats, shawls; coats; skirts; petticoats; pullovers;
overcoats; jackets;stuff jackets; ski jackets; ski pants; parkas; clothing of leather, namely,
jackets, pants, vests and coats; T-shirts; blouses; pants; dressing gowns; formal dresses; vests;
jerseys; pajamas; bathrobes; brassieres; camisoles; corselets; slips; children's clothing,
namely, jackets; layettes; bathing caps; bathing suits; clothing for gymnastics, namely, tights,
leotards, t-shirts, shorts, pants, sweatshirts, tops, training suits, leggings, jackets; waterproof
clothing, namely, jackets and pants; raincoats; masquerade costumes; footwear; slippers; bath
slippers; boots; sport boots; horse-riding boots; galoshes; shoes; beach shoes; sandals; sport
shoes; gymnastics shoes; overshoes; headwear, namely, hats, caps, cap peaks; socks; sock
suspenders; stockings; garters; gloves; mittens; muffs; shawls; ties; neckties; scarves and
foulards; veils; bandanas; fur stoles; belts; wedding dresses

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF ITALY , REG. NO. 1484993, DATED 04-13-2012, EXPIRES 08-04-2021

The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a particular
living individual.

SER. NO. 88-386,432, FILED 04-15-2019




           Page: 2 of 3 / RN # 6066819
Reg. No. 6,087,727         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jun. 30, 2020   I-20144 Milano
                           ITALY
Int. Cl.: 25               CLASS 25: Rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof
                           jackets; down jackets; sleeveless down jackets; sports jackets
Trademark
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register         PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF INTERNATIONAL REGISTRATION 1481018 DATED 03-22-2019,
                           EXPIRES 03-22-2029

                           SEC.2(F)

                           SER. NO. 79-264,577, FILED 03-22-2019
Reg. No. 6,104,135         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jul. 21, 2020   I-20144 Milano
                           ITALY
Int. Cl.: 25               CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters; aprons, ski masks,
Trademark                  gaberdines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
                           rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
Principal Register         jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
                           windcheaters; ski windcheaters; snowboard windcheaters; anoraks being parkas; down
                           anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                           overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
                           shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
                           sweatshirts; sweaters; jumpers being pullovers; sports jerseys; trousers; ski pants; snowboard
                           pants, ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
                           gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers; training
                           suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening dresses,
                           gowns, blazers; formal wear, namely, dresses, tuxedos, dinner jackets, footwear; petticoats,
                           corselets; twin sets; leggings being trousers; leggings being leg warmers; leg warmers;
                           dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, tops and dresses;
                           outer clothing, namely, coats, gloves, hats and scarves; masquerade costumes; tank-tops;
                           hosiery; clothing of leather or imitations of leather, namely, pants, shirts, shorts, jackets,
                           shoes, headwear, jackets, belts and dresses; waterproof clothing, namely, pants, shirts, shorts,
                           footwear, jackets and dresses, pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper
                           suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf
                           clothing, other than gloves, namely, pants, shorts, shirts, caps, cleats and shirts; cuffs; dance
                           clothing, namely, slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps;
                           beach cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits;
                           bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children,
                           namely, pants, shirts, shorts and dresses; footwear for children; headgear for children, namely
                           caps, hats, toques; footwear for babies and toddlers; headgear for babies and toddlers, namely
                           caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth bibs, sleeved;
                           layettes being clothing; padded sleepsuits for babies; down padded sleepsuits for babies; baby
                           bodysuits; snap crotch shirts for infants and toddlers; footmuffs, not electrically heated;
                           socks; stockings; tights; sports socks; panty hose; unitards; garters; sock suspenders; stocking
                           suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering
                           shoes; running shoes; ski footwear; after ski footwear; footwear for snowboarding; rain
                           footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-flops being footwear;
                           soles for footwear; footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after
                           ski boots; snowboard boots; boots for sports; horse-riding boots; clogs; overshoes; scarves;
                           cloaks; shawls; stoles; fur stoles; bandanas being neckerchiefs; clothing articles, namely,
                           foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing, namely, neck
                           warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens; ski gloves;
                           snowboard gloves; braces for clothing being suspenders; suspenders; waistbands being parts
                           of clothing; sashes for wear; boas being necklets; mufflers being neck scarves; underwear;
                           singlets; sport singlets; slips being undergarments; panties; underpants; drawers being
clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; corsets
being underclothing; bodices being lingerie; girdles; teddies being underclothing; sleep
masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods being
clothing; ear muffs being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF INTERNATIONAL REGISTRATION 1479361 DATED 03-22-2019,
EXPIRES 03-22-2029

SER. NO. 79-263,914, FILED 03-22-2019




          Page: 2 of 3 / RN # 6104135
Reg. No. 6,115,620         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Aug. 04, 2020   I-20144 Milano
                           ITALY
Int. Cl.: 18, 25           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                           leather, being saddlery; business card cases, being notecases; credit card cases, being wallets;
Trademark                  calling card cases; furniture coverings in the nature of furniture trimmings of leather; business
                           card cases; document cases; labels of leather; clothing for pets; collars for pets; bags for
Principal Register         carrying pets; bags; handbags; evening purses, being handbags; mesh shopping bags; leather
                           shopping bags; wheeled shopping bags; duffle bags; waist bags; Boston bags; shoulder bags;
                           travelling trunks; beach bags; clutch bags; attaché cases; school bags; school satchels;
                           schoolchildren's backpacks; randsels, being Japanese school satchels; bags for sports; garment
                           bags for travel; purses; wallets; pocket wallets; carrying cases for documents; key cases; key
                           bags; key wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for
                           holding make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
                           saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks, being
                           luggage; vanity cases, not fitted; hat boxes for travel; hat boxes of leather; handbag frames;
                           key cases of leather; shoulder belts, being straps, of leather; leather straps; pouches of leather;
                           suitcases; suitcases with wheels; travelling luggage sets, being leatherware; travelling bags of
                           leather; all-purpose carrying bags for campers; all-purpose carrying bags for climbers;
                           motorized suitcases; conference folders; conference portfolios; baggage tags; tote bags; sling
                           bags for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for
                           carrying babies; infant carriers worn on the body; umbrellas for children; reins for guiding
                           children; umbrellas; parasols; walking sticks; mountaineering sticks; harness fittings; golf
                           umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters; aprons, ski masks,
                           gabardines, being pants; sleeved or sleeveless jackets; heavy jackets; bomber jackets;
                           reversible jackets; rain jackets; leather jackets; padded jackets; wind-resistant jackets;
                           waterproof jackets; down jackets; sleeveless down jackets; sports jackets; ski jackets;
                           snowboard jackets; long jackets; windcheaters; ski windcheaters; snowboard windcheaters;
                           anoraks, being parkas; down anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats
                           with removable lining; overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-
                           shirts; polo shirts; sport shirts; undershirts; shirts for wear with suits; chemises; camisoles;
                           blouses; blousons; sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers;
                           ski pants; snowboard pants; ski trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work
                           overalls; clothing for gymnastics, namely, shoes, leotards, leggings, tights; jogging suits;
                           jogging trousers; training suits; track suits; ski suits; snowboard suits; suits; dresses for
                           women; evening dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner
                           jackets, footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
                           warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing, namely,
                           shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves; masquerade
                           costumes; tank-tops; hosiery; clothing of leather or imitations of leather, namely, pants, shirts,
                           shorts, jackets, shoes, headwear, jackets, belts and dresses; waterproof clothing, namely,
                           pants, shirts, shorts, footwear, jackets and dresses; pants; sweat pants; pelerines; pinafore
                           dresses; tuxedos, romper suits; leotards, slacks; tunics; school uniforms; athletic uniforms;
breeches for wear; golf clothing, other than gloves, namely, pants, shorts, shirts, caps, cleats
and shirts; cuffs, dance clothing, namely, slippers, shoes, costumes and pants; smocks;
bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits, shoes
and swim shorts; swimsuits; bathing drawers as clothing; bathing trunks; bikinis; bath robes;
pareus; clothing for children, namely, pants, shirts, shorts and dresses; footwear for children;
headgear for children, namely, caps, hats, toques; footwear for babies and toddlers; headgear
for babies and toddlers, namely, caps, hats, knitted caps; babies' pants, being underwear; cloth
bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and toddlers; footmuffs,
not electrically heated; socks; stockings; tights; sports socks; panty hose; unitards; garters;
sock suspenders; stocking suspenders; shoes; leather shoes; sports shoes; gymnastic shoes;
beach shoes; mountaineering shoes; running shoes; ski footwear, after ski footwear; footwear
for snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-
flops, being footwear; soles for footwear; footwear uppers; boots; half-boots; lace boots, rain
boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-riding boots; clogs;
overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing
articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing,
namely, neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens;
ski gloves; snowboard gloves; braces for clothing, being suspenders; suspenders; waistbands,
being parts of clothing; sashes for wear; boas, being necklets; mufflers, being neck scarves;
underwear; singlets; sport singlets; slips, being undergarments; panties; underpants; drawers,
being clothing; briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres;
corsets, being underclothing; bodices, being lingerie; girdles; teddies, being underclothing;
sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

The color(s) white, blue and red is/are claimed as a feature of the mark.

The color WHITE appears: in the substantially square label; the color BLUE appears: in the
wording MONCLER, in the first triangle on the left of the two stylized isosceles triangles
both with the apex pointing upward and intersecting partially with each other being
superimposed on the figure of a stylized cockerel and which constitute the imaginative
graphic image above the wording MONCLER, in the stylized cockerel's head, in the vertical
rectangular band on the left of the two vertical rectangular bands joined together standing on
top of the substantially square label; the color RED appears: in the second triangle on the
right of the two stylized isosceles triangles both with the apex pointing upward and
intersecting partially with each other being superimposed on the figure of a stylized cockerel
and which constitute the imaginative graphic image above the wording MONCLER, in the
stylized cockerel's tail, in the vertical rectangular band on the right of the two vertical
rectangular bands joined together standing on top of the substantially square label.

The mark consists of a sign depicting the wording "MONCLER" in fancy characters, blue in
color, surmounted by an imaginative graphic image constituted by two stylized isosceles
triangles arranged side by side, the first triangle being blue and the second red, both with the
apex pointing upward, intersecting partially with each other, the corresponding base being
interrupted in the center, the aforementioned triangles being superimposed on the figure of a
stylized cockerel, with a blue head and a red tail, the whole being contained within a
substantially square white label two vertical rectangular bands joined together standing on top
of such label, the left-hand band being blue and the right-hand band being red.

PRIORITY DATE OF 09-19-2019 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1522464 DATED 01-21-2020,
EXPIRES 01-21-2030

SER. NO. 79-281,990, FILED 01-21-2020




         Page: 2 of 3 / RN # 6115620
Reg. No. 6,132,717         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Aug. 25, 2020   I-20144 Milano
                           ITALY
Int. Cl.: 18, 25, 41       CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
                           leather, being types of saddlery; business card cases; notecases, namely, credit card cases;
Service Mark               credit card cases, being types of wallets; calling card cases; document cases; labels of leather;
                           clothing for pets; collars for pets; bags for carrying pets; all-purpose reusable carrying bags;
Trademark                  handbags; evening purses, being types of handbags; mesh shopping bags; leather shopping
                           bags; wheeled shopping bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling
Principal Register         trunks; beach bags; clutch bags, attaché cases; school bags; school satchels; schoolchildren's
                           backpacks; randsels, being types of Japanese school satchels; bags for sports; garment bags
                           for travel; purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags;
                           key wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding
                           make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags; saddle
                           bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks, being
                           luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard; hat boxes of
                           leather; handbag frames; key cases of leather; leather shoulder belts, being types of leather
                           straps; leather straps; pouches of leather; suitcases; suitcases with wheels; leather travelling
                           bag sets; travelling bags of leather; all-purpose carrying bags for campers; all-purpose
                           carrying bags for climbers; conference folders being briefcase-type leather business folders;
                           conference portfolios being briefcase-type portfolios; motorized suitcases; baggage tags; tote
                           bags; sling bags for carrying infants; slings for carrying infants; pouch baby carriers;
                           backpacks for carrying babies; infant carriers worn on the body; umbrellas for children; reins
                           for guiding children; umbrellas; parasols; walking sticks, mountaineering sticks; harness
                           fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys, wristbands,
                           headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters; aprons, ski masks,
                           gabardines; sleeved or sleeveless jackets; heavy jackets; bomber jackets; reversible jackets;
                           rain jackets; leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; down
                           jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
                           windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
                           anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                           overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
                           shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
                           sweatshirts; sweaters; jumpers, being types of pullovers; sports jerseys; trousers; ski pants;
                           snowboard pants; ski trousers; shorts, Bermuda shorts; jeans; skirts; skorts; work overalls;
                           clothing for gymnastics, namely, gymnastic shoes, leotards, leggings, tights; jogging suits;
                           jogging trousers; training suits; track suits; ski suits; snowboard suits; suits; dresses for
                           women; evening dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner
                           jackets, footwear; petticoats; corselets; twin sets; leggings, being types of trousers; leggings,
                           being types of leg warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made
                           clothing, namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and
                           scarves; masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
                           namely, pants, shirts, shorts, jackets, shoes, headwear, jackets, belts and dresses; waterproof
                           clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants, sweat pants;
                           pelerines; pinafore dresses; tuxedos; romper suits being rompers; leotards; slacks; tunics;
                           school uniforms; athletic uniforms; breeches for wear; golf clothing, namely, pants, shorts,
shirts, caps, cleats and shirts; cuffs; dance clothing, namely, slippers, shoes, dance costumes
and pants; smocks; embroidered clothing, namely, sweaters; clothing containing slimming
substances, namely, tops; bathing caps; swimming caps; beach cover-ups; beach clothes,
namely, bathing suits, shoes and swim shorts; swimsuits; bathing drawers as clothing; bathing
trunks; bikinis; bath robes; pareus; clothing for children, namely, pants, shirts, shorts and
dresses; footwear for children; headwear for children, namely, caps, hats, toques; footwear for
babies and toddlers; headwear for babies and toddlers, namely, caps, hats, knitted caps;
babies' underpants, being types of underwear; cloth bibs; cloth bibs, sleeved; clothing
layettes; padded sleepsuits for babies; down padded sleepsuits for babies; baby bodysuits;
snap crotch shirts for infants and toddlers; socks; stockings; tights; sports socks; panty hose;
unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes; sports shoes;
gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear; after ski
footwear, footwear for snowboarding; rain footwear; sneakers; slippers; bath slippers;
sandals; bath sandals; flip-flops, being types of footwear; soles for footwear; footwear uppers,
boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots; boots for
sports; horse-riding boots; clogs; overshoes; fitted heel protectors for shoes; scarves; cloaks;
shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards;
neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing, namely, neck warmers;
clothing, namely, gloves, muffs, belts, collars, money belts; mittens; ski gloves; snowboard
gloves; braces for clothing, namely, suspenders; suspenders; waistbands, being parts of
clothing; sashes for wear; boas; mufflers as neck scarves; fingerless gloves; underwear;
singlets; sport singlets; slips, being types of undergarments; panties; underpants; drawers,
being types of clothing; briefs; boxer briefs; pajamas; dressing gowns; nightgowns; vests;
brassieres; corsets, being underclothing; bodices, being types of lingerie; girdles; teddies,
being underclothing, sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with
visors; berets; hoods, being types of clothing; ear muffs, being types of clothing

CLASS 41: Conducting entertainment events, cultural events, live sports events, educational
events, and entertainment and cultural activities in the nature of conducting classes in the
fields of fashion and art, fashion modeling for entertainment purposes, entertainment in the
nature of fashion shows, and art exhibitions; entertainment services, namely, fashion shows,
and art exhibitions; organization, production, presentation and conducting of music concerts,
festivals, tours and other live musical and cultural performances, events and activities, in the
nature of dance events; arranging of film events, musical events, cultural and sporting events
and live entertainment events, namely, fashion shows; organization of fashion shows for
entertainment purposes; entertainment in the nature of fashion shows; arranging special
events for others in the nature of award ceremonies and gala evenings for social and
entertainment purposes; party planning for entertainment purposes; organization and
presentation of shows, competitions, games, concerts and entertainment events in the nature
of live music concerts; organization of balls; organization of exhibitions for cultural purposes;
organization of exhibitions for cultural or educational purposes; providing recreation
facilities; providing information about education, fashion design training, entertainment,
sporting and cultural activities; providing information about entertainment and entertainment
events via on-line networks and the Internet; production and presentation of audio and video
recordings, and still and moving images; organization of cosplay entertainment events; video
editing services for events; electronic desktop publishing services; online digital publishing
services; on-line publication of electronic books and journals; digital video, audio and
multimedia entertainment publishing services; publication of fashion magazines for
entertainment purposes; news reporting services in the field of fashion; publication of
multimedia material being magazines, journals, on-line; electronic desktop publishing;
publication of yearbooks; publication of calendars; publication of brochures; publication of
newsletters; publication of catalogs; publication of books, magazines and other texts, other
than publicity texts; publication of printed matter being texts, journals, also in electronic
form, other than for advertising purposes; publication of texts, other than publicity texts;
electronic publication of information in the form of articles on a wide range of topics on-line;
publishing services in the nature of open-access publishing services, namely, publication of
electronic digital video, audio and multimedia works for others; providing on-line electronic
publications, not downloadable, namely, newsletters in the fields of fashion and art; providing
non-downloadable digital music from the Internet; providing on-line non-downloadable
videos in the fields of fashion and art; writing of texts in the nature of screenplays in the
fields of fashion and art; layout services, other than for advertising purposes; arranging of
symposiums and training workshops in the fields of fashion and art; arranging and conducting




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of educational conferences, conventions, educational exhibitions, classes, lectures, seminars
and training workshops in the fields of fashion and art; provision of training courses in the
fields of fashion and art; providing of training via a global computer network in the fields of
fashion and art; conducting of training workshops in the fields of fashion and art; provision of
online training courses in the fields of fashion and art; providing of online training courses via
a global computer network in the fields of fashion and art; conducting of instructional,
educational and training courses for young people and adults in the fields of fashion and art;
conducting of training workshops in the fields of fashion and art; conducting of educational
courses in the fields of fashion and art; training services relating to retail management;
training services in the field of sales; training services relating to logistics; training services in
the field of project management; coaching in economic and management matters; training
services relating to the use of information technology; educational services, namely,
providing courses relating to information technology; training services in the field of
computer software development; training services in the field of interior and fashion design;
training services in fakes reconnaissance for fighting counterfeiting; conducting of training
courses in the field of technology and innovation; education in the form of training courses in
the field of electronic data processing; education in the form of training courses relating to
nature conservation and the environment; training services in the field of coaching; business
training; vocational skills training in the fields of fashion and art; vocational guidance, being
education or training advice, in the fields of fashion and art; educational services, namely,
conducting higher education, academic, linguistic and vocational training classes in the fields
of fashion and art; photography; photographic reporting; health club services, being health
and fitness training; night club services featuring entertainment; organization of sports events
and competitions, namely, swim meets, soccer competitions, tennis tournaments, golf
tournaments, football games, baseball games, sports car races, track and field events,
providing golf facilities; providing recreation facilities for physical education, games and
sporting; providing sports facilities; games equipment rental; organization of live educational
demonstrations, entertainment, cultural and sporting competitions; arranging of beauty
contests; providing recreational areas in the nature of play areas for children; providing
educational entertainment programs in the fields of fashion and art for children in after-school
centers; modelling for artists; ticket reservation and booking services for entertainment,
sporting and cultural events; ticket agency services for fashion and entertainment events

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 04-12-2019 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1506194 DATED 08-30-2019,
EXPIRES 08-30-2029

SER. NO. 79-275,240, FILED 08-30-2019




          Page: 3 of 4 / RN # 6132717
Reg. No. 6,202,576         MONCLER S.P.A.
                           Via Stendhal, 47
Registered Nov. 24, 2020   I-20144 Milano
Int. Cl.: 25               ITALY
                           CLASS 25: Clothing, namely, jackets, sleeveless jackets, down jackets, excluding
Trademark                  jackets for children
Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                           ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                           PRIORITY DATE OF 01-23-2018 IS CLAIMED

                           OWNER OF INTERNATIONAL REGISTRATION 1450372 DATED 06-21-2018,
                           EXPIRES 06-21-2028

                           SER. NO. 79-252,128, FILED 06-21-2018
Reg. No. 6,236,024         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jan. 05, 2021   I-20144 Milano
Int. Cl.: 18, 25           ITALY
                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Trademark                  leather, being saddlery; business card cases, being notecases; credit card cases, being
Principal Register         wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
                           leather; business card cases; document cases; labels of leather; clothing for pets; collars
                           for pets; bags for carrying pets; leather, unworked or semi-worked; moleskin, being
                           imitation of leather; fur, semi-worked; artificial fur; synthetic fur; raw skins;
                           leathercloth; leather and imitation leather; bags, namely, leather and imitation leather
                           sport bags and general purpose trolley bags; handbags; evening purses, being handbags;
                           mesh shopping bags; leather shopping bags; wheeled shopping bags; duffle bags; waist
                           bags; Boston bags; shoulder bags; travelling trunks; beach bags; clutch bags; attaché
                           cases; school bags; school satchels; schoolchildren's backpacks; randsels, being
                           Japanese school satchels; bags for sports; garment bags for travel; purses; wallets;
                           pocket wallets; carrying cases for documents; key cases; key bags; key wallets;
                           briefcases; pouches, of leather, for packaging; luggage; pouches for holding make-up,
                           keys and other personal items; shoe bags for travel; all-purpose sports bags; saddle bags;
                           knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks, being
                           luggage; vanity cases, not fitted; hat boxes for travel; hat boxes of leather; handbag
                           frames; key cases of leather; shoulder belts, being straps, of leather; leather straps;
                           pouches of leather; suitcases; suitcases with wheels; travelling luggage sets, being
                           leatherware; travelling bags of leather; all-purpose carrying bags for campers; all-
                           purpose carrying bags for climbers; conference folders being briefcase type leather
                           business folders; briefcase type conference portfolios; motorized suitcases; baggage
                           tags; tote bags; tie cases of leather and imitations of leather; luggage tags; toiletry bags
                           sold empty; cosmetic cases sold empty; sling bags for carrying infants; slings for
                           carrying infants; pouch baby carriers; backpacks for carrying babies; infant carriers
                           worn on the body; umbrellas for children; reins for guiding children; umbrellas;
parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas;
umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
aprons, ski masks, gabardines, being pants; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirt; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
namely, shirts, tops and dresses; outer clothing, namely, coals, gloves, hats and scarves;
masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
namely, pants, shirts, shorts, jackets, shoes, headwear, jackets, belts and dresses;
waterproof clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants;
sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants, shorts, shirts, caps, cleats and shirts; cuffs; dance clothing, namely,
slippers, shoes, costumes and pants; smocks; kimonos; judo uniforms; karate uniforms;
embroidered clothing; clothing containing slimming substances; latex clothing, namely,
bodysuits, dresses; rash guards; clothing incorporating LEDs; bathing suits; bathing
caps; swimming caps; shower caps; beach cover-ups; beach clothes, namely, bathing
suits, shoes and swim shorts; swimming costumes; swimsuits; bathing drawers as
clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children, namely,
pants, shins, shorts and dresses; footwear for children; headgear for children, namely,
caps, hats, toques; footwear for babies and toddlers; headgear for babies and toddlers,
namely, caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth bibs,
sleeved; layettes, being clothing; padded sleepsuits for babies; down padded sleepsuits
for babies; baby bodysuits; costumes for use in children's dress up play; snap crotch
shirts for infants and toddlers; footmuffs, not electrically heated; socks; stockings;
tights; sports socks; panty hose; unitards; garters; sock suspenders; stocking suspenders;
shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering shoes;
running shoes; ski footwear; after ski footwear; footwear for snowboarding; rain
footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip-flops, being
footwear; heels; heelpieces for boots and shoes; inner soles; tips for footwear; soles for
footwear; footwear uppers; boots; halfboots; lace boots; rain boots; ski boots; after ski
boots; snowboard boots; boots for sports; horse-riding boots; clogs; overshoes;
galoshes; gaiters; valenki being felted boots; heel protectors for shoes; scarves; cloaks;
shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing articles, namely,
foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing, namely,
neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens; ski
gloves; snowboard gloves; braces for clothing, being suspenders; suspenders;
waistbands, being pans of clothing; sashes for wear; boas, being necklets; mufflers,
being neck scarves; neckwear; fingerless gloves; underwear; singlets; sport singlets;
slips, being undergarments; panties; underpants; drawers, being clothing; briefs; boxer
briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; adhesive bras; corsets,
being underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep
masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; car muffs, being clothing




       Page: 2 of 4 / RN # 6236024
The mark consists of an imprint depicting the wording MONCLER in fancy characters
above which is placed a stylized letter M overlaid on the figure of a stylized cockerel,
the whole within a figure of a stylized bell.

OWNER OF INTERNATIONAL REGISTRATION 1197643 DATED 09-13-2013,
EXPIRES 09-13-2023

SER. NO. 79-286,989, FILED 04-03-2020




       Page: 3 of 4 / RN # 6236024
Reg. No. 6,247,937         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jan. 19, 2021   I-20144 Milano, ITALY
Int. Cl.: 25               CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
                           wristbands, headbands, veils, tops, aprons, ski masks, gabardines; sleeved or sleeveless
Trademark                  jackets; heavy jackets; bomber jackets; reversible jackets; rain jackets; leather jackets;
Principal Register         padded jackets; wind-resistant jackets; waterproof jackets; down jackets; sleeveless
                           down jackets; sports jackets; ski jackets; snowboard jackets; long jackets; windcheaters;
                           ski windcheaters; snowboard windcheaters; anoraks, being parkas; down anoraks;
                           parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                           overcoats; coats; fur coats; raincoats; cardigans, pullovers; shirts; T-shirts; polo shirts;
                           sport shirts, undershirts; shirts for wear with suits; chemises; camisoles; blouses;
                           blousons; sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski
                           pants; snowboard pants; ski trousers; shorts; bermuda shorts; jeans; skirts; skorts; work
                           overalls; jogging suits; jogging suit trousers; training suits; track suits; ski suits;
                           snowboard suits; suits; dresses for women; evening dresses, gowns; blazers; petticoats;
                           corselets; twin sets; leggings, being trousers; leggings, being leg warmers; leg warmers;
                           dungarees; ponchos; wedding dresses; ready-made clothing, namely, shirts, tops and
                           dresses; outer clothing, namely, coats, gloves, hats, scarves; masquerade costumes;
                           tank-tops; hosiery; clothing of leather or imitations of leather, namely, pants, shirts,
                           shorts and dresses; waterproof clothing, namely, pants, shirts, shorts and dresses; pants;
                           sweat pants; pelerines, pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
                           school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
                           namely, pants and shirts; cuffs; smocks; bathing caps; swimming caps; beach cover-ups;
                           beach clothes, namely, bathing suits and swim shorts; swimsuits; bathing drawers;
                           bathing trunks; bikinis; bath robes; pareus; clothing for children, namely, pants, shirts,
                           shorts and dresses; footwear for children; headgear for children, namely, caps, hats,
                           toques; footwear for babies and toddlers; headgear for babies and toddlers, namely,
                           caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth bibs, sleeved;
                           layettes, being clothing; padded sleepsuits for babies; down padded sleepsuits for
                           babies; baby bodysuits; snap crotch shirts for infants and toddlers; footmuffs, not
                           electrically heated; socks; stockings; tights; sports socks; panty hose; unitards; garters;
                           sock suspenders, stocking suspenders; shoes; leather shoes; sports shoes; gymnastic
                           shoes; beach shoes; mountaineering shoes; running shoes; ski footwear; after ski
                           footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath slippers;
sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear uppers;
boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles;
fur stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards; neckties;
bow-ties; ascots; neckerchiefs; pocket squares; neck warmers; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves; braces for
clothing, being suspenders; suspenders; waistbands, being parts of clothing; sashes for
wear; boas, being necklets; mufflers, being neck scarves; underwear; singlets; sport
singlets; slips, being undergarments; panties; underpants; drawers, being clothing;
briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; corsets,
being underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep
masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets, hoods,
being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
ANY PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 01-23-2018 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1441674 DATED 06-21-2018,
EXPIRES 06-21-2028

The English translation of "GUI" in the mark is "BOOM".

SER. NO. 79-248,473, FILED 06-21-2018




       Page: 2 of 3 / RN # 6247937
Reg. No. 6,258,749         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Feb. 02, 2021   I-20144 Milano
Int. Cl.: 25               ITALY
                           CLASS 25: Clothing, namely, jackets, sleeved or sleeveless jackets, heavy jackets,
Trademark                  lightweight jackets, bomber jackets, stuff jackets, reversible jackets; rain jackets; leather
Principal Register         jackets; padded jackets; wind-resistant jackets; waterproof jackets; down jackets;
                           sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
                           windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
                           anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                           overcoats; coats; fur coats; raincoats; ponchos; outer clothing, namely, coats; waterproof
                           clothing, namely, jackets; clothing for children, namely, shirts, shorts, parkas, sweaters;
                           padded sleepsuits for babies; down padded sleepsuits for babies

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                           ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                           PRIORITY DATE OF 11-28-2019 IS CLAIMED

                           OWNER OF INTERNATIONAL REGISTRATION 1524995 DATED 12-19-2019,
                           EXPIRES 12-19-2029

                           The wording "MONCLER" has no meaning in a foreign language. The English
                           translation of the word "GUI" in the mark is "boom".

                           SER. NO. 79-283,139, FILED 12-19-2019
Reg. No. 6,263,420         MONCLER S.P.A. (ITALY Joint Stock Company )
                           Via Stendhal, 47
Registered Feb. 09, 2021   I-20144 Milano
Int. Cl.: 18, 25           ITALY
                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Trademark                  leather, being saddlery; business card cases, being notecases; credit card cases, being
Principal Register         wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
                           leather; business card cases; document cases; labels of leather; clothing for pets; collars
                           for pets; bags for carrying pets; bags; handbags; evening purses, being handbags; mesh
                           shopping bags; leather shopping bags; wheeled shopping bags; duffle bags; waist bags;
                           Boston bags; shoulder bags; travelling trunks; beach bags; clutch bags; attaché cases;
                           school bags; school satchels; schoolchildren's backpacks; randsels, being Japanese
                           school satchels; bags for sports; garment bags for travel; purses; wallets; pocket wallets;
                           carrying cases for documents; key cases; key bags; key wallets; briefcases; pouches, of
                           leather for packaging; luggage; pouches for holding make-up, keys and other personal
                           items; shoe bags for travel; all-purpose sports bags; saddle bags; knapsacks; backpacks;
                           rucksacks; haversacks; overnight suitcases; trunks, being luggage; vanity cases, not
                           fitted; hat boxes for travel, not of paper or cardboard; hat boxes of leather; handbag
                           frames; key cases of leather; shoulder belts, being straps, of leather; leather straps;
                           pouches of leather; suitcases; suitcases with wheels; travelling luggage sets, being
                           leatherware; travelling bags of leather; all-purpose carrying bags for campers; all-
                           purpose carrying bags for climbers; conference folders, namely, briefcase-type leather
                           business folders; conference brief-case type portfolios; motorized suitcases; baggage
                           tags; tote bags; sling bags for carrying infants; slings for carrying infants; pouch baby
                           carriers; backpacks for carrying babies; infant carriers worn on the body; umbrellas for
                           children; reins for guiding children; umbrellas; parasols; walking sticks; mountaineering
                           sticks; harness fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
                           wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
aprons, ski masks, gabardines, being pants; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves;
masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
namely, pants, shirts, shorts, jackets, shoes, headwear, jackets, belts and dresses;
waterproof clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants;
sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants, shorts, shirts, caps, cleats and shirts; cuffs; dance clothing, namely,
slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps; beach
cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for
children, namely, pants, shirts, shorts and dresses; footwear for children; headwear for
children, namely, caps, hats, toques; footwear for babies and toddlers; headwear for
babies and toddlers, namely, caps, hats, knitted caps; babies' pants, being underwear;
cloth bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies;
down padded sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and
toddlers; footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty
hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes;
sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski
footwear; after ski footwear; footwear for snowboarding; rain footwear; sneakers;
slippers; bath slippers; sandals; bath sandals; flip-flops, being footwear; soles for
footwear; footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski
boots; snowboard boots; boots for sports; horse-riding boots; clogs; overshoes; scarves;
cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing articles,
namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing,
namely, neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts;
mittens; ski gloves; snowboard gloves; braces for clothing, being suspenders;
suspenders; waistbands, being parts of clothing; sashes for wear; boas, being necklets;
mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs;
pyjamas; dressing gowns; nightgowns; vests; brassieres; corsets, being underclothing;
bodices, being lingerie; girdles; teddies, being underclothing; sleep masks; headwear,
namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods, being clothing;
ear muffs, being clothing

The color(s) black and yellow is/are claimed as a feature of the mark.

The mark consists of a sign depicting a vertical yellow rectangular label with black
outline inside which is arranged the wording "MONCLER GENIUS" in fancy black
characters, arranged from the top downward to follow the direction of extension of the
label and repeated three times with each repetition interspersed by a black vertical
rectangular figure, inside which eight yellow quadrilateral figures are arranged, which
are distributed in pairs symmetrically in two columns.

PRIORITY DATE OF 08-21-2019 IS CLAIMED




       Page: 2 of 4 / RN # 6263420
OWNER OF INTERNATIONAL REGISTRATION 1519165 DATED 11-26-2019,
EXPIRES 11-26-2029

SER. NO. 79-280,641, FILED 11-26-2019




      Page: 3 of 4 / RN # 6263420
Reg. No. 6,291,686         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Mar. 16, 2021   I-20144 Milano
Int. Cl.: 18, 25           ITALY
                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Trademark                  leather, being saddlery; business card cases, being notecases; credit card cases, being
Principal Register         wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
                           leather; business card cases; document cases; labels of leather; clothing for pets; collars
                           for pets; bags for carrying pets; bags, namely, carry-on bags; handbags; evening purses,
                           being handbags; mesh shopping bags; leather shopping bags; wheeled shopping bags;
                           duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags;
                           clutch bags; attache cases; school bags; school satchels; schoolchildren's backpacks;
                           randsels, being Japanese school satchels; bags for sports; garment bags for travel;
                           purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
                           wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding
                           make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
                           saddle bags in the nature of saddle accessories; knapsacks; backpacks; rucksacks;
                           haversacks; overnight suitcases; trunks, being luggage; vanity cases, not fitted; hat
                           boxes for travel not of paper or cardboard; hat boxes of leather; handbag frames; key
                           cases of leather; shoulder belts, being straps, of leather; leather straps; pouches of
                           leather; suitcases; suitcases with wheels; luggage for travel made of leather; travelling
                           bags of leather, all-purpose carrying bags for campers; all-purpose carrying bags for
                           climbers; conference folders in the nature of briefcase-type leather business folders;
                           conference portfolios in the nature of briefcase-type portfolios; motorized suitcases;
                           baggage tags; tote bags; sling bags for carrying infants; slings for carrying infants;
                           pouch baby carriers; backpacks for carrying babies; infant carriers worn on the body;
                           umbrellas for children; reins for guiding children; umbrellas; parasols; walking sticks;
                           mountaineering sticks; harness fittings; golf umbrellas; umbrella covers; hiking sticks;
                           trekking sticks
CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
aprons, ski masks, gabardines, being pants; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
footwear, petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves;
masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
namely, pants, shirts, shorts, jackets, shoes, headwear, belts and dresses; waterproof
clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants; sweat pants;
pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics; school
uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves, namely,
pants, shorts, shirts, caps, cleats and shirts; cuffs; dance clothing, namely, slippers,
shoes, costumes and pants; smocks; bathing caps; swimming caps; beach cover-ups;
beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits; bathing drawers
as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children, namely,
pants, shirts, shorts and dresses; footwear for children; headgear for children, namely,
caps, hats, toques; footwear for babies and toddlers; headgear for babies and toddlers,
namely, caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth bibs,
sleeved; layettes, being clothing; padded sleepsuits for babies; down padded sleepsuits
for babies; baby bodysuits; snap crotch shirts for infants and toddlers; footmuffs, not
electrically heated; socks; stockings; tights; sports socks; panty hose; unitards; garters;
sock suspenders; stocking suspenders; shoes; leather shoes; sports shoes; gymnastic
shoes; beach shoes; mountaineering shoes; running shoes; ski footwear; after ski
footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath slippers;
sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear uppers;
boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; overshoes; scarves; sashes for wear; cloaks;
shawls; stoles; fur stoles; bandanas, being neckerchiefs; clothing articles, namely,
foulards; neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing, namely,
neck warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens; ski
gloves; snowboard gloves; braces for clothing, being suspenders; suspenders;
waistbands, being parts of clothing; sashes, being clothing; boas, being necklets;
mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs;
pyjamas; dressing gowns; nightgowns; vests; brassieres; adhesive bras; corsets, being
underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep
masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

The mark consists of a sign depicting a reverse stylized empty bell.

OWNER OF INTERNATIONAL REGISTRATION 1496831 DATED 05-23-2019,
EXPIRES 05-23-2029

SER. NO. 79-292,280, FILED 07-01-2020




       Page: 2 of 3 / RN # 6291686
Reg. No. 6,297,452         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Mar. 23, 2021   I-20144 Milano
Int. Cl.: 25               ITALY
                           CLASS 25: Jackets made in whole or in part from down and/or feathers, either natural,
Trademark                  synthetic, and/or recycled
Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                           ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF INTERNATIONAL REGISTRATION 1470327 DATED 01-11-2019,
                           EXPIRES 01-11-2029

                           The English translation of "MOKA" in the mark is "MOCHA".

                           SER. NO. 79-260,170, FILED 01-11-2019
Reg. No. 6,337,318         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered May 04, 2021    I-20144 Milano
Int. Cl.: 18, 25, 28, 41   ITALY
                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Service Mark               leather, being saddlery; business card cases, being notecases; credit card cases, being
Trademark                  wallets; calling card cases; furniture coverings in the nature of leather furniture
                           trimmings; business card cases; document cases; labels of leather; clothing for pets;
Principal Register         collars for pets; bags for carrying pets; all purpose sport bags; handbags; evening
                           purses, being handbags; mesh shopping bags; leather shopping bags; wheeled shopping
                           bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags;
                           clutch bags; attaché cases; school bags; school satchels; schoolchildren's backpacks;
                           randsels, being Japanese school satchels; bags for sports; garment bags for travel;
                           purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
                           wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding
                           make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
                           saddle horn bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases;
                           trunks, being luggage; vanity cases, not fitted; hat boxes for travel not of paper or
                           cardboard; hat boxes of leather; handbag frames; key cases of leather; shoulder belts,
                           being straps, of leather; leather straps; pouches of leather; suitcases; suitcases with
                           wheels; travelling luggage sets, being leatherware; travelling bags of leather; all-purpose
                           carrying bags for campers; all-purpose carrying bags for climbers; motorized suitcases;
                           briefcase-type leather business conference folders; briefcase-type conference portfolios;
                           baggage tags; tote bags; sling bags for carrying infants; slings for carrying infants;
                           pouch baby carriers; backpacks for carrying babies; infant carriers worn on the body;
                           umbrellas for children; reins for guiding children; umbrellas; parasols; walking sticks;
                           mountaineering sticks; harness fittings; golf umbrellas; umbrella covers; hiking sticks;
                           trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
aprons, ski masks, gabardines, being pants; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves;
masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
namely, pants, shirts, shorts, jackets, shoes, headwear, jackets, belts and dresses;
waterproof clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants;
sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants, shorts, shirts, caps, cleats and shirts; cuffs; dance clothing, namely,
slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps; beach
cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for
children, namely, pants, shirts, shorts and dresses; footwear for children; headwear for
children, namely caps, hats, toques; footwear for babies and toddlers; headwear for
babies and toddlers, namely caps, hats, knitted caps; babies' pants, being underwear;
cloth bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies;
down padded sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and
toddlers; footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty
hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes;
sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski
footwear; after ski footwear; footwear for snowboarding; sneakers; slippers; bath
slippers; sandals; bath sandals; flip-flops, being footwear; soles for footwear; footwear
uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard
boots; boots for sports; horse-riding boots; clogs; overshoes; scarves; cloaks; shawls;
stoles; fur stoles; bandanas, being neckerchiefs; clothing articles, namely, foulards;
neckties; bow-ties; ascots; neckerchiefs; pocket squares; clothing, namely, neck
warmers; clothing, namely, gloves, muffs, belts, collars, money belts; mittens; ski
gloves; snowboard gloves; braces for clothing, being suspenders; suspenders;
waistbands, being parts of clothing; sashes for wear; boas, being necklets; mufflers,
being neck scarves; underwear; singlets; sport singlets; slips, being undergarments;
panties; underpants; drawers, being clothing; briefs; boxer briefs; pyjamas; dressing
gowns; nightgowns; vests; brassieres; corsets, being underclothing; bodices, being
lingerie; girdles; teddies, being underclothing; sleep masks; headwear, namely, caps,
visors; hats; cap peaks; caps with visors; berets; hoods, being clothing; ear muffs, being
clothing

CLASS 28: Apparatus for electronic games other than those adapted for use with an
external display screen or monitor; video game machines; apparatus for games, namely,
bases, bats, and balls for playing baseball-like indoor and outdoor games; hand-held
consoles for playing video games; pocket-sized video game machines; pocket-sized
electronic amusement game machines; portable games with liquid crystal displays;
controllers for game consoles; joysticks for video games; video games consoles; hand-
held consoles for playing video games; balls for games; counters for games in a disc
shape; bladders of balls for games; ring games; conjuring apparatus being magic tricks;
roulette wheels; skittles, being games; shuttlecocks; marionettes; kites; kite reels; quoits;




       Page: 2 of 6 / RN # 6337318
toy vehicles; radio-controlled toy vehicles; remote-controlled toy vehicles; toy cars;
kaleidoscopes; masks, being playthings; theatrical masks; play balloons; toy pistols;
dolls' beds; dolls' feeding bottles; dolls' clothes; dolls' houses; dolls' rooms; teddy bears;
puzzles; jigsaw puzzles; parlor games; toys, namely, spinning tops, mobiles, building
blocks, flying discs, scooters, bubble making wand and solution sets; rocking horses;
dominoes; building games; toy construction sets; playground slides, being playthings;
novelty toys for playing jokes; butterfly nets; scale model vehicles; playing cards; cases
for playing cards; dice; draughts, being checkers games; draughtboards, being
checkerboards for checkers games; backgammon games; checkers, being games; board
games; chess games; chess sets; chess pieces; checkerboards; chessboards; mah-jong;
bingo cards; playing balls; nets for sports; race tracks, being toys; darts; swimming
pools, being play articles; cases for play accessories; snow globes; paper party hats;
scratch cards for playing lottery games; toys for pets; toy imitation cosmetics;
swimming pool air floats; party novelties, namely, hand-held party poppers, streamers
and balloons; toy putty; toy dough; portable games and toys incorporating
telecommunication functions, namely, amusement game machines; trading cards for
games; boomerangs; inflatable games for swimming pools; play tents; puppets; stuffed
puppets; baby rattles, being playthings; rattles for babies; baby rattles incorporating
teething rings; cot musical toys for babies; baby gyms; plush toys with attached comfort
blanket; toys, namely, tricycles for infants and crib mobiles; crib toys; tables for indoor
football; tables for table football; tables for table tennis; golf bags, with or without
wheels; golf gloves; golf clubs; golf irons; divot repair tools, being golf accessories;
billiard cues; pool cue tips; billiard markers; billiard tables; billiard balls; tennis nets;
tennis ball throwing apparatus; tennis rackets; rackets for squash and badminton;
battledore bats; table tennis rackets; strings for rackets; bowling apparatus and
machinery; bags specially designed to hold cricket equipment; hockey sticks; coin-
operated billiard tables; grip tapes for rackets; skis; snow skis; edges of skis; ski brakes;
ski poles; ski sticks; ski bindings; shaped covers for ski bindings; shaped covers for
skis; bags adapted for skis; sole coverings for skis; seal skins, being coverings for skis;
bindings for alpine skis; surf skis; bob-sleighs; discuses for sports; surfboards; sleds,
being sports articles; snow sleds for recreational use; sailboards; snowboards; stationary
exercise bicycles; bar-bells; appliances for gymnastics; fencing weapons; climbers'
harness; mountaineering equipment, namely, ascenders, binding straps being parts of
climbing harnesses; paragliders; hang gliders; skateboards; spring boards, being sports
articles; twirling batons; bags especially designed for surfboards; harness for sailboards;
masts for sailboards; paintball guns, being sports apparatus; surfboard leashes; skipping
ropes; batting gloves, being accessories for games; fencing gauntlets; exercise pulleys;
exercise benches; jumping ropes; punching bags for boxing; roller skates; in-line roller
skates; ice skates; skating boots with skates attached; boxing gloves; baseball gloves;
gloves for lacrosse games; snowshoes; swimming belts; swimming rings; swimming
kickboards; flippers for swimming; water wings; arm floats for swimming; swimming
jackets; inflatable floats for swimming; swim floats for recreational use; floats for
swimming; swimming gloves; flippers for diving; swimming webs; webbed gloves for
swimming; roller skis; ski sticks for roller skis; ski poles for roller skis; yoga swings

CLASS 41: Conducting special events for social entertainment purposes, conducting
community cultural events, conducting live running sports events, conducting events in
the field of fashion for educational purposes; entertainment services in the nature of
fashion shows, fashion events and art exhibitions; organization, production, presentation
and conducting of live music concerts, live music festivals, guided hiking tours, live
musical performances and live cultural show performances; arranging of film events,
live musical events, cultural and sporting running events and live fashion entertainment
events, all for cultural or educational purposes; organization of fashion shows for
entertainment purposes; entertainment in the nature of fashion shows; arranging award
ceremony events and gala evening special events for social entertainment purposes;
party planning for entertainment purposes; organization and presentation of live music
shows, live musical competitions, live fashion games, live music concerts and fashion
show events, all for entertainment purposes; organization of balls; organization of
exhibitions for cultural purposes; organization of exhibitions for cultural or educational




       Page: 3 of 6 / RN # 6337318
purposes; providing recreation facilities; providing entertainment-related information
about education, training, entertainment, sporting and cultural activities; providing
entertainment-related information about entertainment and entertainment events via
online networks and the Internet; production of audio and video recordings and of still
and moving images; organization of sports competitions and community cultural events
for charitable purposes; organization of live cosplay entertainment events; video editing
services for events; electronic desktop publishing services; online digital video, audio
and multimedia publishing services; online publication of electronic books and journals;
digital video, audio and multimedia entertainment publishing services; publication of
fashion magazines for entertainment purposes; news reporting services in the nature of
current event reporting relating to fashion; publication of multimedia material online in
the nature of magazines; electronic desktop publishing; publication of yearbooks;
publication of calendars; publication of brochures; publication of newsletters;
publication of catalogs; publication of books, magazines and other texts, other than
publicity texts; publication of printed matter, also in electronic form, other than for
advertising purposes; publication of texts, other than publicity texts; provision of
information relating to publishing of electronic publications; music publishing services;
providing online electronic publications, not downloadable, namely, newsletters in the
fields of fashion and art; providing non-downloadable digital music from the Internet;
providing on-line non-downloadable videos in the fields of fashion and art; writing of
texts in the nature of articles for professional journals in the fields of fashion and art,
other than for advertising or publicity; layout services, other than for advertising
purposes; arranging of educational symposiums and training workshops in the fields of
fashion and art; arranging and conducting of educational conferences, educational
conventions, educational exhibitions, classes, educational lectures, seminars and
training workshops in the fields of fashion and art; provision of training courses in the
fields of fashion and art; providing of training via a global computer network in the
fields of fashion and art; conducting of instructional, educational and training courses
for young people and adults in the fields of fashion and art; conducting of training
workshops in the fields of fashion and art; conducting of educational courses in the
fields of fashion and art; training services relating to retail management; sales training
services; training services relating to logistics; training services in the field of project
management; coaching in economic and management matters; training services relating
to the use of information technology; educational services, namely, providing training
relating to information technology; training services in the field of computer software
development; training in the field of interior and fashion design; training in fakes
reconnaissance for fighting counterfeiting; conducting of training courses in the field of
technology and innovation; educational training in the field of electronic data
processing; educational training in the field of nature conservation and the environment;
training services in the nature of coaching in the field of fashion and art; business
training; vocational skills training in the fields of fashion and art; vocational guidance,
being education or training advice, in the fields of fashion and art; educational services,
namely, conducting higher education, academic, linguistic and vocational training
classes in the fields of fashion and art; know-how transfer, being training in the field of
art and fashion; photography; photographic reporting; health club services featuring
health and fitness training; night club services featuring entertainment; organization of
sports events and competitions, namely, swim meets, soccer competitions, tennis
tournaments, golf tournaments, football games, baseball games, sports car races, track
and field events; providing golf facilities; providing physical education, sporting game
and sporting facilities; providing sports facilities; games equipment rental; organization
of live educational demonstrations, entertainment exhibitions, cultural and sporting
competitions; arranging of beauty contests; providing recreational areas in the nature of
play areas for children; providing educational entertainment programs in the fields of
fashion and art for children in after-school centers; modelling for artists; ticket
reservation and booking services for entertainment, sporting and cultural events; ticket
agency services for fashion entertainment events and entertainment events

The mark consists of the three-dimensional configuration of a point-of-sale display
being a stylized doll with its mouth open, wearing a down jacket with a hood and having




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a pair of skis on its feet.

PRIORITY DATE OF 10-16-2019 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1528962 DATED 01-21-2020,
EXPIRES 01-21-2030

SER. NO. 79-284,815, FILED 01-21-2020




        Page: 5 of 6 / RN # 6337318
Reg. No. 6,405,958         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jul. 06, 2021   I-20144 Milano
Int. Cl.: 18, 25           ITALY
                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Trademark                  leather, being saddlery; business card cases, being notecases; credit card cases, being
Principal Register         wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
                           leather; business card cases; document cases; labels of leather; clothing for pets; collars
                           for pets; bags for carrying pets; bags, namely, carry-on bags; handbags; evening purses,
                           being handbags; mesh shopping bags; leather shopping bags; wheeled shopping bags;
                           duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags;
                           clutch bags; attaché cases; school bags; school satchels; schoolchildren's backpacks;
                           randsels, being Japanese school satchels; bags for sports; garment bags for travel;
                           purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
                           wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding
                           make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
                           saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks,
                           being luggage; vanity cases, not fitted; hat boxes for travel; hat boxes of leather;
                           handbag frames; key cases of leather; shoulder belts, being straps, of leather; leather
                           straps; pouches of leather; suitcases; suitcases with wheels; travelling luggage sets,
                           being leatherware; travelling bags of leather; all-purpose carrying bags for campers; all-
                           purpose carrying bags for climbers; briefcase-type leather business conference folders;
                           briefcase-type conference portfolios; motorized suitcases; baggage tags; tote bags; sling
                           bags for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for
                           carrying babies; infant carriers worn on the body; umbrellas for children; reins for
                           guiding children; umbrellas; parasols; walking sticks; mountaineering sticks; harness
                           fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
                           wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
aprons, ski masks, gabardines, being pants; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves;
masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
namely, pants, shirts, shorts, jackets, shoes, headwear, jackets, belts and dresses;
waterproof clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants;
sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants, shorts, shirts, caps, cleats and shirts; cuffs, dance clothing, namely,
slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps; beach
cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for
children, namely, pants, shirts, shorts and dresses; footwear for children; headgear for
children, namely, caps, hats, toques; footwear for babies and toddlers; headgear for
babies and toddlers, namely, caps, hats, knitted caps; babies' pants, being underwear;
cloth bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies;
down padded sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and
toddlers; footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty
hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes;
sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski
footwear, after ski footwear; footwear for snowboarding; rain footwear; sneakers;
slippers; bath slippers; sandals; bath sandals; flip-flops, being footwear; soles for
footwear; footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski
boots; snowboard boots; boots for sports; horse-riding boots; clogs; overshoes; scarves;
sashes for wear; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs;
clothing articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket
squares; clothing, namely, neck warmers, clothing, namely, gloves, muffs, belts, collars,
money belts; mittens; ski gloves; snowboard gloves; braces for clothing, being
suspenders; suspenders; waistbands, being parts of clothing; sashes, being clothing;
boas, being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets;
slips, being undergarments; panties; underpants; drawers, being clothing; briefs; boxer
briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; adhesive bras; corsets,
being underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep
masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

The mark consists of a sign depicting an imaginative graphic image made up of two
stylized side-by-side isosceles triangles, with the apex pointing upward, partially
mutually intersecting and with the base and the sides variously interrupted, said
triangles being superimposed on the figure of a stylized cockerel, the whole inside a
figure of a stylized bell.

OWNER OF INTERNATIONAL REGISTRATION 1559271 DATED 07-01-2020,
EXPIRES 07-01-2030

SER. NO. 79-297,537, FILED 07-01-2020




       Page: 2 of 3 / RN # 6405958
Reg. No. 6,414,938         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Jul. 13, 2021   Milano, ITALY 20144
Int. Cl.: 35               CLASS 35: Internet advertising services; advertising services provided over the
                           Internet; providing an on-line directory trade information service on the Internet;
Service Mark               providing an on-line commercial information directory on the Internet; advertising;
Principal Register         advertising of goods and services on the Internet and by means of mobile telephony
                           services and by electronic mail; commercial information and advice for consumers;
                           presentation of goods on communication media for retail purposes; promotion of goods
                           and services by placing advertisements and advertising displays on an on-line electronic
                           site accessible via a global computer network or by means of mobile telephony services;
                           dissemination of advertising matter; organization of fashion shows for promotional
                           purposes; organization of events, exhibitions, trade fairs and fashion shows for
                           commercial, promotional and advertising purposes; organization of trade fairs for
                           commercial or advertising purposes; organization of advertising events; arranging and
                           conducting of promotional and marketing events; event marketing; news clipping
                           services; public relations; online advertising on a computer network; bill-posting; rental
                           of advertising space; publicity material rental; advertising agency services; modelling
                           for advertising or sales promotion; writing of publicity texts; publication of publicity
                           texts; promoting the sale of fashion goods for third parties through promotional articles
                           in magazines; distribution of samples; distribution and dissemination of advertising
                           materials, namely, leaflets, prospectuses, printed material and samples; advertising
                           planning services; promotional services, namely, promoting the sale of fashion goods
                           for others; marketing services, namely, promoting or advertising the goods and services
                           of others; product merchandising for others; search engine optimization for sales
                           promotion; web site traffic optimization; business consultancy regarding advertising
                           communication strategies; business consultancy regarding public relations
                           communication strategies; social media strategy and marketing consultancy; outdoor
                           advertising; media relations services; corporate communications services; commercial
                           lobbying services; layout services for advertising purposes; business management and
                           organization consultancy; business consultancy and advisory services in the field of
                           business strategy; business management consultancy relating to strategy, marketing,
                           production, personnel and retail sale matters; business management assistance;
                           marketing strategy planning; business advice in the field of business management and
                           marketing; business information; marketing research; market research studies; business
                           investigations; public opinion polling; targeted marketing; marketing in the framework
of software publishing; compiling indexes of information for commercial or advertising
purposes; relocation services for businesses; business auditing; business management of
hotels; promotion of goods and services through sponsorship of sports events; market
intelligence services; gift registry services

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
ANY PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF ITALY , REG. NO. 0001539477, DATED 04-18-2013, EXPIRES 04-18-
2023

OWNER OF U.S. REG. NO. 4603820

SER. NO. 90-097,465, FILED 08-06-2020




       Page: 2 of 3 / RN # 6414938
Reg. No. 6,513,524         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Oct. 12, 2021   I-20144 Milano
Int. Cl.: 18, 25           ITALY
                           CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
Trademark                  leather, being saddlery; business card cases, being notecases; credit card cases, being
Principal Register         wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
                           leather; business card cases; document cases; labels of leather; clothing for pets; collars
                           for pets; bags for carrying pets; all-purpose carrying bags; handbags; evening purses,
                           being handbags; mesh shopping bags; leather shopping bags; wheeled shopping bags;
                           duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags;
                           clutch bags; attaché cases; school bags; school satchels; schoolchildren's backpacks;
                           randsels, being Japanese school satchels; bags for sports; garment bags for travel;
                           purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
                           wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding
                           make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
                           saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks,
                           being luggage; vanity cases, not fitted; hat boxes for travel; hat boxes of leather;
                           handbag frames; key cases of leather; shoulder belts, being straps, of leather; leather
                           straps; pouches of leather; suitcases; suitcases with wheels; travelling luggage sets,
                           being leatherware; travelling bags of leather; all-purpose carrying bags for campers; all-
                           purpose carrying bags for climbers; briefcase-type leather business conference folders;
                           briefcase-type conference portfolios; motorized suitcases; baggage tags; tote bags; sling
                           bags for carrying infants; slings for carrying infants; pouch baby carriers; backpacks for
                           carrying babies; infant carriers worn on the body; umbrellas for children; reins for
                           guiding children; umbrellas; parasols; walking sticks; mountaineering sticks; harness
                           fittings; golf umbrellas; umbrella covers; hiking sticks; trekking sticks

                           CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
                           wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
aprons, ski masks, gabardines, being pants; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
dresses, gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves;
masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
namely, pants, shirts, shorts, jackets, shoes, headwear, jackets, belts and dresses;
waterproof clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants;
sweat pants; pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics;
school uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves,
namely, pants, shorts, shirts, caps, cleats and shirts; cuffs; dance clothing, namely,
slippers, shoes, costumes and pants; smocks; bathing caps; swimming caps; beach
cover-ups; beach clothes, namely, bathing suits, shoes and swim shorts, swimsuits;
bathing drawers as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for
children, namely, pants, shirts, shorts and dresses; footwear for children; headgear for
children, namely, caps, hats, toques; footwear for babies and toddlers; headgear for
babies and toddlers, namely, caps, hats, knitted caps; babies' pants, being underwear;
cloth bibs; cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies;
down padded sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and
toddlers; footmuffs, not electrically heated; socks; stockings; tights; sports socks; panty
hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather shoes;
sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski
footwear; after ski footwear; footwear for snowboarding; rain footwear; sneakers;
slippers; bath slippers; sandals; bath sandals; flip-flops, being footwear; soles for
footwear; footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after ski
boots; snowboard boots; boots for sports; horse-riding boots; clogs; overshoes; scarves;
sashes for wear; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs;
clothing articles, namely, foulards; neckties; bow-ties; ascots; neckerchiefs; pocket
squares; clothing, namely, neck warmers; clothing, namely, gloves, muffs, belts, collars,
money belts; mittens; ski gloves; snowboard gloves; braces for clothing, being
suspenders; suspenders; waistbands, being parts of clothing; sashes, being clothing;
boas, being necklets; mufflers, being neck scarves; underwear; singlets; sport singlets;
slips, being undergarments; panties; underpants; drawers, being clothing; briefs; boxer
briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; adhesive bras; corsets,
being underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep
masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

The mark consists of a sign depicting the wording "MONCLER" in fancy characters
above an imaginative graphic image made up of two stylized side-by-side isosceles
triangles, with the apex pointing upward, partially mutually intersecting and with the
base and the sides variously interrupted, said triangles being superimposed on the figure
of a stylized cockerel, the whole inside a figure of a stylized overturned bell.

OWNER OF INTERNATIONAL REGISTRATION 1559297 DATED 07-02-2020,
EXPIRES 07-02-2030

SER. NO. 79-297,550, FILED 07-02-2020




       Page: 2 of 3 / RN # 6513524
Reg. No. 6,549,736                MONCLER S.P.A. (ITALY Joint Stock Company )
                                  VIA STENDHAL, 47
Registered Nov. 09, 2021          I-20144 MILANO
Int. Cl.: 3, 9, 14, 16, 18, 25,   ITALY
28, 35, 41, 42                    CLASS 3: Perfumes; eau de toilette and eau de Cologne; deodorants for human beings
                                  or for animals; incense; joss sticks; air fragrancing preparations; sachets for perfuming
Service Mark                      linen; air fragrance reed diffusers; scented room sprays; extracts of flowers, being
                                  perfumes; potpourri having a fragrance; fragrances comprised of potpourri; essential
Trademark                         oils for personal use; oils for toiletry purposes; henna, being cosmetic dye, used for
                                  cosmetic purposes; make-up; eye shadow; cosmetic pencils; eyeliner; foundation; cream
Principal Register                foundation; make-up powder; pressed face powder; creamy face powder; face powder
                                  for cosmetic use; talcum powder, for toilet use; blusher; lipsticks; lipstick cases; lip
                                  glosses; non-medicated lip balms; cocoa butter for cosmetic purposes; mascara;
                                  sunscreen preparations; cosmetics, namely, sun-tanning preparations and sun protectors
                                  for lips; skin bronzing creams; self-tanning creams; sun-tanning creams and lotions;
                                  after-sun creams and preparations in the nature of lotions, gels, oils, milks; cosmetic
                                  preparations to protect against sunburn; nail polish; nail glitter; beauty masks; cosmetic
                                  facial scrubs; cosmetic preparations, namely, skin exfoliants; face creams for cosmetic
                                  purposes; cosmetic body creams; cosmetic creams; pomades for cosmetic purposes;
                                  cosmetic preparations for slimming purposes; creams for cellulite reduction for
                                  cosmetic use; hair spray; cosmetic hair lotions; hair bleaching preparations; hair dyes;
                                  hair coloring preparations; hair rinses, being shampoo-conditioners; hair lighteners; hair
                                  conditioners; hair moisturizers; preparations for the permanent waving of hair; hair care
                                  and hair styling preparations, namely, gels, sprays, mousses and balms; brilliantine;
                                  depilatory preparations; depilatory creams; hair straightening preparations; tissues
                                  impregnated with make-up removing preparations; phytocosmetic preparations; nail art
                                  stickers; false nails; adhesives for cosmetic purposes; nail care preparations, namely,
                                  nail conditioners; cotton sticks for cosmetic purposes; pre-moistened cosmetic cleansing
                                  tissues, wipes and pads; cleansing pads, tissues and wipes impregnated with a cleaning
                                  preparation, cosmetics, cosmetic lotions; cosmetic patches containing sunscreen and sun
                                  block for use on the skin; facial concealer; under-eye enhancers; non-medicated foot
                                  creams; skin whitening creams; massage gels, other than for medical purposes;
                                  cleansing milk for toilet purposes; hair mascara; gel eye masks; decorative transfers for
                                  cosmetic purposes; cotton wool for cosmetic purposes; cloths impregnated with a
                                  detergent for cleaning spectacles; eye-washes, not for medical purposes; antiperspirants,
                                  being toiletries; make-up removing preparations; nail polish removers; micellar water;
                                  body paint for cosmetic purposes; cotton wool impregnated with make-up removing
                                  preparations; non-medicated hand soap; cosmetic soap; non-medicated facial soaps; skin
                                  cleansing creams; skin cleansing lotions; shower gel; non-medicated bubble bath
                                  preparations for cosmetic use; bath oils, not for medical purposes; bath pearls, not for
                                  medical purposes; bath salts, not for medical purposes; cosmetic creams and lotions for
                                  face and body care; shaving balms; shaving creams; shaving soap; after-shave balms;
                                  after-shave cologne; after-shave lotions; hair shampoos; bath preparations, not for
                                  medical purposes; cleansers for intimate personal hygiene purposes, non medicated;
                                  non-medicated soap; mouthwashes, not for medical purposes; non-medicated
dentifrices; cosmetic preparations for the care of mouth and teeth; breath freshening
preparations for personal hygiene; shoe polish; shoe wax; shoe cream; creams for
leather; toiletries, namely, baby lotions, baby oils and baby powder; shampoos for
babies; hair conditioners for babies; children's play cosmetics being cosmetics;
cosmetics for children; baby wipes impregnated with cleaning preparations; cosmetics
for animals; massage candles for cosmetic purposes

CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming
goggles; eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and
sunglass frames; eyeglass and sunglass chains; eyeglass and sunglass cords; optical
correcting lenses; contact lenses; containers for contact lenses; ski goggles; spectacle
cases; optical lenses; binoculars; binocular cases; monocles; telescopes; optical prisms;
magnifying glasses; magnifying glass cases; smartglasses; 3D spectacles; downloadable
electronic game software for cellular phones; downloadable electronic game software
for hand-held electronic devices; downloadable computer game software; downloadable
computer game programs; computer software, recorded, for gaming; downloadable
computer programs for video and computer games; blank floppy computer disks;
computer software platforms, recorded or downloadable, for application development,
web hosting, database management; downloadable graphics for mobile phones;
computer screen saver software, recorded or downloadable; computer game software,
downloadable; personal computers; cases adapted for personal computers; notebook
computers; hand-held computers; cases adapted for hand-held computers; carrying cases
adapted for computers; tablet computers; protective cases for tablet computers; covers
for tablet computers; laptop computers; protective cases for laptops; bags adapted for
laptops; sleeves for laptops; docking stations for laptops; wrist rests for use with
computers; computer mice; mouse pads; computer keyboards; document and photo
printers for use with computers; computer peripheral devices; monitors, being computer
hardware; carrying cases for radio pagers; carrying cases for radios; radios; mobile
phones; lanyards, being straps, for cellular phones; covers adapted for cellular phones;
cases adapted for cellular phones; antennas for cellular phones; cellular phones;
smartphones; protective covers for smartphones; protective cases for smartphones;
electronic pagers; electronic book readers; protective cases for electronic book readers;
cordless telephones; cordless telephone holders, namely, head-clip cell phone holders,
cell phone stands, smartphone mounts; telephone receivers; telephone apparatus; video
telephones; cell phone straps; batteries for cellular phones; microphones for cellular
phones; loudspeakers for cellular phones; earphones for cellular phones; battery
chargers for cellular phones; cases specially adapted for battery charger for cellular
phones; in-ear headphones; headphones; cases specially adapted for headphone; hands
free kits for telephones; hands free kits for cellular phones; smartwatches; protective
films adapted for smartphones; selfie sticks, being hand-held monopods; personal digital
assistants, being PDAs; devices for the projection of virtual keyboards, namely, lasers,
not for medical purposes; ear pads for headphones; data gloves; trackballs, being
computer peripherals; downloadable emoticons for mobile phones; stands adapted for
laptops; cases adapted for cameras; photographic cameras; digital cameras; camcorders;
cases especially made for photographic apparatus and instruments; lanyards, namely,
camera straps; digital photo frames; cases specifically adapted for holding exposed slide
film; photographic slides; video screens; home theater projectors, namely, video
projectors, movie projectors; protective helmets for sports; gloves for divers; visors for
helmets; headgear being protective helmets; blank audio-video compact discs and
DVDs; holders and cases for compact discs and recordable DVDs; protective carrying
cases for portable digital music players; protective cases for portable digital music and
video disc players, and video cameras; cases specifically adapted for use with video disc
players, and video cameras; digital audio players; loudspeakers; compact disc players;
cases adapted for CD players; DVD recorders; DVD players; cases adapted for DVD
players; portable MP3 players; cases for portable MP3 players; protective covers
specially adapted for portable MP3 players; portable compact disc music players;
prerecorded magnetic computer tapes, machine readable, computer cartridges and hard
discs for computers, the foregoing featuring information, images and video in the fields
of art and fashion; walkie-talkies; antennas; audiovisual teaching aid, namely,




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audiovisual recordings featuring music and animation; films, exposed, namely, slide
films, cinematographic film, camera film, photographic film; transmitters of electronic
signals; television apparatus for projection purposes; television apparatus, namely,
televisions; downloadable electronic publications, namely, books, magazines and
newsletters in the field of fashion and luxury apparel and accessories; blank magnetic
data carriers, sound recording discs, namely, blank record discs, blank discs for
computers, prerecorded audio discs featuring fashion and art; prerecorded DVDs
featuring fashion and art; blank magnetic audio and video tapes and sound recording
carriers in the nature of blank recordable CD-Rs and DV-Rs; video recorders; blank
video cassettes and USB flash drives; electronic key fobs being remote control
apparatus; teaching robots; time clocks, being time recording devices; thread counters;
rulers, being measuring instruments; measuring devices, electric, namely, electric lasers
for measuring; barometers; calculating machines; pocket calculators; chronographs,
being specialized time recording apparatus; scales; pedometers; navigation apparatus for
vehicles, being on-board computers; cases specially fitted for holding credit cards;
magnetically encoded key cards; electronic agendas; cases specifically adapted for use
with electronic agendas; covers specifically adapted for use with electronic agendas;
hologram apparatus; electronic interactive whiteboards; interactive touch screen
terminals; decorative magnets; electronic pens for use with visual display units;
lanyards, being straps, especially adapted for holding cellular phones, MP3 players,
cameras, video cameras, eyeglasses, sunglasses, magnetic encoded cards;
telecommunication apparatus in the nature of wireless receivers in the form of jewelery;
climate control digital thermostats; earpieces for remote communication; baby monitors;
audio baby monitors; video baby monitors; baby scales; protective helmets for children;
downloadable educational software for children

CLASS 14: Precious stones; jade; imitation jewellery; costume jewellery; jewellery and
imitation jewellery, namely, trinkets, charms, threads of precious metal, bracelets,
necklaces, lockets, chains, rings, brooches, medallions, pins, amulets; jewellery,
namely, silver thread, threads of precious metal, gold thread, bracelets made of
embroidered textile, pearls, pendants; cloisonné jewellery; earrings; diadems; medals;
ornamental lapel pins; tie pins; cufflinks; necklaces in the nature of lanyards, being
keycords; key chains, being key chains with trinket or decorative fob; key rings, being
split rings with trinket or decorative fob; charms for key rings; decorative key fobs of
precious metal; key rings of leather; key rings, not of metal; split rings of precious metal
for keys; decorative key fobs of leather; decorative key fobs of imitation leather; charms
for key rings; decorative key fobs of common metal; decorative key fobs, not of metal;
fancy key holders of precious metal in the nature of key chains; key holders of precious
metal in the nature of key chains; key holders of metal in the nature of key chains; key
tags of plastic; badges of precious metal; rosaries; paste jewellery, being costume
jewellery; hat jewellery; shoe jewellery; shoe jewellery in the nature of ornaments of
precious metal; hat jewellery in the nature of hat ornaments of precious metal; jewellery
cases, being caskets, not of precious metal; jewellery cases, being caskets; decorative
boxes of precious metal; trophies of precious metal; statues of precious metal; figurines,
being statuettes, of precious metal; statuettes of precious metal; works of art of precious
metal; crucifixes as jewellery; crucifixes of precious metal, other than jewellery;
jewellery hat pins; retractable key rings; jewellery charms; charms for bracelets; charms
for necklaces; jewellery; clocks; wall clocks; watches; alarm clocks; chronometers;
chronographs, being watches; wristwatches; stopwatches; pocket watches; cases being
parts of clocks and watches; watch bands; watch straps; watch chains; watch bracelets

CLASS 16: Magazines, being periodicals in the field of fashion and luxury apparel and
accessories; printed children's magazines featuring stories, games and learning
activities; newspapers; comic strips, being printed matter; newspaper comic strips, being
printed matter; pamphlets in the field of fashion and luxury apparel and accessories;
pamphlets in the field of entertainment content for children featuring stories, game and
learning activities; booklets in the field of fashion and luxury apparel and accessories;
periodicals in the field of fashion and luxury apparel and accessories; newsletters in the
field of fashion and luxury apparel and accessories; printed publications, namely,




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brochures, booklets and teaching materials in the field of fashion and luxury apparel and
accessories; posters; handbooks, being manuals, in the field of fashion and luxury
apparel and accessories; calendars; catalogues in the field of fashion and luxury apparel
and accessories; brochures in the field of fashion and luxury apparel and accessories;
information flyers in the field of fashion and luxury apparel and accessories; books in
the field of fashion and luxury apparel and accessories; children's activity books
featuring stories, games and learning activities; children's books; children's activity
books; coloring books; school writing books; school yearbooks; manuals, being
handbooks, in the field of fashion and luxury apparel and accessories; address books;
children's storybooks; children's books incorporating an audio component; gift wrapping
paper; banners of paper; bunting of paper; writing paper; handkerchiefs of paper; bibs of
paper; babies' bibs of paper; bibs, sleeved, of paper; towels of paper; table linen of
paper; place mats of paper; table runners of paper; table napkins of paper; boxes of
paper or cardboard; coasters of paper; hat boxes of cardboard; containers made of
cardboard; baggage claim check tags of paper; printed patterns for making clothes;
printed sewing patterns; embroidery designs, being patterns printed on paper; printed
patterns for dressmaking; printed paper knitting patterns; decorative stickers for
helmets; bumper stickers; transfers, being decalcomanias; event albums; sketch books;
scratch pads; sketches; architects' models; blueprints; printed photographs; graphic art
reproductions; printed art reproductions; works of art of paper; figurines of papier
mâché; lithographs; oleographs; occasion cards; cards bearing universal greetings; gift
tags of paper; announcement cards, being stationery; invitation cards; postcards; picture
cards; stamp albums; photograph stands; photograph albums; stickers, being stationery;
sticker albums; photograph mounts of paper or cardboard; bookmarkers; pens, being
office requisites; fountain pens; ball-point pens; roller-tip pens; writing pens; felt-tip
markers; pencils; pastels, being crayons; crayons; chalks; painting sets for children;
drawing brushes; stationery cases; cases of leather specifically adapted for use with
printed agendas and weekly planners; drawing sets comprised of pencils and sketch
pads; pen boxes; pencil boxes; pen toppers, namely, caps specifically adapted for pens
and pen erasers; pencil toppers, namely, erasers; pen cases; pencil cases; penholders;
pencil holders; stands for pens and pencils; modelling clay for children; modelling
materials and compounds for use by children; document covers; document files;
document holders; desk mats; desk top organizers; personal organizers; blank exercise
journal books; note books; cube-shaped notebooks; notepads; diaries; agendas; weekly
planners, being stationery; agenda covers; weekly planner covers; address booklet
covers; photo album covers; book covers; paper creasers, being office requisites,
namely, paper creasing machines for office use; folders, being stationery; printed labels
of paper or cardboard; labels, not of textile, namely, paper labels, printed address labels,
adhesive paper labels; adhesive paper labels, not of textile; paperweights; page holders;
pencil sharpeners, electric or non-electric; drawing pads; papers for painting and
calligraphy; adhesive bands for stationery or household purposes; adhesive tape
dispensers, being office requisites; adhesive tapes for stationery or household purposes;
paper knives, being letter openers; paper cutters, being office requisites; rubber erasers;
ink erasers; writing board erasers; erasing products, namely, chalk erasers, ink erasers,
erasers; correspondence holders; passport holders; holders for checkbooks; stationery-
type portfolios; illustration boards; paper ribbons, other than haberdashery or hair
decorations; inkstands; clipboards; presentation folders; document portfolios, being
stationery; trading cards, other than for games; name badge holders, being office
requisites; clips for name badge holders, being office requisites; paper bows, other than
haberdashery or hair decorations; paper bags; shopping bags of plastic; shopping bags
of paper; bags, being envelopes, pouches, of paper or plastics for merchandise
packaging; placards of paper or cardboard; printed advertising boards of paper or
cardboard; money clips; typewriters, electric or non-electric; name badges, being office
requisites

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; business card cases, being notecases; credit card cases, being
wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
leather; business card cases; document cases; labels of leather; clothing for pets; collars




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for pets; bags for carrying pets; bags, namely, duffle bags, overnight bags; handbags;
evening purses, being handbags; mesh shopping bags; leather shopping bags; wheeled
shopping bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks;
beach bags; clutch bags; attaché cases; school bags; school satchels; schoolchildren's
backpacks; randsels, being Japanese school satchels; bags for sports; garment bags for
travel; purses; wallets; pocket wallets; carrying cases for documents; key cases; key
bags; key wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for
holding make-up, keys and other personal items; shoe bags for travel; all-purpose sports
bags; saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases;
trunks, being luggage; vanity cases, not fitted; hat boxes for travel; hat boxes of leather;
handbag frames; key cases of leather; shoulder belts, being straps, of leather; leather
straps; pouches of leather; suitcases; suitcases with wheels; travelling luggage sets,
being leatherware, comprised of travelling bags; travelling bags of leather; all-purpose
carrying bags for campers; all-purpose carrying bags for climbers; briefcase-type leather
business folders for conferences; briefcase-type portfolios for conferences; motorized
suitcases; baggage tags; tote bags; sling bags for carrying infants; slings for carrying
infants; pouch baby carriers; backpacks for carrying babies; infant carriers worn on the
body; umbrellas for children; reins for guiding children; umbrellas; parasols; walking
sticks; mountaineering sticks; harness fittings; golf umbrellas; umbrella covers; hiking
sticks; trekking sticks; baggage tags of paper

CLASS 25: Clothing, namely, jackets, lightweight jackets, stuff jackets, jerseys,
wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
aprons, ski masks, gabardines, being pants; sleeved or sleeveless jackets; heavy jackets;
bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets; wind-
resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves;
masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
namely, pants, shirts, shorts, jackets, shoes, headwear, jackets, belts and dresses;
waterproof clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants;
sweat pants; pelerines; pinafore dresses; tuxedos; rompers, namely, romper suits;
leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear; golf
clothing, other than gloves, namely, pants, shorts, shirts, caps, cleats and shirts; cuffs;
dance clothing, namely, slippers, shoes, costumes and pants; smocks; bathing caps;
swimming caps; beach cover-ups; beach clothes, namely, bathing suits, shoes and swim
shorts; swimsuits; bathing drawers as clothing; bathing trunks; bikinis; bath robes;
pareus; clothing for children, namely, pants, shirts, shorts and dresses; footwear for
children; headgear for children, namely, hats, toques and headwear in the nature of caps;
footwear for babies and toddlers; headgear for babies and toddlers, namely, hats, knitted
caps and headwear in the nature of caps; babies' pants, being underwear; cloth bibs;
cloth bibs, sleeved; layettes, being clothing; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; snap crotch shirts for infants and toddlers; booties
in the nature of footmuffs, not electrically heated; socks; stockings; tights; sports socks;
panty hose; unitards; garters; sock suspenders; stocking suspenders; shoes; leather
shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering shoes; running
shoes; ski footwear; after ski footwear; footwear for snowboarding; rain footwear;
sneakers; slippers; bath slippers; sandals; bath sandals; flip-flops, being footwear; soles




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for footwear; footwear uppers; boots; half-boots; lace boots; rain boots; ski boots; after
ski boots; snowboard boots; boots for sports; horse-riding boots; clogs; overshoes;
scarves; sashes for wear; cloaks; shawls; stoles; fur stoles; bandanas, being
neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties; ascots;
neckerchiefs; pocket squares; clothing, namely, neck warmers; clothing, namely, gloves,
muffs, belts, collars, money belts; mittens; ski gloves; snowboard gloves; braces for
clothing, being suspenders; suspenders; waistbands, being parts of clothing; sashes,
being clothing; boas, being necklets; mufflers, being neck scarves; underwear; singlets;
sport singlets; slips, being undergarments; panties; underpants; drawers, being clothing;
briefs; boxer briefs; pyjamas; dressing gowns; nightgowns; vests; brassieres; adhesive
bras; corsets, being underclothing; bodices, being lingerie; girdles; teddies, being
underclothing; sleep masks; headwear, namely, caps, visors; hats; cap peaks; caps with
visors; berets; hoods, being clothing; ear muffs, being clothing

CLASS 28: Apparatus for electronic games other than those adapted for use with an
external display screen or monitor; video game machines; game apparatus, namely,
bases, bats, and balls for playing baseball-like indoor and outdoor games; pocket-sized
apparatus for playing video games, namely, hand-held consoles for playing video
games; pocket-sized video game machines; pocket-sized electronic amusement game
machines; portable games with liquid crystal displays; controllers for game consoles;
joysticks for video games; video games consoles; hand-held consoles for playing video
games; balls for games; counters, being discs, for games; bladders of balls for games;
ring games; conjuring apparatus being magic tricks; roulette wheels; skittles, being
games; shuttlecocks; marionettes; kites; kite reels; quoits; toy vehicles; radio-controlled
toy vehicles; remote-controlled toy vehicles; toy cars; kaleidoscopes; face masks, being
playthings; theatrical masks; play balloons; toy pistols; dolls; dolls' beds; dolls' feeding
bottles; dolls' clothes; dolls' houses; dolls' rooms; teddy bears; puzzles; jigsaw puzzles;
parlor games; toys, namely, spinning tops, toy mobiles, mobiles for children, crib
mobiles, toy building blocks, flying discs, toy scooters, soap bubble making wand and
solution sets; rocking horses; dominoes; building games; toy construction kits;
playground slides, being playthings; novelty toys for playing jokes; butterfly nets; scale
model vehicles; playing cards; cases for playing cards; dice; draughts, being checkers
games; draughtboards, being checkerboards for checkers games; backgammon games;
checkers, being games; board games; chess games; chess sets; chess pieces;
checkerboards; chessboards; mah-jong; bingo cards; playing balls; nets for sports; race
tracks, being toys; darts; swimming pools, being play articles; novelties for parties,
dances, being party favors, namely, party favors in the nature of small toys, party favors
in the nature of crackers and noisemakers, party favor hats, paper party favors; cases for
play accessories; snow globes; paper party hats; scratch cards for playing lottery games;
toys for pets; toy imitation cosmetics; swimming pool air floats; party novelties,
namely, hand-held party poppers, streamers and balloons; toy putty; toy dough; portable
games in the nature of electronic games with a liquid crystal display, electronic games
for the teaching of children, electronic interactive board games for use with external
monitors and musical toys incorporating telecommunication functions; trading cards for
games; boomerangs; inflatable toys, namely, inflatable games for swimming pools; play
tents; plush toys, namely, plush stuffed character dolls and animals; rubber character
toys; animated and non-animated toy figures; stuffed toys and unstuffed toys in the form
of plastic character toys; puppets; stuffed puppets; plush toys; stuffed toys; baby and
infant rattles, being playthings; rattles for babies; baby rattles incorporating teething
rings; musical toys for babies for use in their cot, namely, their crib; baby gyms; plush
toys with attached comfort blanket; toys, namely, tricycles for infants and crib mobiles;
crib toys; tables for indoor football; tables for table football; tables for table tennis; golf
bags, with or without wheels; golf gloves; golf clubs; golf irons; divot repair tools,
being golf accessories; billiard cues; pool cue tips; billiard markers; billiard tables;
billiard balls; tennis nets; tennis ball throwing apparatus; tennis rackets; rackets for
squash and badminton; battledore bats; table tennis rackets; strings for rackets; bowling
apparatus and machinery; bags specially designed to hold cricket equipment; hockey
sticks; coin-operated billiard tables; grip tapes for rackets; skis; snow skis; edges of skis;
ski brakes; ski poles; ski sticks; ski bindings; shaped covers for ski bindings; shaped




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covers for skis; bags adapted for skis; sole coverings for skis; seal skins, being
coverings for skis; bindings for alpine skis; surf skis; bob-sleighs; discuses for sports;
surfboards; sleds, being sports articles; snow sleds for recreational use; sailboards;
snowboards; stationary exercise bicycles; bar-bells; appliances for gymnastics; fencing
weapons; climbers' harness; mountaineering equipment, namely, ascenders, binding
straps being parts of harnesses; paragliders; hang gliders; skateboards; spring boards,
being sports articles; twirling batons; bags especially designed for surfboards; harness
for sailboards; masts for sailboards; paintball guns, being sports apparatus; surfboard
leashes; skipping ropes; batting gloves, being accessories for games; fencing gauntlets;
exercise pulleys; exercise benches; jumping ropes; punching bags for boxing; roller
skates; in-line roller skates; ice skates; skating boots with skates attached; boxing
gloves; baseball gloves; gloves for lacrosse games, namely, lacrosse gloves; snowshoes;
swimming belts; swimming rings; swimming kickboards; flippers for swimming; water
wings; arm floats for swimming; swimming jackets; inflatable floats for swimming;
swim floats for recreational use; floats for swimming; swimming gloves; flippers for
diving; swimming webs; webbed gloves for swimming; roller skis; ski sticks for roller
skis; ski poles for roller skis; yoga swings; playhouses for children

CLASS 35: Retail and wholesale store services and online retail and wholesale store
services featuring detergents, soaps, hair lotions, non-medicated cosmetics and toiletry
preparations, non-medicated dentifrices, perfumery, essential oils, cleaning
preparations; retail and wholesale store services and online retail and wholesale store
services featuring candles, eyeglasses, sunglasses, anti-glare glasses, ski goggles,
goggles for use in sport, swimming goggles, eyeglass and sunglass cases, eyeglass and
sunglass lenses, eyeglass and sunglass frames; retail and wholesale store services and
online retail and wholesale store services featuring eyeglass and sunglass chains,
eyeglass and sunglass cords; retail and wholesale store services and online retail and
wholesale store services featuring binocular cases, magnifying glass cases, cases
adapted for personal computers, cases adapted for hand-held computers, carrying cases
adapted for computers, protective cases for tablet computers, cases for laptops, carrying
cases for radio pagers, radio cases, cases adapted for cellular phones, protective cases
for smartphones, protective cases for electronic book readers, battery charger cases for
cellular phones, headphone cases, cases adapted for cameras, cases especially made for
photographic apparatus and instruments, protective carrying cases for portable music
players, music and video player cases, cases adapted for CD players, cases adapted for
DVD players, cases for portable MP3 players, fitted holders in the nature of credit card
cases, cases for electronic agenda, covers for tablet computers, covers adapted for
cellular phones, protective covers for smartphones, covers for portable MP3 players,
covers for electronic agendas, cordless telephone holders, holders and cases for compact
discs and DVDs; retail and wholesale store services and online retail and wholesale
store services featuring optical prisms and lenses and photographic equipment; retail
and wholesale store services and online retail and wholesale store services featuring
apparatus and instruments for recording, transmitting, reproducing or processing sound,
images or data, recorded and downloadable media, computer software, blank digital or
analogue recording and storage media, mechanisms for coin-operated apparatus,
calculating devices, computers and computer peripheral devices, diving suits, divers'
masks, ear plugs for divers, nose clips for divers and swimmers, gloves for divers,
breathing apparatus for underwater swimming; retail and wholesale store services and
online retail and wholesale store services featuring apparatus for lighting, lamps,
precious metals and their alloys, jewellery, precious and semi-precious stones,
horological and chronometric instruments, key rings, key fobs, key cases, key holders,
key bags; retail and wholesale store services and online retail and wholesale store
services featuring paper and cardboard, printed matter, photographs, stationery and
office requisites, adhesives for stationery or household purposes, drawing materials and
material for artists, paintbrushes; retail and wholesale store services and online retail
and wholesale store services featuring bags, cases and holders being leatherware,
leatherware, leather and imitations of leather, animal skins, hides, trunks, travelling
bags, umbrellas and parasols, walking sticks, whips, harness, saddlery, collars, leashes
and clothing for animals; retail and wholesale store services and online retail and




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wholesale store services featuring furniture, mirrors, picture frames, ropes and string,
nets, tents and tarpaulins, awnings of textile or synthetic materials, sails, sacks for the
transport and storage of materials in bulk; retail and wholesale store services and online
retail and wholesale store services featuring textiles and substitutes for textiles,
household linen, curtains of textile or plastic, bed throws, table cover, clothing,
footwear, headwear; retail and wholesale store services and online retail and wholesale
store services featuring lace, braid and embroidery, and haberdashery ribbons and bows,
buttons, hooks and eyes, pins and needles, artificial flowers, hair decorations, false hair,
carpets, rugs, mats and matting; retail and wholesale store services and online retail and
wholesale store services featuring games, toys and playthings, video game apparatus,
gymnastic and sporting articles, decorations for Christmas trees, smokers' articles;
presentation of goods on communication media, for retail purposes, namely, providing
television home shopping services in the field of general consumer merchandise;
commercial information and advice for consumers in the choice of products and
services; sales promotion for others; outsourcing services, namely, business assistance;
procurement services for others, namely, purchasing of fashion and luxury apparel and
accessories for other businesses; demonstration of goods; shop window dressing;
sponsorship search; business inquiries; business information; administrative processing
of purchase orders; business administration services, namely, organization and
management of customer loyalty programs; business administration of consumer loyalty
programs; auctioneering; commercial administration of the licensing of the goods and
services of others; provision of an online marketplace for buyers and sellers of goods
and services; organization of fashion shows for promotional purposes; organization of
events, exhibitions, trade fairs and fashion shows for commercial, promotional and
advertising purposes; organization of trade fairs for commercial or advertising purposes;
organization of events for advertising purposes; arranging and conducting of special
events for promotional and marketing purposes; event marketing; news clipping
services; public relations; online advertising on a computer network; advertising of
goods and services on the Internet and by means of mobile telephony services and by
electronic mail; bill-posting; rental of advertising space; publicity material rental;
dissemination of advertising matter; advertising agency services; modelling for
advertising or sales promotion; writing of publicity texts; publication of publicity texts;
promoting the sale of fashion goods for third parties through promotional articles in
magazines; distribution of samples; distribution and dissemination of advertising
materials, namely, leaflets, prospectuses, printed material and samples; promotional
services, namely, promotional marketing services using audiovisual media;
merchandising services, namely, business merchandising display services; search engine
optimization for sales promotion; web site traffic optimization; outdoor advertising;
commercial lobbying services; layout services for advertising purposes; business
investigations; public opinion polling; targeted marketing; marketing in the framework
of software publishing; providing an on-line commercial information directory on the
Internet; compiling indexes of information for commercial or advertising purposes;
business administrative services for the relocation of employees; business auditing;
business management of hotels; promotion of goods and services through sponsorship
of sports events; market intelligence services; gift registry services

CLASS 41: Conducting social entertainment events, cultural events, live sports
competitions, educational exhibitions, classes and courses in the field of fashion,
cosmetics, perfumes, art and entertainment and cultural activities in the nature of
cultural shows, special events for social entertainment purposes, entertainment
exhibitions in the nature of magic shows and wine festivals; entertainment services in
the nature of fashion shows, fashion events in the nature of seminars and conferences in
the field of fashion and art exhibitions; entertainment services, namely, organization,
production, presentation and conducting of live music concerts, film and music
festivals, live music tours, live musical performances and live cultural performances
featuring dance, food, and music; organizing cultural events; arranging, namely,
organizing, film events for cultural or educational purposes; entertainment services,
namely, arranging live musical concerts; arranging, namely, organizing, cultural events;
arranging, namely, organizing, sporting events, namely, swimming meet and soccer




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competition; arranging live social entertainment events; organization of fashion shows
for entertainment purposes; entertainment in the nature of fashion shows; arranging
social entertainment events in the nature of award ceremonies and gala evenings for
entertainment purposes; party planning for entertainment purposes; organization of live
music concerts, fashion shows and exhibitions for entertainment purposes, presentation
of live show performances, organization and presentation of sports competitions, live
entertainment in the nature of games featuring trivia questions and answers, charades,
live music concerts and social entertainment events; organization of balls; organization
of exhibitions for cultural purposes; organization of exhibitions for cultural or
educational purposes; providing recreation facilities; providing entertainment
information, information in the field of education, including information regarding
educational training, and information in the fields of sporting and cultural activities;
providing entertainment information about entertainment and entertainment events via
online networks and the Internet; production of audio and video recordings, production
of image recordings on sound and image carriers, providing a website featuring non-
downloadable audio recordings featuring music and video recordings featuring
animation as well as non-downloadable images in the nature of photographs in the field
of fashion, cosmetics, perfumes, art; organization of sporting competitions and other
community sporting and cultural events, the proceeds of which are donated to charity;
organization of cosplay entertainment events; video editing services for events;
electronic desktop publishing services; online digital publishing services; publication of
online electronic books and journals; digital video, audio and multimedia entertainment
publishing services; publication of fashion magazines for entertainment purposes; news
reporter services in the field of fashion; digital multimedia publishing services for
publishing material online; electronic desktop publishing; publication of yearbooks;
publication of calendars; publication of brochures; publication of newsletters;
publication of catalogs; publication of books, magazines and other texts, other than
publicity texts; publication of printed matter, also in electronic form, other than for
advertising purposes; publication of texts, other than publicity texts; digital audio, video
and multimedia publishing services, namely, electronic publication of information on a
wide range of topics online; publishing services, namely, music publishing services,
digital video, audio and multimedia publishing services; providing online electronic
publications, not downloadable, namely, newsletters in the fields of fashion and art;
entertainment services, namely, providing non-downloadable pre-recorded digital music
from the Internet; providing online non-downloadable videos in the fields of fashion and
art; writing of texts, namely, writing of articles for journals other than for advertising or
publicity, writing of articles for periodicals other than for advertising or publicity, in the
fields of fashion and art; layout services, other than for advertising purposes; arranging
of symposiums and training workshops in the fields of fashion and art; arranging and
conducting of educational conferences, conventions, educational exhibitions, classes,
lectures, seminars and training workshops in the fields of fashion and art; provision of
training courses in the fields of fashion and art; providing of training via a global
computer network in the fields of fashion and art; conducting of instructional,
educational and training courses for young people and adults in the fields of fashion and
art; conducting of training workshops in the fields of fashion and art; conducting of
educational courses in the fields of fashion and art; training services in the field of retail
management; training services in the field of sales; training services in the field of
logistics; training services in the field of project management; education services,
namely, providing tutoring in the field of management; coaching in economic and
management matters; training services in the field of information technology;
information technology training services; training services in the field of computer
software development; training in the field of interior and fashion design; training in
fakes reconnaissance for fighting counterfeiting; conducting of training courses in the
field of technology and innovation; educational training in the field of electronic data
processing; educational training in the field of nature conservation and the environment;
training services in the nature of coaching in the field of fashion design; business
training; vocational skills training in the fields of fashion and art; vocational guidance,
being education or training advice, in the fields of fashion and art; educational services,
namely, conducting higher education, academic, linguistic and vocational training



       Page: 9 of 12 / RN # 6549736
classes in the fields of fashion and art; training in the field of contracts, namely, know-
how transfer clauses; photography; photographic reporting; health clubs for physical
exercise featuring health and fitness training; night club services featuring
entertainment; organization of sports events and competitions, namely, swim meets,
soccer competitions, tennis tournaments, golf tournaments, football games, baseball
games, sports car races, track and field events; providing golf facilities; providing
physical education, online computer games and sporting facilities; providing sports
facilities; games equipment rental; organization of live educational demonstrations,
exhibitions for entertainment purposes, cultural events and sporting competitions;
arranging of beauty contests; providing recreational areas in the nature of play areas for
children; providing after school educational programs with an entertainment aspect in
the fields of fashion and art, the foregoing for children in after-school centers;
modelling for artists; ticket reservation and booking services for entertainment, sporting
and cultural events; ticket agency services for fashion and entertainment events

CLASS 42: Dress designing; design of fashion accessories, namely, jewelry and
handbags; fashion design, namely, design of clothing; footwear design; clothing design;
design of headwear; jewellery and imitation jewellery design; providing technical
design-related information about fashion design services; styling, being industrial
design; industrial and graphic art design; graphic illustration services; architectural
consultancy; interior decoration consultancy; interior design; design of interior decor;
commercial art design; packaging design; business card design; computer-aided graphic
design; providing temporary use of on-line, nondownloadable software applications and
software tools that enable users to design clothing and accessories in the fields of
fashion and art; providing temporary use of on-line, non-downloadable software
applications accessible via a web site that enable users to design clothing and
accessories in the fields of fashion and art; providing temporary use of on-line, non-
downloadable business software that enable users to design clothing and accessories in
the fields of fashion and art; providing temporary use of on-line non-downloadable
software for importing and managing data; computer system design; design and
development of electronic databases; computer hardware and software design, namely,
design and development of computer systems for data input, output, processing, display
and storage; data encryption and decoding services; design, maintenance, rental and
updating of computer software; design, updating and rental of computer software;
installation, , repair, upgrading and maintenance, including fault diagnosis and
configuration, of computer software; design and development of computer software for
reading, transmitting and organizing data; design, development, maintenance and
updating of computer software for word processing, data processing and industrial
process control; rental of computer software; data security consultancy; Internet security
consultancy; consultancy in the design and development of computer hardware;
outsource service providers in the field of information technology; quality control of
goods and services; quality control of partly manufactured goods; quality control testing
of clothing and accessories; inspection of clothing and accessories for quality control;
quality control of goods and services, namely, conducting of quality control tests;
product quality testing; testing, analysis and evaluation of the clothing and accessories
manufacturing process of others to determine conformity with certification standards;
quality control services of goods and services for certification purposes; testing, analysis
and evaluation services for determining conformity with certifications of quality or
standards; quality control of the goods of others, namely, technical testing in the field of
fashion apparel and accessories and associated quality control services; quality control
of goods, namely, testing in the field of fashion apparel and accessories and consultancy
in the field of the foregoing; quality assurance consultancy in the fields of fashion and
art; quality assurance services, namely, technological process monitoring for quality
assurance in the fields of fashion and art; consumer product safety testing; testing of raw
materials; textile testing; testing the goods of others to determine conformity with
certification standards and quality control of goods and services; technological research
and in the fields of fashion and art; conducting of feasibility studies in the field of new
technologies in the fields of fashion and art; development of new technology, advanced
learning technologies and teaching methods for others, namely, development of




      Page: 10 of 12 / RN # 6549736
measuring and testing methods in the fields of fashion and art; surveying; scientific and
technological services, namely, technological analysis and evaluation of product
development in the field of fashion, art; research services for the development of new
products; development of new technology for others in the fields of fashion and art

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
ANY PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 03-19-2020 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1572871 DATED 09-04-2020,
EXPIRES 09-04-2030

SER. NO. 79-303,150, FILED 09-04-2020




      Page: 11 of 12 / RN # 6549736
Reg. No. 6,726,827        MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                          Via Stendhal, 47
Registered May 24, 2022   I-20144 MILANO
Int. Cl.: 25              ITALY
                          CLASS 25: Down jackets
Trademark
                          THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
Principal Register        ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                          PRIORITY DATE OF 01-27-2021 IS CLAIMED

                          OWNER OF INTERNATIONAL REGISTRATION 1589955 DATED 03-18-2021,
                          EXPIRES 03-18-2031

                          The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a
                          particular living individual.

                          SER. NO. 79-310,307, FILED 03-18-2021
Reg. No. 6,726,830        MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                          Via Stendhal, 47
Registered May 24, 2022   I-20144 MILANO
Int. Cl.: 25              ITALY
                          CLASS 25: Jackets being clothing; sleeved or sleeveless jackets; heavy jackets;
Trademark                 lightweight jackets being clothing; bomber jackets; reversible jackets; rain jackets;
Principal Register        leather jackets; padded jackets; wind-resistant jackets; waterproof jackets; stuff jackets
                          being clothing; down jackets being clothing; sleeveless down jackets; sports jackets; ski
                          jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters; snowboard
                          windcheaters; anoraks being parkas; down anoraks; parkas; down parkas; fur jackets;
                          waistcoats; waistcoats with removable lining; overcoats; coats; fur coats; raincoats;
                          ponchos; outer clothing, namely, outerwear in the nature of coats, hats, gloves, and
                          outer jackets; waterproof clothing, namely, waterproof pants, jackets, and footwear;
                          clothing for children, namely shirts, pants and jackets; articles of clothing, footwear and
                          headwear for babies and toddlers, namely shirts, pants, shoes and hats; padded
                          sleepsuits for babies; down padded sleepsuits for babies

                          THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                          ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                          OWNER OF INTERNATIONAL REGISTRATION 1590265 DATED 03-16-2021,
                          EXPIRES 03-16-2031

                          The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a
                          particular living individual.

                          SER. NO. 79-310,514, FILED 03-16-2021
Reg. No. 7,064,321        MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                          Via Stendhal, 47
Registered May 30, 2023   I-20144 MILANO
Int. Cl.: 25              ITALY
                          CLASS 25: Clothing, namely, jackets, lightweight jackets, stuffed jackets, jerseys,
Trademark                 wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters;
Principal Register        aprons, ski masks, gabardines in the nature of pants; sleeved or sleeveless jackets; heavy
                          jackets; bomber jackets; reversible jackets; rain jackets; leather jackets; padded jackets;
                          wind-resistant jackets; waterproof jackets; down jackets; sleeveless down jackets; sports
                          jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski windcheaters;
                          snowboard windcheaters; anoraks, being parkas; down anoraks; parkas; down parkas;
                          fur jackets; waistcoats; waistcoats with removable lining; overcoats; coats; fur coats;
                          raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts; undershirts;
                          shirts for wear with suits; chemises; camisoles; blouses; blousons; sweatshirts; sweaters;
                          jumpers, being pullovers; sports jerseys; trousers; ski pants; snowboard pants; ski
                          trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work overalls; clothing for
                          gymnastics, namely, shoes, leotards, leggings, tights; jogging suits; jogging trousers;
                          training suits; track suits; ski suits; snowboard suits; suits; dresses for women; evening
                          dresses; gowns; blazers; formal wear, namely, dresses, tuxedos, dinner jackets,
                          footwear; petticoats; corselets; twin sets; leggings, being trousers; leggings, being leg
                          warmers; leg warmers; dungarees; ponchos; wedding dresses; ready-made clothing,
                          namely, shirts, tops and dresses; outer clothing, namely, coats, gloves, hats and scarves;
                          masquerade costumes; tank-tops; hosiery; clothing of leather or imitations of leather,
                          namely, pants, shirts, shorts, jackets, shoes, headwear, belts and dresses; waterproof
                          clothing, namely, pants, shirts, shorts, footwear, jackets and dresses; pants; sweat pants;
                          pelerines; pinafore dresses; tuxedos; romper suits; leotards; slacks; tunics; school
                          uniforms; athletic uniforms; breeches for wear; golf clothing, other than gloves, namely,
                          pants, shorts, shirts, caps, cleats and shirts; cuffs; dance clothing, namely, slippers,
                          shoes, costumes and pants; smocks; bathing caps; swimming caps; beach cover-ups;
                          beach clothes, namely, bathing suits, shoes and swim shorts; swimsuits; bathing drawers
                          as clothing; bathing trunks; bikinis; bath robes; pareus; clothing for children, namely,
                          pants, shirts, shorts and dresses; footwear for children; headwear for children, namely,
                          caps, hats, toques; footwear for babies and toddlers; headwear for babies and toddlers,
                          namely, caps, hats, knitted caps; babies' pants, being underwear; cloth bibs; cloth bibs,
                          sleeved; layettes, being clothing; padded sleepsuits for babies, down padded sleepsuits
                          for babies; baby bodysuits; snap crotch shirts for infants and toddlers; socks; stockings;
                          tights; sports socks; pantyhose; unitards; garters; sock suspenders; stocking suspenders;
                          shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering shoes;
                          running shoes; ski footwear; after ski footwear; footwear for snowboarding; rain
                          footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip flops, being
                          footwear; soles for footwear; footwear uppers; boots; half-boots; lace boots; rain boots;
ski boots; after ski boots; snowboard boots; boots for sports; horse-riding boots; clogs;
overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs;
clothing articles, namely, foulards, gloves, muffs, belts, money belts and collars;
neckties; bow ties; ascots; neckerchiefs; pocket squares; clothing, namely, neck
warmers; mittens; ski gloves; snowboard gloves; braces for clothing, being suspenders;
suspenders; waistbands, being parts of clothing; sashes for wear; boas, being necklets;
mufflers, being neck scarves; underwear; singlets; sport singlets; slips, being
undergarments; panties; underpants; drawers, being clothing; briefs; boxer briefs;
pyjamas; dressing gowns; nightgowns; vests; brassieres; adhesive bras; corsets, being
underclothing; bodices, being lingerie; girdles; teddies, being underclothing; sleep
masks; headwear, namely, caps, visors; hats; cap peaks; caps with visors; berets; hoods,
being clothing; ear muffs, being clothing

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
ANY PARTICULAR FONT STYLE, SIZE OR COLOR

PRIORITY DATE OF 04-20-2021 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1632239 DATED 09-27-2021,
EXPIRES 09-27-2031

SER. NO. 79-328,094, FILED 09-27-2021




       Page: 2 of 3 / RN # 7064321
Reg. No. 7,233,824         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Dec. 05, 2023   MILANO, ITALY 20144
Int. Cl.: 18, 24, 25       CLASS 18: Card cases, being notecases; credit card cases, being wallets; calling card
                           cases; business card cases; document cases; leather address hang-tags; clothing for pets;
Trademark                  collars for pets; bags for carrying pets; handbags; evening handbags; mesh shopping
Principal Register         bags, reusable shopping bags, wheeled shopping bags, textile shopping bags; leather
                           shopping bags; duffel bags; waist bags; Boston bags; shoulder bags; travelling bags;
                           travelling trunks; beach bags; clutch bags; attaché cases; school bags; school satchels;
                           bags for sports; garment bags for travel; purses; wallets; pocket wallets; carrying cases
                           for documents; keycases; key bags; key wallets; backpacks; briefcases; luggage;
                           pouches for holding make-up, keys and other personal items; shoe bags for travel; all
                           purpose sports bags; tote bags; knapsacks; rucksacks; haversacks; suitcases; trunks,
                           being luggage; vanity cases, not fitted; hat boxes for travel, not of paper or cardboard;
                           hat boxes of leather; leather key cases; leather shoulder belts; leather pouches; travelling
                           sets, namely, bags being leatherware; travelling bags of leather; sling bags for carrying
                           infants; pouch baby carriers; umbrellas

                           CLASS 24: Baby sleeping bags in the form of a sack without individual legs

                           CLASS 25: Jackets, being clothing; sleeved or sleeveless jackets; heavy jackets; light
                           jackets, being clothing; bomber jackets; reversible jackets; rain jackets; leather jackets;
                           padded jackets; windresistant jackets; waterproof jackets; stuff jackets, being clothing;
                           down jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets;
                           long jackets; windcheaters; ski windcheaters; snowboard windcheaters; anoraks; down
                           anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                           overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts;
                           sport shirts; undershirts; shirts for wear with suits; chemises; camisoles; blouses;
                           blousons; sweatshirts; sweaters; jumpers, being pullovers; jerseys, being clothing; sports
                           jerseys; trousers; ski trousers; snowboard pants; ski pants; shorts; Bermuda shorts;
jeans; skirts; overalls; track suits; ski suits; snowboard suits; suits; dresses; leggings,
being leg warmers; readymade clothing, namely, shirts, tops and dresses; knitwear,
being clothing, namely, tops, scarves and hats; hosiery; clothing of leather or imitations
of leather, namely, pants, shirts, shorts and dresses; furs, being clothing; waterproof
clothing, namely, pants, shirts, shorts and dresses; pants; pelerines; rompers; leotards;
slacks; athletic uniforms; breeches for wear; golf clothing, other than gloves, namely,
pants and shirts; cuffs; ski masks, being clothing; swimsuits; children's clothing,
namely, pants, shirts, shorts and dresses; children's footwear; socks; stockings; tights;
shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes; mountaineering shoes;
running shoes; ski footwear; after ski footwear; footwear for snowboarding; rain
footwear; sneakers; slippers; bath slippers; sandals; bath sandals; flip flops, being
footwear; boots; half-boots; lace boots; rain boots; ski boots; after ski boots; snowboard
boots; boots for sports; scarves; cloaks; shawls; stoles; fur stoles; foulards, being
clothing articles; neckwear; pocket squares; clothing, namely, gloves, muffs, mittens;
ski gloves and snowboard gloves; clothing, namely, belts and money belts; braces for
clothing, being suspenders; suspenders; waistbands, being parts of clothing; sashes for
wear; collars, being clothing; underwear; underpants; pyjamas; dressing gowns;
nightgowns; headwear; children's headwear; infants' headwear; headbands, being
clothing; ear muffs, being clothing

OWNER OF ITALY , REG. NO. 0001656470, DATED 11-23-2015, EXPIRES 01-20-
2025

OWNER OF ITALY , REG. NO. 0001656470, DATED 11-23-2015, EXPIRES 01-20-
2025

OWNER OF ITALY , REG. NO. 0001656470, DATED 11-23-2015, EXPIRES 01-20-
2025

The mark consists of a sign depicting a fancy graphic image constituted by two stylized
isosceles triangles side-by-side, with the vertex pointing upwards, intersecting partially
with each other, the base and the sides variously interrupted.

SER. NO. 97-550,289, FILED 08-16-2022




       Page: 2 of 3 / RN # 7233824
Reg. No. 7,516,207         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           Via Stendhal, 47
Registered Sep. 24, 2024   Milano, ITALY 20144
Int. Cl.: 14, 18, 25       CLASS 14: (Based on Use in Commerce) Fancy keyrings of precious metals; precious
                           metal key chains; precious metal key holders being key chains; precious metal key
Trademark                  rings, comprised of split rings with decorative trinkets or fobs; watches; chronographs
Principal Register         as watches; wristwatches; (Based on 44(e)) imitation jewelry; costume jewelry; jewelry
                           and imitation jewelry, namely, trinkets being bracelet charms, charms, threads of
                           precious metal, bracelets, necklaces, lockets, chains, rings, brooches, medallions,
                           medals, pins, amulets; earrings; diadems of precious metal; ornamental pins of precious
                           metal, namely, ornamental lapel pins; tie pins of precious metal; pendants; cuff links of
                           precious metal; badges of precious metal; jewelry cases, being caskets of precious
                           metal; shoe ornaments in the nature of jewelry, of precious metal; hat ornaments in the
                           nature of jewelry, of precious metal; decorative boxes made of precious metal; trophies
                           of precious metal; statues of precious metal; figurines, being statuettes, of precious
                           metal; statuettes of precious metal; works of art of precious metal; children jewellery,
                           namely, trinkets being bracelet charms, charms, bracelets, necklaces, lockets, chains,
                           rings, brooches, medallions, medals, amulets, earrings; clocks; wall clocks; alarm
                           clocks; chronometers; stopwatches; pocket watches; cases being parts of clocks and
                           watches; jewelry cases, being caskets of precious metal; watch bands; watch straps;
                           watch chains; watch bracelets

                           FIRST USE 11-14-2023; IN COMMERCE 11-14-2023

                           CLASS 18: (Based on Use in Commerce) Credit card cases, being wallets; calling card
                           cases; business card cases; handbags; evening handbags; shopping bags, namely, canvas
                           shopping bags, textile shopping bags; duffel bags; waist bags; shoulder bags; clutch
                           bags; purses; wallets; pocket wallets; backpacks; luggage; tote bags; knapsacks;
                           rucksacks; suitcases; traveling bags; all-purpose carrying bags; clothing for pets; collars
                           for pets; bags for carrying animals; (Based on 44(e)) boxes of leather or leatherboard;
                           cases, of leather or leatherboard; leather straps; card cases, being notecases, namely,
                           calling card cases of leather or imitation leather; leather for furniture; document cases of
                           leather or imitation leather; leather address hang-tags, namely, luggage tags; leather,
                           unworked or semi-worked; moleskin, being imitation of leather in the nature of
                           imitation leather sold in bulk; fur-skins, namely, fur pelts; raw animal skins; fur pelts;
                           animal skins; animal hides; leather shopping bags, reusable leather or imitation leather
shopping bags, shopping bags made of leather skin; leather shopping bags, leather or
imitation leather barrel bags; leather or imitation leather Boston bags; traveling trunks;
leather or imitation leather beach bags; leather or imitation leather attaché cases; leather
or imitation leather school bags; leather or imitation leather school satchels; leather or
imitation leather schoolchildren's backpacks; leather or imitation leather bags for sports;
garment bags for travel; leather or imitation leather coin purses; leather or imitation
leather carrying cases for documents; leather or imitation leather keycases; leather or
imitation leather key bags; leather or imitation leather key wallets; leather or imitation
leather briefcases; leather or imitation leather pouches for holding make-up, keys and
other personal items; leather or imitation leather shoe bags for travel; leather or
imitation leather all purpose sports bags; leather or imitation leather haversacks; trunks,
being luggage; leather or imitation leather vanity cases, not fitted; leather or imitation
leather hat boxes for travel not of paper or cardboard; hat boxes of leather; leather key
cases; leather shoulder belts; leather pouches; leatherware, namely, traveling sets
consisting of suitcase, briefcases, empty toiletry cases; traveling bags of leather; leather
or imitation leather sling bags for carrying infants; leather or imitation leather pouch
baby carriers; leather or imitation leather backpacks for carrying babies; leather or
imitation leather tie cases; leather or imitation leather luggage tags; leather or imitation
leather toiletry bags sold empty; leather or imitation leather carrying cases; traveling
cases of leather or imitation leather; leather or imitation leather cosmetic cases sold
empty; umbrellas; parasols; walking sticks; whips; mountaineering sticks for walking;
canes; harness fittings of leather or imitation leather; harness; saddlery

FIRST USE 10-14-2011; IN COMMERCE 10-14-2011

CLASS 25: (Based on Use in Commerce) Jackets, being clothing; sleeved or sleeveless
jackets; heavy jackets; lightweight jackets, being clothing; bomber jackets; reversible
jackets; rain jackets; leather jackets; padded jackets; waterproof jackets; stuff jackets,
being clothing; down jackets; sleeveless down jackets; sports jackets; ski jackets; long
jackets; anoraks; down anoraks; parkas; down parkas; coats; cardigans; pullovers; shirts;
T-shirts; polo shirts; sweatshirts; sweaters; jumpers, being pullovers; trousers; ski
trousers; ski pants; shorts; Bermuda shorts; jeans; skirts; ski suits; dresses; ready-made
clothing, namely, shirts, tops and dresses; tops, being clothing; knitwear, being clothing,
namely, tops, scarves and hats; pants; ski masks, being clothing; baby tops; baby
bottoms; socks; shoes; after ski footwear; sneakers; sandals; boots; after ski boots;
scarves; clothing, namely, gloves, mittens; vests; headwear; headbands, being clothing;
leggings, being trousers; leggings, being leg warmers; beach clothes, namely, swim
shorts; bathing trunks; children's clothing, namely, pants, shirts, shorts and dresses;
children's footwear; children's headwear, namely, hats, caps; articles of clothing,
footwear and headwear for babies and toddlers, namely, hats, shoes, sweaters, pants,
shirts, and dresses; bibs, not of paper; sleepsuits in the nature of infant sleepers without
individual legs; baby body suits; foulards, being clothing articles; neckwear; (Based on
44(e)) wind-resistant jackets; snowboard jackets; windcheaters; ski windcheaters;
snowboard windcheaters; fur jackets; waistcoats; waistcoats with removable lining;
overcoats; fur coats; raincoats; sport shirts; undershirts; shirts for wear with suits;
chemises; camisoles; blouses; blousons; jerseys, being clothing; sports jerseys;
snowboard pants; overalls; track suits; snowboard suits; suits; gowns; blazers; twinsets;
dungarees; tank-tops; hosiery; clothing of leather or imitations of leather, namely, pants,
shirts, shorts and dresses; furs, being clothing, namely, fur coats and jackets; waterproof
clothing, namely, pants, shirts, shorts and dresses; pelerines; rompers; leotards; slacks;
athletic uniforms; breeches for wear; golf clothing, other than gloves, namely, pants and
shirts; cuffs; eyeshades, being clothing in the nature of headwear; bathing caps;
swimming caps; bathing suits and swimming costumes; swimsuits; bathing drawers;
bikinis; bath robes; pareus; bathing costumes; shorts babies' pants, being clothing;
layettes, being clothing; stockings; tights; pantyhose; leather shoes; sports shoes;
gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear;
footwear for snowboarding; rain footwear; slippers; bath slippers; bath sandals; flip
flops, being footwear; half-boots; lace boots; rain boots; ski boots; snowboard boots;
boots for sports; horse-riding boots; clogs; dance shoes; golf shoes; climbing boots;




       Page: 2 of 4 / RN # 7516207
cloaks; shawls; stoles; fur stoles; pocket squares; muffs, ski gloves; snowboard gloves;
clothing, namely, belts and money belts; braces for clothing, being suspenders;
suspenders; waistbands, being parts of clothing; sashes for wear; underwear,
underpants; pajamas; dressing gowns; nightgowns; lingerie; ear muffs, being clothing

FIRST USE 10-14-2011; IN COMMERCE 10-14-2011

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
ANY PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF ITALY , REG. NO. 0001053205, DATED 06-24-2007, EXPIRES 04-11-
2027

SER. NO. 98-335,383, FILED 12-29-2023




       Page: 3 of 4 / RN # 7516207
Reg. No. 5,706,359       SPORTSWEAR COMPANY - S.P.A. (IN SIGLA SPW S.P.A.) (ITALY JOINT STOCK
                         COMPANY)
Registered Mar. 26, 2019 Galleria Cavour, 4
                         I-40124 Bologna, ITALY
Int. Cl.: 25                  CLASS 25: Jackets, being clothing; sleeved or sleeveless jackets; heavy jackets; lightweight
                              jackets, being clothing; bomber jackets; reversible jackets; rain jackets; leather jackets;
Trademark                     padded jackets; wind-resistant jackets; waterproof jackets; stuff jackets, being clothing; down
                              jackets; sleeveless down jackets; sports jackets; ski jackets; snowboard jackets; long jackets;
Principal Register            windcheaters; ski windcheaters; snowboard windcheaters; anoraks, being parkas; down
                              anoraks; parkas; down parkas; fur jackets; waistcoats; waistcoats with removable lining;
                              overcoats; coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport
                              shirts; undershirts; shirts for wear with suits; blousons; sweatshirts; sweaters; ski sweaters;
                              jumpers, being pullovers; jerseys, being clothing; sports jerseys; trousers; woolen trousers;
                              tricot trousers; padded trousers; ski pants; snowboard pants; ski trousers; shorts; Bermuda
                              shorts; jeans; working overalls; clothing for gymnastics, namely, track suits; jogging suits;
                              jogging suit trousers; training suits; track suits; ski suits; snowboard suits; suits; knitted
                              dresses; tricot dresses; evening dresses; gowns; blazers; formal wear, namely, dresses, gowns,
                              tuxedos, dinner jackets, trousers and footwear; wristbands, being clothing; headbands, being
                              clothing; twin sets; leggings, being trousers; leggings, being leg warmers; leg warmers;
                              dungarees; ponchos; wedding dresses; ready-made clothing, namely, suits, blazers; outer
                              clothing, namely, jackets, overcoats, pants; tops, being clothing; tank-tops; knitwear, being
                              clothing, namely, sweaters; hosiery; clothing of leather or imitations of leather, namely,
                              jackets, overcoats; furs, being clothing; waterproof clothing, namely, jackets; pants; sweat
                              pants; pelerines; pinafore dresses; tuxedos; romper suits; gabardines, being clothing; slacks;
                              tunics; school uniforms; athletic uniforms; golf clothing, other than gloves, namely, hats, polo
                              shirts, socks, pants, windbreakers; cuffs; aprons, being clothing; smocks; bathing suits; beach
                              cover-ups; beach clothes, namely, shorts, swim trunks; swimming costumes; swimsuits;
                              bathing drawers as clothing; bathing trunks; bath robes; pareus; sarongs; babies' pants, being
                              clothing; baby sleepwear; socks; stockings; tights; sports socks; shoes; leather shoes; sports
                              shoes; gymnastic shoes; beach shoes; mountaineering shoes; running shoes; ski footwear;
                              after ski footwear; footwear for snowboarding; rain footwear; sneakers; slippers; bath
                              slippers; sandals; bath sandals; flip-flops, being footwear; boots; half-boots; lace boots; rain
                              boots; ski boots; after ski boots; snowboard boots; boots for sports; clogs; galoshes; gaiters;
                              scarves; cloaks; shawls; stoles; fur stoles; bandanas, being neckerchiefs; foulards, being
                              clothing articles; neckties; bow-ties; ascots; neckerchiefs; neck warmers being clothing;
                              gloves, being clothing; muffs, being clothing; mittens; ski gloves; snowboard gloves; belts,
                              being clothing; waistbands, being parts of clothing; money belts, being clothing; sashes for
                              wear; boas, being necklets; collars, being clothing; mufflers, being neck scarves; underwear;
                              singlets; sport singlets; slips, being undergarments; panties; underpants; drawers, being
                              clothing; briefs; boxer briefs; vests; caps, being headwear; hats; cap peaks; caps with visors;
                              berets; hoods, being clothing; ear muffs, being clothing; visors, being headwear

                              The mark consists of a rectangular horizontal figure with a dashed-line perimeter, containing
                              two identical concentric circular designs positioned respectively at the left and right end of
                              the aforementioned figure and side by side. Each circular design has the wording "STONE
                              ISLAND" in stylized characters in a circular direction and with each word located
respectively in the upper and lower part of the circle. In each circle, in between the "STONE"
at the top and "ISLAND" at the bottom are two four pointed stars in each circle. The
innermost circle has a stylized cross design at the center.

OWNER OF INTERNATIONAL REGISTRATION 1421513 DATED 01-24-2018,
EXPIRES 01-24-2028

SER. NO. 79-240,180, FILED 01-24-2018




          Page: 2 of 3 / RN # 5706359
Reg. No. 5,958,392         SPORTSWEAR COMPANY - S.P.A. (IN SIGLA SPW S.P.A.) (ITALY JOINT STOCK
                           COMPANY)
Registered Jan. 14, 2020   Galleria Cavour, 4
                           I-40124 Bologna
                           ITALY
Int. Cl.: 18, 25
                           CLASS 18: Luggage; shoulder bags; beach bags; all purpose sports bags; attaché cases;
Trademark                  school bags; tote bags; traveling bags; cases of leather or imitation leather; credit card cases
                           of leather or imitation leather; document briefcases of leather or imitation leather; key cases;
Principal Register         knapsacks; rucksacks; briefcases; wallets; suitcases

                           CLASS 25: Beachwear; jeans; pullovers; cardigans, jerseys; sweaters; jackets, being clothing;
                           shirts; waistcoats; jumpers; track suits; blousons; pants; T-shirts; sweat shirts; overcoats;
                           coats; anoraks; raincoats; trousers; sweat pants; shorts, loungewear; vests; belts being
                           clothing; knickers; neckwear; socks; blouses; gym suits; suits and dresses; underwear;
                           footwear; headwear

                           The mark consists of a sign constituted by a substantially rectangular figure extended
                           horizontally, containing two identical circular crowns positioned respectively in the left and
                           right ends of the aforementioned figure and flanking each other, each crown having impressed
                           on it the wording "STONE ISLAND" in fancy characters with a generally circular
                           progression and with each word located respectively in the upper and lower portion of each
                           crown, between said verbal expressions there being interposed, to the left and right of the
                           internal space of the crown, two small highly stylized compass rose figures, the innermost
                           circle of each crown having a cruciform figure inserted at the center, the aforementioned
                           crowns partially overlapping on two small rectangular figures extended horizontally with the
                           respective ends protruding from each crown at right and left so as to evoke a buttonhole with
                           button.

                           PRIORITY DATE OF 01-16-2019 IS CLAIMED

                           OWNER OF INTERNATIONAL REGISTRATION 1478344 DATED 04-05-2019,
                           EXPIRES 04-05-2029

                           SER. NO. 79-263,541, FILED 04-05-2019
Reg. No. 7,282,623         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           VIA STENDHAL, 47
Registered Jan. 23, 2024   I-20144 MILANO
Int. Cl.: 9, 18, 25, 35    ITALY
                           CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming
Service Mark               goggles; eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and
Trademark                  sunglass frames; eyeglass and sunglass chains; eyeglass and sunglass cords; optical
                           correcting lenses; contact lenses; containers for contact lenses; ski goggles; spectacle
Principal Register         cases; optical lenses; binoculars; binocular cases; monocles; telescopes; optical prisms
                           for optics purposes; magnifying glasses; magnifying glass cases; smartglasses; 3D
                           spectacles; downloadable electronic game software for cellular phones; downloadable
                           electronic game software for hand held electronic devices; computer game software,
                           recorded; downloadable computer game programs; computer software, recorded, for
                           playing video games; computer programs, downloadable, for playing video and
                           computer games; blank floppy computer disks; computer software platforms, recorded
                           and downloadable, for playing video games; downloadable graphics for mobile phones;
                           computer screen saver software, recorded and downloadable; computer game software,
                           downloadable; headsets for playing video games; head-mounted video displays;
                           personal computers; cases adapted for personal computers; notebook computers; hand-
                           held computers; cases adapted for hand-held computers; carrying cases adapted for
                           computers; tablet computers; protective cases for tablet computers; covers for tablet
                           computers; laptop computers; protective cases for laptops; bags adapted for laptops;
                           sleeves for laptops; docking stations for laptops; wrist rests for use with computers;
                           computer mice; mouse pads; computer keyboards; document printers for use with
                           computers; computer peripheral devices; monitors, being computer hardware; carrying
                           cases for radio pagers; protective cases adapted for radios; radios; mobile phones;
                           lanyards, being straps, for cellular phones; covers adapted for cellular phones; cases
                           adapted for cellular phones; antennas for cellular phones; cellular phones; smartphones;
                           protective covers for smartphones; protective cases for smartphones; electronic pagers;
                           electronic book readers; protective cases for electronic book readers; cordless
                           telephones; holders specially adapted for cordless telephones; telephone receivers;
                           telephone apparatus; video telephones; cell phone straps; batteries for cellular phones;
                           microphones for cellular phones; loudspeakers for cellular phones; earphones for
                           cellular phones; battery for cellular phones; cases specially adapted for battery charger
for cellular phones; in-ear headphones; headphones; cases specially adapted for
headphone; hands free kits for telephones; hands free kits for cellular phones;
smartwatches; protective films adapted for smartphones; selfie sticks, being hand-held
monopods; personal digital assistants, being PDAs; ear pads for headphones;
downloadable emoticons for mobile phones; stands adapted for laptops; wearable
computers; foldable smartphones; wireless speaker microphones; smart audio speakers;
wearable audio speakers; selfie ring lights for smartphones; mobile phone screen
protectors; mobile phone ring holders; mobile phone ring stands; headsets; portable
power chargers; holders adapted for mobile telephones and smartphones; in-car
telephone handset cradles; portable audio speakers; cooling pads for laptop computers;
dashboard mats specially adapted for holding mobile telephones and smartphones; cases
adapted for cameras; photographic cameras; digital cameras; television cameras;
camcorders; cases especially made for photographic apparatus and instruments;
lanyards, namely, camera straps; digital photo frames; cases adapted for exposed slide
films; photographic slides; video screens; home theater multimedia projectors;
protective helmets for sports; riding helmets; gloves for divers; visors for helmets;
headgear being protective helmets; protective industrial face masks, not for medical
purposes; blank audio-video recordable compact discs and DVDs; holders and cases
specially adapted for compact discs and DVDs; protective carrying cases for portable
digital music players; protective cases adapted for portable music and video players;
digital audio players; loudspeakers; compact disc players; cases adapted for CD players;
DVD recorders; DVD players; cases adapted for DVD players; portable MP3 players;
cases for portable MP3 players; protective covers specially adapted for portable MP3
players; portable compact disc music players; prerecorded magnetic tapes, cartridges
and disks featuring fashion and art; walkie-talkies; antennas; audiovisual teaching
apparatus, namely, audiovisual recordings featuring music and animation; x-ray films,
exposed; transmitters of electronic signals; television apparatus for projection purposes;
downloadable electronic publications, namely, books, magazines and newsletters in the
field of fashion, luxury apparel and fashion accessories; blank magnetic data carriers
and recording discs; prerecorded audio discs featuring fashion and art; prerecorded
DVDs featuring fashion and art; blank magnetic audio and video tapes and blank sound
recording carriers in the nature of CDs; video recorders; blank video cassettes and USB
flash drives; electronic key fobs being remote control apparatus; teaching robots; USB
web keys for automatically launching pre-programmed website URLs; USB dongles
being wireless network adapters; blank credit card-style USB flash drives; time clocks,
being time recording devices; thread counters; rulers, being measuring instruments;
electric measuring devices, namely, electric lasers for measuring; barometers;
calculating machines; pocket calculators; chronographs for use as specialized time
recording apparatus; scales; pedometers; navigation apparatus for vehicles, being on-
board computers; magnetically encoded key cards; electronic agendas; cases adapted for
electronic agenda; covers adapted for electronic agendas; hologram apparatus;
electronic interactive whiteboards; interactive touch screen terminals; decorative
magnets; electronic pens, being visual display units; lanyards, being straps especially
adapted for holding cellular phones, MP3 players, cameras, video cameras, eyeglasses,
sunglasses, magnetic encoded identity cards; telecommunication apparatus in the nature
of wireless receivers in the form of jewellery; climate control digital thermostats;
padlocks, electronic; weight belts for divers; earpieces for remote communication;
parking sensors for vehicles; ticket printers; video projectors; downloadable electronic
wallet software for sending and receiving money and payments; credit card terminals;
biometric passports; electronic biometric passports; biometric identity cards; baby
monitors; audio baby monitors; video baby monitors; baby scales; protective helmets for
children; downloadable educational software for children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; business card cases, being notecases; credit card cases, being
wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
leather; business card cases; document cases; labels of leather; clothing for pets; collars
for pets; bags for carrying animals; bags, namely, handbags; handbags; evening purses,
being handbags; reusable shopping bags; leather shopping bags; wheeled shopping




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bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags;
clutch bags; attaché cases; school bags; school satchels; schoolchildren's backpacks;
randsels, being Japanese school satchels; bags for sports; garment bags for travel;
purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding
make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks,
being luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard;
hat boxes of leather; handbag frames; key cases of leather; shoulder belts, being straps,
of leather; leather straps; pouches of leather; suitcases; suitcases with wheels; travelling
luggage sets, being leatherware; travelling bags of leather; all-purpose carrying bags for
campers; all-purpose carrying bags for climbers; conference folders, namely, briefcase-
type leather business folders; conference portfolios, namely, briefcase-type portfolios;
tote bags; motorized suitcases; baggage tags; baggage tags of paper, not being claim
check tags; credit card cases, being fitted holders; handbag frames for bags, being
structural parts of bags; reusable carry-all bags; toiletry bags sold empty, not fitted;
suitcase packing organizers in the nature of packing cubes; sew-on tags of leather for
clothing; adhesive tags of leather for purses; sling bags for carrying infants; slings for
carrying infants; pouch baby carriers; backpacks for carrying infants; infant carriers
worn on the body; umbrellas for children; reins for guiding children; umbrellas;
parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas;
umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, sleeved or sleeveless jackets, heavy jackets,
lightweight jackets, bomber jackets, reversible jackets, rain jackets, leather jackets,
padded jackets, wind-resistant jackets, waterproof jackets, stuff jackets, jerseys,
wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters,
furs, gabardines being pants, aprons, ski masks; down jackets; sleeveless down jackets;
sports jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski
windcheaters; snowboard windcheaters; anoraks, being parkas; down anoraks; parkas;
down parkas; fur jackets; waistcoats; waistcoats with removable lining; overcoats;
coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts;
undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants;
snowboard pants; ski trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work
overalls; clothing for gymnastics, namely, shoes, leotards, leggings, tights; jogging
suits; jogging trousers; training suits; track suits; ski suits; snowboard suits; suits;
dresses for women; evening dresses; gowns; blazers; formal wear, namely, dresses,
tuxedos, dinner jackets, footwear; petticoats; corselets; twin sets; leggings, being
trousers; leggings, being leg warmers; leg warmers; dungarees; ponchos; wedding
dresses; ready-made clothing, namely, shirts, tops and dresses; outer clothing, namely,
coats, gloves, hats and scarves; masquerade costumes; tank-tops; hosiery; clothing of
leather or imitations of leather, namely, pants, shirts, shorts, jackets, shoes, headwear,
jackets, belts and dresses; waterproof clothing, namely, pants, shirts, shorts, footwear,
jackets and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper
suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear;
golf clothing, other than gloves, namely, pants, shorts, shirts, caps being headwear, and
golf cleats; cuffs; dance clothing, namely, slippers, shoes, costumes and pants; smocks;
bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits,
shoes and swim shorts; swimsuits; bathing drawers as clothing; bathing trunks; bikinis;
bath robes; pareus; clothing for children, namely, pants, shirts, shorts and dresses;
footwear for children; headwear for children, namely, caps, hats, toques; footwear for
babies and toddlers; headwear for babies and toddlers, namely, caps, hats, knitted caps;
babies' pants, being clothing; cloth bibs; layettes, being clothing; cloth bibs, sleeved;
snap crotch shirts for infants and toddlers; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; footmuffs, not electrically heated; socks;
stockings; tights; sports socks; panty hose; unitards; garters; sock suspenders; stocking
suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes;
mountaineering shoes; running shoes; ski footwear; after ski footwear; footwear for




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snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals;
flip-flops, being footwear; soles for footwear; footwear uppers; boots; half-boots; lace
boots; rain boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-
riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas,
being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties; ascots;
neckerchiefs; pocket squares; clothing, namely, neck warmers; clothing, namely, gloves,
muffs, belts, money belts, collars; mittens; ski gloves; snowboard gloves; braces, being
suspenders, for clothing; suspenders, being braces, for clothing; parts of clothing,
namely, waistbands; sashes for wear; boas, being necklets; mufflers, being neck scarves;
face masks being headwear, not for medical or sanitary purposes; cycling gloves;
driving gloves; underwear; singlets; sport singlets; slips, being undergarments; panties;
underpants; drawers, being clothing; briefs; boxer briefs; pyjamas; dressing gowns;
nightgowns; vests; brassieres; adhesive bras; corsets, being underclothing; bodices,
being lingerie; foundation garment girdles; teddies, being underclothing; sleep masks;
caps being headwear; hats; cap peaks; caps with visors; berets; hoods, being clothing;
ear muffs, being clothing; visors being headwear

CLASS 35: Retail and wholesale store services and online retail and wholesale store
services featuring detergents, soaps, hair lotions, non-medicated cosmetics and toiletry
preparations, non-medicated dentifrices, perfumery, essential oils, cleaning
preparations; retail and wholesale store services and online retail and wholesale store
services featuring candles, eyeglasses, sunglasses, anti-glare glasses, ski goggles,
goggles for use in sport, swimming goggles, eyeglass and sunglass cases, eyeglass and
sunglass lenses, eyeglass and sunglass frames; retail and wholesale store services and
online retail and wholesale store services featuring of eyeglass and sunglass chains,
eyeglass and sunglass cords; retail and wholesale store services and online retail and
wholesale store services featuring binocular cases, magnifying glass cases, cases
adapted for personal computers, cases adapted for hand-held computers, carrying cases
adapted for computers, protective cases for tablet computers, cases for laptops, carrying
cases for radio pagers, radio cases, cases adapted for cellular phones, protective cases
for smartphones, protective cases for electronic book readers, battery charger cases for
cellular phones, headphone cases, cases adapted for cameras, cases especially made for
photographic apparatus and instruments, protective carrying cases for portable music
players, music and video player cases, cases adapted for CD players, cases adapted for
DVD players, cases for portable MP3 players, credit card cases being fitted holders,
cases for electronic agenda, covers for tablet computers, covers adapted for cellular
phones, protective covers for smartphones, covers for portable MP3 players, covers for
electronic agendas, cordless telephone holders, holders and cases for compact discs and
DVDs; retail and wholesale store service and online retail and wholesale store services
featuring optical lenses; retail and wholesale store services and online retail and
wholesale store services featuring apparatus and instruments for recording, transmitting,
reproducing or processing sound, images or data, recorded and downloadable media,
computer software, blank digital or analogue recording and storage media, mechanisms
for coin-operated apparatus, calculating devices, computers and computer peripheral
devices, diving suits, divers' masks, ear plugs for divers, nose clips for divers and
swimmers, gloves for divers, breathing apparatus for underwater swimming; retail and
wholesale store services and online retail and wholesale store services featuring
apparatus for lighting, lamps, precious metals and their alloys, jewellery, precious and
semi-precious stones, horological and chronometric instruments, key rings, key fobs,
key cases, key holders, key bags; retail and wholesale store services and online retail
and wholesale store services featuring paper and cardboard, printed matter, photographs,
stationery and office requisites, adhesives for stationery or household purposes, drawing
materials and material for artists, paintbrushes; retail and wholesale store services and
online retail and wholesale store services featuring bags, cases and holders being
leatherware, leatherware, leather and imitations of leather, animal skins and hides,
luggage and carrying bags, umbrellas and parasols, walking sticks, whips, harness and
saddlery, collars, leashes and clothing for animals; retail and wholesale store services
and online retail and wholesale store services featuring furniture, mirrors, picture
frames, ropes and string, nets, tents and tarpaulins, awnings of textile or synthetic




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materials, sails, sacks for the transport and storage of materials in bulk; retail and
wholesale store services and online retail and wholesale store services featuring textiles
and substitutes for textiles, household linen, curtains of textile or plastic, bed throws,
table cover, clothing, footwear, headwear; retail and wholesale store services and online
retail and wholesale store services featuring lace, braid and embroidery, and
haberdashery ribbons and bows, buttons, hooks and eyes, pins and needles, artificial
flowers, hair decorations, false hair, carpets, rugs, mats and matting, wall hangings;
retail and wholesale store services and online retail and wholesale store services
featuring games, toys and playthings, video game apparatus, gymnastic and sporting
articles, decorations for Christmas trees, smokers' articles; presentation of goods on
communication media, for retail purposes, namely, providing television home shopping
services in the field of general consumer merchandise; providing commercial
information and advice for consumers in the choice of products and services; sales
promotion for others; outsourcing services, namely, business assistance; procurement
services for others, namely, arrangement procurement of fashion and luxury apparel and
accessories for other businesses; demonstration of goods; shop window dressing;
sponsorship search; business inquiries; providing business information; administrative
processing of purchase orders; advertising services, namely, organization and
management of customer loyalty programs for others; business administration of
consumer loyalty programs; auctioneering; commercial administration of the licensing
of the goods and services of others; provision of an online marketplace for buyers and
sellers of goods and services; providing business information via a website; organization
of fashion shows for promotional purposes; organization of events, exhibitions, trade
fairs and fashion shows for commercial, promotional and advertising purposes;
organization of trade fairs for commercial or advertising purposes; organization of
advertising events; advertising services, namely, arranging and conducting of
promotional and marketing events; event marketing; reception services for visitors
being office functions, namely, greeting visitors in offices and telephone answering
services in offices; news clipping services; public relations; online advertising on a
computer network; advertising services, namely, advertising of goods and services on
the Internet and by means of mobile telephony services and by electronic mail; bill-
posting; rental of advertising space; publicity material rental; dissemination of
advertising matter; advertising agency services; modelling for advertising or sales
promotion; writing of publicity texts; publication of publicity texts; advertising services,
namely, promoting the sale of fashion goods for third parties through promotional
articles in magazines; distribution of samples; distribution and dissemination of
advertising materials, namely, leaflets, prospectuses, printed material and samples;
advertising planning services; promotional marketing services; product merchandising
for others; search engine optimization for sales promotion; website traffic optimization;
business consultancy regarding advertising communication strategies; business
consultancy regarding public relations communication strategies; social media strategy
and marketing consultancy focusing on helping clients create and extend their product
and brand strategies by building virally engaging marketing solutions; outdoor
advertising; media relations services; corporate communications services, namely,
corporate public relations services; commercial lobbying services; layout services for
advertising purposes; direct mail advertising services; advertising services to create
brand identity for others; promotion of goods of others through influencers; business
management and organization consultancy; business consultancy and advisory services
in the field of business strategy; business management consultancy relating to strategy,
marketing, production, personnel and retail sale matters; business management
assistance; marketing services, namely, marketing strategy planning; business advice in
the field of business management and marketing; business information; marketing
research; market research studies; business investigations; public opinion polling;
targeted marketing services; marketing in the framework of software publishing;
influencer marketing services; business consulting services for digital transformation;
providing an on-line commercial information directory on the Internet; compiling
indexes of information for commercial or advertising purposes; business administrative
services for the relocation of businesses; business auditing; business management of
hotels; promotion of goods and services through sponsorship of sports events; market



       Page: 5 of 7 / RN # 7282623
intelligence services; gift registry services

The colors yellow and black are claimed as a feature of the mark.

The mark consists of a black rectangle. In the center of the rectangle are two concentric
circles in yellow. To the left and right of the circle designs is a yellow rectangle with a
light yellow line in its interior. The color gray in the mark merely represents transparent
background and is not claimed as a feature of the mark.

PRIORITY DATE OF 05-09-2022 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1719585 DATED 09-28-2022,
EXPIRES 09-28-2032

SER. NO. 79-365,583, FILED 09-28-2022




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Reg. No. 7,282,624         MONCLER S.P.A. (ITALY JOINT STOCK COMPANY)
                           VIA STENDHAL, 47
Registered Jan. 23, 2024   I-20144 MILANO
Int. Cl.: 9, 18, 25, 35    ITALY
                           CLASS 9: Eyeglasses; sunglasses; anti-glare glasses; goggles for sports; swimming
Service Mark               goggles; eyeglass and sunglass cases; eyeglass and sunglass lenses; eyeglass and
Trademark                  sunglass frames; eyeglass and sunglass chains; eyeglass and sunglass cords; optical
                           correcting lenses; contact lenses; containers for contact lenses; ski goggles; spectacle
Principal Register         cases; optical lenses; binoculars; binocular cases; monocles; telescopes; optical prisms
                           for optics purposes; magnifying glasses; magnifying glass cases; smartglasses; 3D
                           spectacles; downloadable electronic game software for cellular phones; downloadable
                           electronic game software for hand held electronic devices; computer game software,
                           recorded; downloadable computer game programs; computer software, recorded, for
                           playing video games; computer programs, downloadable, for playing video and
                           computer games; blank floppy computer disks; computer software platforms, recorded
                           and downloadable, for playing video games; downloadable graphics for mobile phones;
                           computer screen saver software, recorded and downloadable; computer game software,
                           downloadable; headsets for playing video games; head-mounted video displays;
                           personal computers; cases adapted for personal computers; notebook computers; hand-
                           held computers; cases adapted for hand-held computers; carrying cases adapted for
                           computers; tablet computers; protective cases for tablet computers; covers for tablet
                           computers; laptop computers; protective cases for laptops; bags adapted for laptops;
                           sleeves for laptops; docking stations for laptops; wrist rests for use with computers;
                           computer mice; mouse pads; computer keyboards; document printers for use with
                           computers; computer peripheral devices; monitors, being computer hardware; carrying
                           cases for radio pagers; protective cases adapted for radios; radios; mobile phones;
                           lanyards, being straps, for cellular phones; covers adapted for cellular phones; cases
                           adapted for cellular phones; antennas for cellular phones; cellular phones; smartphones;
                           protective covers for smartphones; protective cases for smartphones; electronic pagers;
                           electronic book readers; protective cases for electronic book readers; cordless
                           telephones; holders specially adapted for cordless telephones; telephone receivers;
                           telephone apparatus; video telephones; cell phone straps; batteries for cellular phones;
                           microphones for cellular phones; loudspeakers for cellular phones; earphones for
cellular phones; battery for cellular phones; cases specially adapted for battery charger
for cellular phones; in-ear headphones; headphones; cases specially adapted for
headphone; hands free kits for telephones; hands free kits for cellular phones;
smartwatches; protective films adapted for smartphones; selfie sticks, being hand-held
monopods; personal digital assistants, being PDAs; ear pads for headphones;
downloadable emoticons for mobile phones; stands adapted for laptops; wearable
computers; foldable smartphones; wireless speaker microphones; smart audio speakers;
wearable audio speakers; selfie ring lights for smartphones; mobile phone screen
protectors; mobile phone ring holders; mobile phone ring stands; headsets; portable
power chargers; holders adapted for mobile telephones and smartphones; in-car
telephone handset cradles; portable audio speakers; cooling pads for laptop computers;
dashboard mats specially adapted for holding mobile telephones and smartphones; cases
adapted for cameras; photographic cameras; digital cameras; television cameras;
camcorders; cases especially made for photographic apparatus and instruments;
lanyards, namely, camera straps; digital photo frames; cases adapted for exposed slide
films; photographic slides; video screens; home theater multimedia projectors;
protective helmets for sports; riding helmets; gloves for divers; visors for helmets;
headgear being protective helmets; protective industrial face masks, not for medical
purposes; blank audio-video recordable compact discs and DVDs; holders and cases
specially adapted for compact discs and DVDs; protective carrying cases for portable
digital music players; protective cases adapted for portable music and video players;
digital audio players; loudspeakers; compact disc players; cases adapted for CD players;
DVD recorders; DVD players; cases adapted for DVD players; portable MP3 players;
cases for portable MP3 players; protective covers specially adapted for portable MP3
players; portable compact disc music players; prerecorded magnetic tapes, cartridges
and disks featuring fashion and art; walkie-talkies; antennas; audiovisual teaching
apparatus, namely, audiovisual recordings featuring music and animation; x-ray films,
exposed; transmitters of electronic signals; television apparatus for projection purposes;
downloadable electronic publications, namely, books, magazines and newsletters in the
field of fashion, luxury apparel and fashion accessories; blank magnetic data carriers
and recording discs; prerecorded audio discs featuring fashion and art; prerecorded
DVDs featuring fashion and art; blank magnetic audio and video tapes and blank sound
recording carriers in the nature of CDs; video recorders; blank video cassettes and USB
flash drives; electronic key fobs being remote control apparatus; teaching robots; USB
web keys for automatically launching pre-programmed website URLs; USB dongles
being wireless network adapters; blank credit card-style USB flash drives; time clocks,
being time recording devices; thread counters; rulers, being measuring instruments;
electric measuring devices, namely, electric lasers for measuring; barometers;
calculating machines; pocket calculators; chronographs for use as specialized time
recording apparatus; scales; pedometers; navigation apparatus for vehicles, being on-
board computers; magnetically encoded key cards; electronic agendas; cases adapted for
electronic agenda; covers adapted for electronic agendas; hologram apparatus;
electronic interactive whiteboards; interactive touch screen terminals; decorative
magnets; electronic pens, being visual display units; lanyards, being straps especially
adapted for holding cellular phones, MP3 players, cameras, video cameras, eyeglasses,
sunglasses, magnetic encoded identity cards; telecommunication apparatus in the nature
of wireless receivers in the form of jewellery; climate control digital thermostats;
padlocks, electronic; weight belts for divers; earpieces for remote communication;
parking sensors for vehicles; ticket printers; video projectors; downloadable electronic
wallet software for sending and receiving money and payments; credit card terminals;
biometric passports; electronic biometric passports; biometric identity cards; baby
monitors; audio baby monitors; video baby monitors; baby scales; protective helmets for
children; downloadable educational software for children

CLASS 18: Boxes of leather or leatherboard; cases of leather or leatherboard; straps of
leather, being saddlery; business card cases, being notecases; credit card cases, being
wallets; calling card cases; furniture coverings in the nature of furniture trimmings of
leather; business card cases; document cases; labels of leather; clothing for pets; collars
for pets; bags for carrying animals; bags, namely, handbags; handbags; evening purses,




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being handbags; reusable shopping bags; leather shopping bags; wheeled shopping
bags; duffle bags; waist bags; Boston bags; shoulder bags; travelling trunks; beach bags;
clutch bags; attaché cases; school bags; school satchels; schoolchildren's backpacks;
randsels, being Japanese school satchels; bags for sports; garment bags for travel;
purses; wallets; pocket wallets; carrying cases for documents; key cases; key bags; key
wallets; briefcases; pouches, of leather, for packaging; luggage; pouches for holding
make-up, keys and other personal items; shoe bags for travel; all-purpose sports bags;
saddle bags; knapsacks; backpacks; rucksacks; haversacks; overnight suitcases; trunks,
being luggage; vanity cases, not fitted; hat boxes for travel not of paper or cardboard;
hat boxes of leather; handbag frames; key cases of leather; shoulder belts, being straps,
of leather; leather straps; pouches of leather; suitcases; suitcases with wheels; travelling
luggage sets, being leatherware; travelling bags of leather; all-purpose carrying bags for
campers; all-purpose carrying bags for climbers; conference folders, namely, briefcase-
type leather business folders; conference portfolios, namely, briefcase-type portfolios;
tote bags; motorized suitcases; baggage tags; baggage tags of paper, not being claim
check tags; credit card cases, being fitted holders; handbag frames for bags, being
structural parts of bags; reusable carry-all bags; toiletry bags sold empty, not fitted;
suitcase packing organizers in the nature of packing cubes; sew-on tags of leather for
clothing; adhesive tags of leather for purses; sling bags for carrying infants; slings for
carrying infants; pouch baby carriers; backpacks for carrying infants; infant carriers
worn on the body; umbrellas for children; reins for guiding children; umbrellas;
parasols; walking sticks; mountaineering sticks; harness fittings; golf umbrellas;
umbrella covers; hiking sticks; trekking sticks

CLASS 25: Clothing, namely, jackets, sleeved or sleeveless jackets, heavy jackets,
lightweight jackets, bomber jackets, reversible jackets, rain jackets, leather jackets,
padded jackets, wind-resistant jackets, waterproof jackets, stuff jackets, jerseys,
wristbands, headbands, veils, tops, knitwear in the nature of shirts, dresses, sweaters,
furs, gabardines being pants, aprons, ski masks; down jackets; sleeveless down jackets;
sports jackets; ski jackets; snowboard jackets; long jackets; windcheaters; ski
windcheaters; snowboard windcheaters; anoraks, being parkas; down anoraks; parkas;
down parkas; fur jackets; waistcoats; waistcoats with removable lining; overcoats;
coats; fur coats; raincoats; cardigans; pullovers; shirts; T-shirts; polo shirts; sport shirts;
undershirts; shirts for wear with suits; chemises; camisoles; blouses; blousons;
sweatshirts; sweaters; jumpers, being pullovers; sports jerseys; trousers; ski pants;
snowboard pants; ski trousers; shorts; Bermuda shorts; jeans; skirts; skorts; work
overalls; clothing for gymnastics, namely, shoes, leotards, leggings, tights; jogging
suits; jogging trousers; training suits; track suits; ski suits; snowboard suits; suits;
dresses for women; evening dresses; gowns; blazers; formal wear, namely, dresses,
tuxedos, dinner jackets, footwear; petticoats; corselets; twin sets; leggings, being
trousers; leggings, being leg warmers; leg warmers; dungarees; ponchos; wedding
dresses; ready-made clothing, namely, shirts, tops and dresses; outer clothing, namely,
coats, gloves, hats and scarves; masquerade costumes; tank-tops; hosiery; clothing of
leather or imitations of leather, namely, pants, shirts, shorts, jackets, shoes, headwear,
jackets, belts and dresses; waterproof clothing, namely, pants, shirts, shorts, footwear,
jackets and dresses; pants; sweat pants; pelerines; pinafore dresses; tuxedos; romper
suits; leotards; slacks; tunics; school uniforms; athletic uniforms; breeches for wear;
golf clothing, other than gloves, namely, pants, shorts, shirts, caps being headwear, and
golf cleats; cuffs; dance clothing, namely, slippers, shoes, costumes and pants; smocks;
bathing caps; swimming caps; beach cover-ups; beach clothes, namely, bathing suits,
shoes and swim shorts; swimsuits; bathing drawers as clothing; bathing trunks; bikinis;
bath robes; pareus; clothing for children, namely, pants, shirts, shorts and dresses;
footwear for children; headwear for children, namely, caps, hats, toques; footwear for
babies and toddlers; headwear for babies and toddlers, namely, caps, hats, knitted caps;
babies' pants, being clothing; cloth bibs; layettes, being clothing; cloth bibs, sleeved;
snap crotch shirts for infants and toddlers; padded sleepsuits for babies; down padded
sleepsuits for babies; baby bodysuits; footmuffs, not electrically heated; socks;
stockings; tights; sports socks; panty hose; unitards; garters; sock suspenders; stocking
suspenders; shoes; leather shoes; sports shoes; gymnastic shoes; beach shoes;




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mountaineering shoes; running shoes; ski footwear; after ski footwear; footwear for
snowboarding; rain footwear; sneakers; slippers; bath slippers; sandals; bath sandals;
flip-flops, being footwear; soles for footwear; footwear uppers; boots; half-boots; lace
boots; rain boots; ski boots; after ski boots; snowboard boots; boots for sports; horse-
riding boots; clogs; overshoes; scarves; cloaks; shawls; stoles; fur stoles; bandanas,
being neckerchiefs; clothing articles, namely, foulards; neckties; bow-ties; ascots;
neckerchiefs; pocket squares; clothing, namely, neck warmers; clothing, namely, gloves,
muffs, belts, money belts, collars; mittens; ski gloves; snowboard gloves; braces, being
suspenders, for clothing; suspenders, being braces, for clothing; parts of clothing,
namely, waistbands; sashes for wear; boas, being necklets; mufflers, being neck scarves;
face masks being headwear, not for medical or sanitary purposes; cycling gloves;
driving gloves; underwear; singlets; sport singlets; slips, being undergarments; panties;
underpants; drawers, being clothing; briefs; boxer briefs; pyjamas; dressing gowns;
nightgowns; vests; brassieres; adhesive bras; corsets, being underclothing; bodices,
being lingerie; foundation garment girdles; teddies, being underclothing; sleep masks;
caps being headwear; hats; cap peaks; caps with visors; berets; hoods, being clothing;
ear muffs, being clothing; visors being headwear

CLASS 35: Retail and wholesale store services and online retail and wholesale store
services featuring detergents, soaps, hair lotions, non-medicated cosmetics and toiletry
preparations, non-medicated dentifrices, perfumery, essential oils, cleaning
preparations; retail and wholesale store services and online retail and wholesale store
services featuring candles, eyeglasses, sunglasses, anti-glare glasses, ski goggles,
goggles for use in sport, swimming goggles, eyeglass and sunglass cases, eyeglass and
sunglass lenses, eyeglass and sunglass frames; retail and wholesale store services and
online retail and wholesale store services featuring of eyeglass and sunglass chains,
eyeglass and sunglass cords; retail and wholesale store services and online retail and
wholesale store services featuring binocular cases, magnifying glass cases, cases
adapted for personal computers, cases adapted for hand-held computers, carrying cases
adapted for computers, protective cases for tablet computers, cases for laptops, carrying
cases for radio pagers, radio cases, cases adapted for cellular phones, protective cases
for smartphones, protective cases for electronic book readers, battery charger cases for
cellular phones, headphone cases, cases adapted for cameras, cases especially made for
photographic apparatus and instruments, protective carrying cases for portable music
players, music and video player cases, cases adapted for CD players, cases adapted for
DVD players, cases for portable MP3 players, credit card cases being fitted holders,
cases for electronic agenda, covers for tablet computers, covers adapted for cellular
phones, protective covers for smartphones, covers for portable MP3 players, covers for
electronic agendas, cordless telephone holders, holders and cases for compact discs and
DVDs; retail and wholesale store service and online retail and wholesale store services
featuring optical lenses; retail and wholesale store services and online retail and
wholesale store services featuring apparatus and instruments for recording, transmitting,
reproducing or processing sound, images or data, recorded and downloadable media,
computer software, blank digital or analogue recording and storage media, mechanisms
for coin-operated apparatus, calculating devices, computers and computer peripheral
devices, diving suits, divers' masks, ear plugs for divers, nose clips for divers and
swimmers, gloves for divers, breathing apparatus for underwater swimming; retail and
wholesale store services and online retail and wholesale store services featuring
apparatus for lighting, lamps, precious metals and their alloys, jewellery, precious and
semi-precious stones, horological and chronometric instruments, key rings, key fobs,
key cases, key holders, key bags; retail and wholesale store services and online retail
and wholesale store services featuring paper and cardboard, printed matter, photographs,
stationery and office requisites, adhesives for stationery or household purposes, drawing
materials and material for artists, paintbrushes; retail and wholesale store services and
online retail and wholesale store services featuring bags, cases and holders being
leatherware, leatherware, leather and imitations of leather, animal skins and hides,
luggage and carrying bags, umbrellas and parasols, walking sticks, whips, harness and
saddlery, collars, leashes and clothing for animals; retail and wholesale store services
and online retail and wholesale store services featuring furniture, mirrors, picture




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frames, ropes and string, nets, tents and tarpaulins, awnings of textile or synthetic
materials, sails, sacks for the transport and storage of materials in bulk; retail and
wholesale store services and online retail and wholesale store services featuring textiles
and substitutes for textiles, household linen, curtains of textile or plastic, bed throws,
table cover, clothing, footwear, headwear; retail and wholesale store services and online
retail and wholesale store services featuring lace, braid and embroidery, and
haberdashery ribbons and bows, buttons, hooks and eyes, pins and needles, artificial
flowers, hair decorations, false hair, carpets, rugs, mats and matting, wall hangings;
retail and wholesale store services and online retail and wholesale store services
featuring games, toys and playthings, video game apparatus, gymnastic and sporting
articles, decorations for Christmas trees, smokers' articles; presentation of goods on
communication media, for retail purposes, namely, providing television home shopping
services in the field of general consumer merchandise; providing commercial
information and advice for consumers in the choice of products and services; sales
promotion for others; outsourcing services, namely, business assistance; procurement
services for others, namely, arrangement procurement of fashion and luxury apparel and
accessories for other businesses; demonstration of goods; shop window dressing;
sponsorship search; business inquiries; providing business information; administrative
processing of purchase orders; advertising services, namely, organization and
management of customer loyalty programs for others; business administration of
consumer loyalty programs; auctioneering; commercial administration of the licensing
of the goods and services of others; provision of an online marketplace for buyers and
sellers of goods and services; providing business information via a website; organization
of fashion shows for promotional purposes; organization of events, exhibitions, trade
fairs and fashion shows for commercial, promotional and advertising purposes;
organization of trade fairs for commercial or advertising purposes; organization of
advertising events; advertising services, namely, arranging and conducting of
promotional and marketing events; event marketing; reception services for visitors
being office functions, namely, greeting visitors in offices and telephone answering
services in offices; news clipping services; public relations; online advertising on a
computer network; advertising services, namely, advertising of goods and services on
the Internet and by means of mobile telephony services and by electronic mail; bill-
posting; rental of advertising space; publicity material rental; dissemination of
advertising matter; advertising agency services; modelling for advertising or sales
promotion; writing of publicity texts; publication of publicity texts; advertising services,
namely, promoting the sale of fashion goods for third parties through promotional
articles in magazines; distribution of samples; distribution and dissemination of
advertising materials, namely, leaflets, prospectuses, printed material and samples;
advertising planning services; promotional marketing services; product merchandising
for others; search engine optimization for sales promotion; website traffic optimization;
business consultancy regarding advertising communication strategies; business
consultancy regarding public relations communication strategies; social media strategy
and marketing consultancy focusing on helping clients create and extend their product
and brand strategies by building virally engaging marketing solutions; outdoor
advertising; media relations services; corporate communications services, namely,
corporate public relations services; commercial lobbying services; layout services for
advertising purposes; direct mail advertising services; advertising services to create
brand identity for others; promotion of goods of others through influencers; business
management and organization consultancy; business consultancy and advisory services
in the field of business strategy; business management consultancy relating to strategy,
marketing, production, personnel and retail sale matters; business management
assistance; marketing services, namely, marketing strategy planning; business advice in
the field of business management and marketing; business information; marketing
research; market research studies; business investigations; public opinion polling;
targeted marketing services; marketing in the framework of software publishing;
influencer marketing services; business consulting services for digital transformation;
providing an on-line commercial information directory on the Internet; compiling
indexes of information for commercial or advertising purposes; business administrative
services for the relocation of businesses; business auditing; business management of



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hotels; promotion of goods and services through sponsorship of sports events; market
intelligence services; gift registry services

The trademark consists of an imprint depicting a rectangle with its longer sides
horizontal, inside which is inserted, in a central position, a circular figure, said rectangle
having inserted inside it, at right and at left, proximate to the shorter sides, two small
circular figures partially superimposed upon two small rectangular figures that extend
horizontally with their ends exiting from each circular figure to the right and left, so as
to evoke a buttonhole and its button.

PRIORITY DATE OF 05-09-2022 IS CLAIMED

OWNER OF INTERNATIONAL REGISTRATION 1719623 DATED 09-28-2022,
EXPIRES 09-28-2032

SER. NO. 79-365,590, FILED 09-28-2022




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